                                                                                                 Case: 22-1175    Document: 6     Page: 1   Filed: 09/12/2022




                                                                                                                        2022-1175

                                                               UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT


                                                                                               SAHA THAI STEEL PIPE PUBLIC COMPANY LIMITED,
                                                                                                     THAI PREMIUM PIPE COMPANY LTD.,
                                                                                                              Plaintiffs-Appellees

                                                                                                     PACIFIC PIPE PUBLIC COMPANY LIMITED,
                                                                                                                     Plaintiff

                                                                                                                            v.

                                                                                                                    UNITED STATES,
                                                                                                                       Defendant

                                                                                                           WHEATLAND TUBE COMPANY,
                                                                                                               Defendant-Appellant.
                                                                                                                ________________

                                                                                                 Appeals from the United States Court of International Trade in
                                                                                            Nos. 1:18-cv-00214-JCG, 1:18-cv-00219-JCG, and 1:18-cv-00231-JCG,
                                                                                                                 Judge Jennifer Choe-Groves
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                                                                                                            OPENING BRIEF OF APPELLANT
                                                                                                            WHEATLAND TUBE COMPANY
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                                                                                            September 12, 2022
                Case: 22-1175        Document: 6   Page: 2     Filed: 09/12/2022



FORM 9. Certificate of Interest                                                      Form 9 (p. 1)
                                                                                        July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2022-1175
   Short Case Caption Saha Thai Steel Pipe Public Company Limited v. US
   Filing Party/Entity Wheatland Tube Company



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 specific as to which represented entities the answers apply; lack of specificity may
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        09/12/2022
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                                             Name:           Roger B. Schagrin
                Case: 22-1175     Document: 6      Page: 3       Filed: 09/12/2022



FORM 9. Certificate of Interest                                                             Form 9 (p. 2)
                                                                                               July 2020


     1. Represented                   2. Real Party in            3. Parent Corporations
         Entities.                        Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of       Provide the full names of
 all entities represented         all real parties in interest    all parent corporations
 by undersigned counsel in        for the entities. Do not        for the entities and all
 this case.                       list the real parties if        publicly held companies
                                  they are the same as the        that own 10% or more
                                  entities.                       stock in the entities.

                                  ‫܆‬
                                  ✔ None/Not Applicable           ‫ ܆‬None/Not Applicable

                                                                  Zekelman Industries, not publicly traded
Wheatland Tube Company




                                     Additional pages attached
                   Case: 22-1175                 Document: 6   Page: 4   Filed: 09/12/2022



FORM 9. Certificate of Interest                                                              Form 9 (p. 3)
                                                                                                July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
           None/Not Applicable                                  Additional pages attached
 Paul Jameson, formerly of Schagrin Associates




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
  ✔
           None/Not Applicable                                  Additional pages attached




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔        None/Not Applicable                                  Additional pages attached
                Case: 22-1175             Document: 6            Page: 5         Filed: 09/12/2022




                                         Table of Contents

I.      INTRODUCTION ...........................................................................................1

II.     STATEMENT OF RELATED CASES...........................................................3

III.    JURISDICTIONAL STATEMENT ................................................................4

IV.     STATEMENT OF ISSUES .............................................................................6

V.      STATEMENT OF THE CASE .......................................................................6

        A.       Congress Introduced the Cost-Based Particular Market Situation
                 Provision and Revised the Definition of “Outside the Ordinary Course
                 of Trade” in the 2015 Trade Preferences Extension Act ......................7

        B.       Commerce Found a PMS to Exist in Thailand During the Period of
                 Review and Adjusted COP to Account for the Distortions it Caused ..8

        C.       The Court of International Trade Rejected Commerce’s Interpretation
                 of the Antidumping Statute, as amended by the TPEA ......................12

VI.     SUMMARY OF ARGUMENT .....................................................................15

VII. ARGUMENT .................................................................................................16

        A.       Standard of Review .............................................................................16

        B.       Commerce’s First Remand Determination is in Accordance with
                 Law ......................................................................................................19

                 1.       Commerce’s determination that it could not base normal value
                          on home market prices, and therefore had to rely on
                          constructed value, is in accordance with law ...........................19

                 2.       Once Commerce determined to base normal value on
                          constructed value, its adjustment to respondents’ costs to
                          account for the PMS is authorized by the statute .....................27

VIII. CONCLUSION..............................................................................................29

                                                                 i
                  Case: 22-1175             Document: 6            Page: 6         Filed: 09/12/2022




                                                   Table of Authorities

                                                               CASES

Am. Silicon Techs. v. United States, 334 F.3d 1033 (Fed. Cir. 2003) .....................17

Ceramica Regiomontana, S.A. v. United States, 636 F. Supp. 961 (1986),
  aff’d, 810 F.2d 1137 (Fed. Cir. 1987). .................................................................18

Chevron U.S.A., Inc. v. Natural Res. Defense Council, Inc., 467 U.S. 837
  (1984) ...................................................................................................................17

Fujitsu Gen. Ltd. v. United States, 88 F.3d 1034 (Fed.Cir.1996) ...................... 18-19

Hyundai Steel Co. v. United States, 19 F.4th 1346 (Fed. Cir. 2021) ............. 1, 26, 27

Peer Bearing Co. – Changshan v. United States, 766 F.3d 1396 (Fed. Cir.
  2014)............................................................................................................... 16-17

Pesquera Mares Australes Ltda. v. United States, 266 F.3d 1372 (Fed. Cir.
  2001).....................................................................................................................17

PSC VSMPO-Avisma Corp. v. United States, 688 F.3d 751 (Fed. Cir. 2012) ........18

Saha Thai Steel Pipe Pub. Co. Ltd. v. United States, 422 F. Supp. 3d 1363
  (Ct. Int'l Trade 2019) ............................................................................................12

Saha Thai Steel Pipe Pub. Co. Ltd. v. United States, 538 F. Supp. 3d 1350
  (Ct. Int'l Trade 2021) ............................................................................................15

Saha Thai Steel Pipe Pub. Co. Ltd. v. United States, 487 F.Supp.3d 1323
  (Ct. Int'l Trade 2020) .................................................................................... passim

Thai Pineapple Public Co. v. United States, 187 F.3d 1362 (Fed. Cir. 1999) . 18, 19

Timken Co. v. United States, 354 F.3d 1334 (Fed. Cir. 2004).......................... 17, 18

Torrington Co. v. United States, 68 F.3d 1347 (Fed. Cir. 1995) .............................18

United States v. Eurodif S.A., 555 U.S. 305 (2009) .................................................17


                                                                  ii
                  Case: 22-1175              Document: 6            Page: 7         Filed: 09/12/2022




                                                             STATUTES

19 U.S.C. § 1516a(a)..................................................................................................5

19 U.S.C. § 1516a(b) ...............................................................................................17

19 U.S.C. § 1677(15) ....................................................................................... passim

19 U.S.C. § 1677b(a) ....................................................................................... passim

19 U.S.C. § 1677b(b) ...............................................................................................23

19 U.S.C. § 1677b(e) ....................................................................................... passim

28 U.S.C. § 1295(a) ...................................................................................................5

19 U.S.C. § 217(b) .....................................................................................................5

19 U.S.C. § 2645(c) ...................................................................................................5

                                              ADMINISTRATIVE MATERIALS

Circular Welded Carbon Steel Pipes and Tubes from Thailand, 83 Fed. Reg.
  15,127, 15,128 (Dep’t Commerce April 9, 2018) ..................................................9

Circular Welded Carbon Steel Pipes and Tubes from Thailand: Final
  Results of Antidumping Duty Administrative Review; 2016-2017, 83 Fed.
  Reg. 51,927 (Dep’t Commerce Oct. 15, 2018) ......................................................4

Initiation of Antidumping and Countervailing Duty Administrative Reviews,
   82 Fed. Reg. 21,513, 21,515 (Dep’t of Commerce May 9, 2017) .........................8

                                           OTHER LEGISLATIVE MATERIALS

161 Cong. Rec. S2897 (daily ed. May 14, 2015).......................................................8

S. Rep. No. 114-45 - Trade Facilitation and Trade Enforcement Act of 2015
   (2015) .....................................................................................................................8

Trade Preferences Extension Act of 2015, Pub. L. No. 114-27, 129 Stat. 362
  (2015) ................................................................................................................. 7-8
                                                                   iii
            Case: 22-1175     Document: 6     Page: 8   Filed: 09/12/2022




I. INTRODUCTION

      In Hyundai Steel, this Court ruled that the antidumping statute does not

permit the U.S. Department of Commerce (“Commerce”) to adjust a respondent’s

cost of production to account for a cost-distorting particular market situation

(“PMS”) when testing whether home market sales used for normal value are below

the cost of production. Hyundai Steel Company v. United States, 19 F.4th 1346

(Fed. Cir. 2021). The Court, however, explained that “it is not the case that …

Commerce is powerless to address home market sales that are affected by a PMS

yet still pass the sales-below-cost test,” noting that Commerce may depart from

using home market sales if it finds that a PMS in the exporting country “does not

permit a proper comparison with the export price or constructed export price.” Id.

at 1355.

      In the underlying antidumping review on circular welded carbon steel pipes

(“CWP”) from Thailand, Commerce found that the respondents’ costs were

distorted by a PMS based on the collective effect of Thai government subsidies to

producers of hot-rolled steel coil (“HRC”), which is the main input into CWP,

distortions in the prices of Thai imports of HRC due to dumping, subsidization,

and global overcapacity, and the fact that Thai government measures to address

these distortions were not imposed on HRC used to produce CWP for export.

                                             1
            Case: 22-1175     Document: 6    Page: 9    Filed: 09/12/2022




Commerce therefore adjusted the respondents’ costs to account for the distortion

when performing the sales-below-cost test.

      On appeal, the U.S. Court of International Trade (“CIT”) did not reach the

question of whether Commerce’s finding that a PMS existed was supported by

substantial evidence. Instead, the CIT found that the statute did not permit an

adjustment for a cost-based PMS for the purposes of the sales-below-cost test,

relying on reasoning similar to that which would later be articulated by this Court

in Hyundai Steel. The CIT thus remanded the determination to Commerce.

      In its first remand determination, Commerce found that its inability to

account for the PMS when testing whether home market sales were below the cost

of production made it impossible to determine whether the home market sales were

in the ordinary course of trade, and thus could form the basis of a proper

comparison with export prices or constructed export prices. Commerce therefore

based normal value on constructed value, and the agency accounted for the PMS in

the constructed value calculation.

      The CIT also rejected this revised approach, and again remanded the

determination to Commerce. In the second remand results, Commerce, under

protest, based normal value on respondents’ home market sales and made no




                                             2
           Case: 22-1175     Document: 6     Page: 10    Filed: 09/12/2022




adjustments for the PMS that distorted respondents’ costs. The CIT affirmed, and

this appeal ensued.

      This appeal seeks to reinstate Commerce’s first remand determination in the

case below. Consistent with this Court’s guidance in Hyundai Steel, the approach

Commerce took in that first remand determination is permitted by the antidumping

statute. Moreover, recourse to such an approach allows Commerce to account for

distorted costs and thus meet its statutory obligation to achieve a fair comparison in

its dumping calculations, as intended by Congress. Commerce’s first remand

determination should therefore be upheld.

II.   STATEMENT OF RELATED CASES

      One other appeal in or from the same proceedings in the lower court was

previously before this appellate court. The title of that appeal was Saha Thai Steel

Pipe Public Company Limited v. US. The number of that appeal was 2022-1173.

The appellant was the United States. This appeal was consolidated with that appeal

on November 23, 2021. ECF No. 2. On July 12, 2022, the Court granted the United

States’ unopposed motion to voluntarily dismiss its own appeal, Appeal No. 2022-

1173. ECF No. 39. That appeal was dismissed before any briefs or argument on the

merits, and there was no panel composed or decision issued in that appeal.




                                             3
            Case: 22-1175     Document: 6     Page: 11     Filed: 09/12/2022




       Counsel knows of no other case pending in this or any other court or agency

that will directly affect or be directly affected by this Court’s decision in the

pending appeal, based on the understanding that cases are not considered “related”

merely because they involve the same general legal issue. See Fed. Cir. R. 47.5 and

accompanying Practice Note.

III.   JURISDICTIONAL STATEMENT

       Wheatland appeals the final decision of the CIT concerning the results of

Commerce’s antidumping administrative review of the antidumping duty order on

CWP from Thailand for the period of review (“POR”) March 1, 2016, through

February 28, 2017. Commerce published its notice of its final determination on

October 15, 2018. Circular Welded Carbon Steel Pipes and Tubes from Thailand:

Final Results of Antidumping Duty Administrative Review; 2016-2017, 83 Fed.

Reg. 51,927 (Dep’t Commerce Oct. 15, 2018) (“Final Results”) (Appx20032-

20034), and accompanying Issues and Decision Memorandum for the Final Results

of Antidumping Duty Administrative Review; 2016-2017 (Oct. 4, 2018) (“Final

IDM”) (Appx20035-20053).

       Pacific Pipe Public Company Limited (“Pacific Pipe”), Saha Thai Steel Pipe

Public Company Limited (“Saha Thai”), and Thai Premium Pipe Company Ltd.

(“Thai Premium”) filed initiating documents with the CIT on October 14, 2018

                                               4
           Case: 22-1175      Document: 6    Page: 12   Filed: 09/12/2022




(CIT Court No. 18-00231), October 18, 2018 (CIT Court No. 18-00214), and

October 23, 2018 (CIT Court No. 18-00219), respectively. These actions were

subsequently consolidated under Consolidated Court No. 18-00214. The CIT

exercised jurisdiction pursuant to 19 U.S.C. § 1516a(a)(2)(B)(iii) and 28 U.S.C.

§ 1581(c), which grant the court authority to review actions contesting the final

determination in an annual administrative review of an antidumping order. Final

judgment was entered in the action on September 17, 2021 (Appx00001-00002).

      Wheatland filed a notice of appeal with this Court on November 15, 2021

(Appx00059). As noted above, Wheatland’s and the United States’ appeals were

initially consolidated on November 23, 2021, but the United States’ appeal has

since been voluntarily dismissed. This appeal is timely pursuant Rule 4(a)(1)(B) of

the Federal Rules of Appellate Procedure and 28 U.S.C. §§ 2107(b), 2645(c).1

Pursuant to 28 U.S.C. § 1295(a)(5), the U.S. Court of Appeals for the Federal

Circuit has jurisdiction over this appeal.




1
 The Court ordered Wheatland to file its appellant’s brief within 60 days of the
Court’s order of July 12, 2022. ECF No. 39. That deadline fell on September 10,
2022, a Saturday. Consistent with Rule 26(a)(1)(C) of the Federal Rules of
Appellate Procedure, this brief is timely filed on the next business day.
                                              5
           Case: 22-1175     Document: 6     Page: 13    Filed: 09/12/2022




IV.    STATEMENT OF ISSUES

      Whether Commerce’s decision in the first remand determination to base

normal value on constructed value due to the inability to determine whether home

market sales were made in the ordinary course of trade is in accordance with law.

      Whether Commerce’s adjustment to respondents’ costs to account for a PMS

that distorted the costs of the HRC input when calculating constructed value in the

first remand determination is in accordance with law.

V.    STATEMENT OF THE CASE

      This case concerns Commerce’s discretion to account for distortions to costs

when calculating normal value in antidumping determinations, where a PMS exists

such that a respondent’s reported costs do not reasonably or accurately reflect the

cost of production (“COP”) of the merchandise in the ordinary course of trade. In

2015, Congress passed legislation amending the antidumping statute to expand and

clarify Commerce’s ability to address a specific problem that had arisen with

respect to distortions to costs in antidumping cases. This Court has ruled that the

statute, as amended, does not permit Commerce to adjust costs to account for a

PMS when performing the sales-below-cost test on home market sales, but the

Court has also stated that this prohibition does not render Commerce completely

powerless to address a PMS when normal value is based on home market sales.

                                             6
           Case: 22-1175      Document: 6    Page: 14    Filed: 09/12/2022




Commerce sought to exercise that authority in the first remand results issued

during an appeal from an administrative review of the antidumping duty order on

CWP from Thailand is the subject of this appeal. The CIT’s rejection of those

remand results misconstrues the statute, contradicts the guidance issued by this

Court, and further impairs Commerce’s ability to address distorted costs as

Congress intended.

      A.     Congress Introduced the Cost-Based Particular Market Situation
             Provision and Revised the Definition of “Outside the Ordinary Course
             of Trade” in the 2015 Trade Preferences Extension Act

      Recognizing that distorted production costs could frustrate the calculation of

an accurate dumping margin, Congress, through the Trade Preferences Extension

Act of 2015, added a cost-based PMS provision to the constructed value subsection

of the normal value statute. Trade Preferences Extension Act of 2015, Pub. L. No.

114-27, § 504(c), 129 Stat. 362, 385 (2015) (“TPEA”). The provision, as amended

by the TPEA, now provides that in calculating constructed value, “if a particular

market situation exists such that the cost of materials and fabrication or other

processing of any kind does not accurately reflect the cost of production in the

ordinary course of trade, the administering authority may use another calculation

methodology under this subtitle or any other calculation methodology.” 19 U.S.C.

§ 1677b(e). Further, the TPEA amended the definition of “ordinary course of


                                              7
           Case: 22-1175      Document: 6     Page: 15    Filed: 09/12/2022




trade” to make clear that Commerce “shall consider” as outside the ordinary course

of trade “{s}ituations in which the administering authority determines that the

particular market situation prevents a proper comparison with the export price or

constructed export price.” TPEA § 504(a); 19 U.S.C. § 1677(15)(C).

      These amendments were designed to ensure that “Commerce has flexibility

in calculating a duty that is not based on distorted pricing or costs” where a PMS

exists. S. Rep. No. 114-45 - Trade Facilitation and Trade Enforcement Act of

2015, at 37 (2015) (“Senate Finance Committee Report”). Congress passed the

amendments to expand and clarify Commerce’s ability to address a specific

problem that had arisen with respect to distortions to costs that had been observed

in certain cases, including, specifically, cases involving steel pipe products. See

161 Cong. Rec. S2897, S2900 (daily ed. May 14, 2015) (statement of Sen. Sherrod

Brown).

      B.     Commerce Found a PMS to Exist in Thailand During the Period of
             Review and Adjusted COP to Account for the Distortions it Caused

      On May 2, 2018, Commerce initiated an administrative review of the

antidumping duty order on CWP from Thailand for the POR March 1, 2017,

through February 28, 2018. Initiation of Antidumping and Countervailing Duty

Administrative Reviews, 82 Fed. Reg. 21,513, 21,515 (Dep’t of Commerce May 9,



                                              8
           Case: 22-1175     Document: 6    Page: 16    Filed: 09/12/2022




2017) (Appx20001-20004). Commerce selected three mandatory respondents:

Pacific Pipe, Saha Thai, and Thai Premium. Id.

      On February 5, 2018, Wheatland alleged that a PMS exists in Thailand such

that the COP of CWP in Thailand were distorted during the period of review, did

not reflect the COP in the ordinary course of trade, and therefore warranted

corrective adjustments. Wheatland PMS Allegation, Feb 5, 2018 (“Wheatland

PMS Allegation”) (Appx20054-20275). The allegation included evidence showing

that a PMS existed in Thailand due to (1) Thai government subsidies to the Thai

HRC producers that enabled “them to sell HRC at below-market prices to

downstream producers of CWP,” (2) distortions to the prices for HRC imports into

Thailand caused by dumping, subsidization, and global overcapacity; and (3) trade

remedy measures imposed by the Thai government in response to the influx of

low-priced imports that did not apply to imported HRC used by Thai producers in

the production of CWP for export. Id. at 3-19 (Appx20056-20072).

      On April 9, 2018, Commerce published the preliminary results of its review,

calculating weighted-average dumping margins of 10.66 percent, 0.00 percent, and

5.34 percent for Pacific Pipe, Saha Thai, and Thai Premium, respectively. Circular

Welded Carbon Steel Pipes and Tubes from Thailand, 83 Fed. Reg. 15,127, 15,128

(Dep’t of Commerce April 9, 2018) (“Preliminary Results”) and accompanying

                                            9
           Case: 22-1175      Document: 6     Page: 17    Filed: 09/12/2022




Preliminary Decision Memorandum (“PDM”) (Appx20005-20024). Commerce

indicated that “{b}ecause of the timing of the filing of this allegation” it did not

make a determination with regard to the PMS allegation, but would “consider these

allegations further prior to the final results.” PDM at 4 (Appx20011).

      On August 31, 2018, Commerce issued a post-preliminary memorandum

finding that there was sufficient evidence that the PMS alleged by Wheatland

distorted the acquisition cost of HRC in Thailand during the POR, resulting in

those costs not reflecting the cost of production in the ordinary course of trade.

Commerce Post-Preliminary Decision Memorandum on Particular Market

Situation Allegation (Aug. 31, 2018) (“Post-Prelim PMS Memo”) at 1, 4 – 6,

(Appx20025, Appx20028-20030). Commerce preliminarily found that a

combination of the U.S. subsidy rate on Thai producers of HRC and the Thai

antidumping and safeguard rates on HRC imported into Thailand were an

appropriate basis for an adjustment to Thai CWP producers’ input costs. Id. at 6

(App20030).

      After the submission of case and rebuttal briefs and an administrative

hearing, Commerce issued its final determination on October 4, 2018. See Final

IDM (Appx20035-20053). Commerce continued to find that a PMS distorted the

acquisition cost of HRC during the POR, and it continued to apply an adjustment

                                              10
           Case: 22-1175      Document: 6   Page: 18   Filed: 09/12/2022




to respondents’ HRC costs to account for this PMS. See id. at Comments 1 – 3

(Appx20037-20048). As to the existence of a PMS, Commerce considered the

evidence on the record concerning each of the and found that the “evidence, taken

as a whole, demonstrates that the prices of domestically-sourced and imported

HRC in Thailand were distorted during the POR, such that the cost of producing

subject merchandise in Thailand was outside the ordinary course of trade.” Final

IDM at 9 (Appx20043). To address these distortions, Commerce increased the

respondents’ acquisition costs for HRC by (1) the United States subsidy rate

applicable to Thai producers of HRC; (2) the safeguard duty rates imposed by the

government of Thailand on imports of HRC other than imports used to produce

CWP for export; and (3) the antidumping duty rates found by government of

Thailand for imports of HRC from Taiwan, China, and Korea, but not imposed on

HRC imports used to produce CWP for export. Id. at 12-15 (Appx20046-20049).

This resulted in weighted-average dumping margins of 30.61 percent, 28.00

percent, and 30.98 percent for Pacific Pipe, Saha Thai, and Thai Premium,

respectively. Final Results at 51,928 (Appx20033).

      This action followed.




                                            11
           Case: 22-1175     Document: 6     Page: 19   Filed: 09/12/2022




      C.     The Court of International Trade Rejected Commerce’s Interpretation
             of the Antidumping Statute, as amended by the TPEA

      On appeal, the respondents challenged, inter alia, Commerce’s PMS finding

and subsequent adjustments to their reported costs to account for the PMS. Saha

Thai specifically challenged Commerce’s statutory authority to adjust reported

costs to account for a PMS in the context of the sales-below-cost test. After

briefing, the CIT ruled that held that, pursuant to section 504 of the TPEA and 19

U.S.C. § 1677b(e), upon the finding of a PMS, Commerce was only permitted to

adjust COP for a PMS when calculating constructed value, not when calculating

the COP used to test whether home market sales were below the cost of

production. Saha Thai Steel Pipe Pub. Co. Ltd. v. United States, 422 F. Supp. 3d

1363, 1368-1369 (Ct. Int’l Trade 2019) (“Saha Thai I”) (Appx00009-00010).

Thus, the CIT found that because “Commerce chose to make a comparison

between {normal value based on} home-market sales {prices} and U.S. price,

Commerce may not apply a cost-based PMS in the context of this sales-based

comparison.” Id. at 1371 (App00011). The CIT did not reach the question of

whether Commerce’s PMS determination was supported by substantial evidence.

Id. at 1371 (Appx00011). The CIT remanded Commerce’s determination to

Commerce “for further consideration consistent with {the CIT’s} opinion.” Id.

(Appx00011).

                                            12
           Case: 22-1175      Document: 6    Page: 20    Filed: 09/12/2022




      On remand, Commerce continued to find that “a PMS exists in Thailand that

distorts the price of hot rolled coil.” Final Results of Redetermination Pursuant to

Remand, ECF Nos. 62, 63 (“Remand Results”) (Appx00013-00043). Commerce

“respectfully disagree{d}” with the CIT’s finding that Commerce’s adjustment to

COP was not in accordance with 19 U.S.C. § 1677b(e). Remand Results at 6-7

(Appx00018-00019). In light of Commerce’s position and its continued finding of

a cost-distorting PMS, Commerce determined that “absent a PMS adjustment to

the cost of production used in the sales-below-cost test,” the PMS that existed

prevented it from “performing a meaningful sales-below-cost test.” Id. at 8

(Appx00020). According to Commerce, “{c}omparing home market sale prices to

a cost of production that does not accurately reflect production costs in the

ordinary course of trade fails to accomplish the intent of the sales-below-cost test,

which is to determine whether the respondents’ home market sales were made in

the ordinary course of trade.” Id. at 8 (Appx00020). Accordingly, Commerce found

that the existence of the PMS prevented a proper comparison of normal value

based on home market prices with export prices or constructed export prices, and

instead based normal value on constructed value. Id. When calculating constructed

value, Commerce adjusted respondents’ costs to account for the PMS that existed,

citing 19 U.S.C. § 1677b(e). Id. at 9 (Appx00021).

                                             13
           Case: 22-1175      Document: 6     Page: 21    Filed: 09/12/2022




      In reviewing the Remand Results, the CIT found that “Commerce did not

follow the statutory framework in this case.” Saha Thai Steel Pipe Public Company

Limited v. United States, 487 F.Supp.3d 1323, 1334 (Ct. Int’l Trade 2020) (“Saha

Thai II”) (Appx00044-00052). According to the CIT, Commerce’s decision to

exclude home market sales as outside the ordinary course of trade based on its

finding of a cost-based PMS was not in accordance with law. Id. The CIT

remanded the Remand Results to Commerce to remove the cost-based PMS

determination and recalculate the weighted-average dumping margins without a

PMS adjustment. Id.

      On the second remand, Commerce, under protest, again found “that a

particular market situation existed in Thailand during the period of review that

distorted the price of hot-rolled coil, the principle material input for the production

of the subject merchandise and significant component of the cost of production of

the subject merchandise,” Final Results of Redetermination Pursuant to CIT

Order, ECF No. 83 (March 15, 2021) (“Second Remand Results”) at 1-2

(Appx00053-00054), but, in order to comply with the CIT’s order, Commerce

recalculated the dumping margins without making any adjustments to the reported

costs of HRC to account for the PMS. Id. at 2 (Appx00054).




                                              14
           Case: 22-1175      Document: 6    Page: 22   Filed: 09/12/2022




      The CIT sustained the Second Remand Results. Saha Thai Steel Pipe Public

Co. Ltd. v. United States, 538 F. Supp. 3d 1350, 1354 (Ct. Int’l Trade 2021) (“Saha

Thai III”) (Appx00003-00005).

      This appeal followed.

VI.   SUMMARY OF ARGUMENT

      The CIT committed error by finding that Commerce did not act in

accordance with law in relying on constructed value in the first remand

determination. Commerce reasonably determined that reliance on a sales-below-

cost test that did not include a PMS adjustment to account for distorted costs was

not meaningful and would not permit Commerce to determine whether home

market sales were actually in the ordinary course of trade, as required by the

statute. Commerce also reasonably relied on the statute’s definition of the ordinary

course of trade as excluding situations in which a PMS prevents a proper

comparison with export price or constructed export price. As directed by the

statute, when Commerce is unable to determine whether home market prices are in

the ordinary course of trade and thus may form the basis of normal value,

Commerce may instead rely on constructed value for normal value. The

constructed value portion of the statute, as amended by Congress, clearly provided




                                            15
           Case: 22-1175      Document: 6    Page: 23    Filed: 09/12/2022




Commerce with the authority to use any other methodology when calculating

constructed value to account for the cost-based PMS found to exist.

      In rejecting Commerce’s first remand determination, the CIT misconstrued

the statute to find that Commerce has no authority to address a PMS when normal

value is based on home market sales. The CIT interpreted the statute as only

providing one tool – the sales-below-cost test – to ensure that home market sales

are in the ordinary course of trade, even though the statute is replete with

references to the ordinary course of trade in various sections besides the sales-

below-cost test. Finally, the CIT’s holding is contrary to the this Court’s

explanation in Hyundai Steel that Commerce in fact does retain the power to

address a PMS when normal value is based on home market sales.

      For all of these reasons, this Court should find that Commerce’s

interpretation of the antidumping statute in its first remand results was consistent

with the statute and should be reinstated.

VII. ARGUMENT

      A.     Standard of Review

      This Court will “review a decision of the Court of International Trade

evaluating an antidumping determination by Commerce by reapplying the statutory

standard of review that the Court of International Trade applied in reviewing the


                                             16
           Case: 22-1175      Document: 6    Page: 24    Filed: 09/12/2022




administrative record.” Peer Bearing Co.-Changshan v. United States, 766 F.3d

1396, 1399 (Fed. Cir. 2014). “Thus, without affording any deference to the Court

of International Trade, this court reassesses the administrative record for

‘substantial evidence’ and for consistency ‘with law.’” Am. Silicon Techs. v.

United States, 334 F.3d 1033, 1036 (Fed. Cir. 2003); 19 U.S.C.

§ 1516a(b)(1)(B)(i).

      In determining whether Commerce’s interpretation and application of the

antidumping statute is in accordance with law, the Court applies the two-step

analysis articulated in Chevron. See Pesquera Mares Australes Ltda. v. United

States, 266 F.3d 1372, 1382 (Fed. Cir. 2001). Under Chevron, the first step is for

the Court to determine whether Congress has “directly spoken to the precise

question at issue.” Chevron U.S.A., Inc. v. Natural Res. Defense Council, Inc., 467

U.S. 837, 842-843 (1984). If so, the agency and the Court must comply with that

clear Congressional intent. Id. If, however, “the statute is silent or ambiguous with

respect to the specific issue, the question for the court is whether the agency’s

answer is based on a permissible construction of the statute.” Id. at 843. In such

cases, Commerce’s interpretation governs if it is not unreasonable, United States v.

Eurodif S.A., 555 U.S. 305, 316 (2009), and “{a}ny reasonable construction of the

statute is a permissible construction.” Timken Co. v. United States, 354 F.3d 1334,

                                             17
           Case: 22-1175      Document: 6    Page: 25    Filed: 09/12/2022




1342 (Fed. Cir. 2004). The Court also evaluates whether the agency’s

interpretation is a “reasonable means of effectuating the statutory purpose.”

Ceramica Regiomontana, S.A. v. United States, 636 F. Supp. 961, 966 (1986),

aff’d, 810 F.2d 1137 (Fed. Cir. 1987).

      “In antidumping cases, {the Federal Circuit} accord{s} substantial deference

to Commerce’s statutory interpretation, as the International Trade Administration

is the ‘master’ of the antidumping laws.” Torrington Co. v. United States, 68 F.3d

1347, 1351 (Fed. Cir. 1995). This Court has recognized that Commerce enjoys

greater deference than other agencies due to the fact that antidumping duty

determinations “involve complex economic and accounting decisions of a technical

nature, for which agencies possess far greater expertise than courts.” PSC VSMPO-

Avisma Corp. v. United States, 688 F.3d 751, 764 (Fed. Cir. 2012). As such, “…

reviewing courts must accord deference to the agency in its selection and

development of proper methodologies.” Thai Pineapple Public Co. v. United

States, 187 F.3d 1362, 1365 (Fed. Cir. 1999). Moreover, when “identifying,

selecting and applying methodologies to implement the dictates set forth in the

governing statute,” Commerce is accorded a level of deference that is “both greater

than and distinct from that accorded the agency in interpreting the statutes it

administers.” PSC VSMPO-Avisma Corp., 688 F.3d at 764 (citing Fujitsu Gen. Ltd.

                                             18
           Case: 22-1175     Document: 6    Page: 26    Filed: 09/12/2022




v. United States, 88 F.3d 1034, 1039 (Fed.Cir.1996)). “Accordingly, ‘[t]he

methodologies relied upon by Commerce in making its determinations are

presumptively correct.” Id. (citing Thai Pineapple, 187 F.3d at 1365).

      B.    Commerce’s First Remand Determination is in Accordance with Law

            1.     Commerce’s determination that it could not base normal value
                   on home market prices, and therefore had to rely on constructed
                   value, is in accordance with law

       In its first remand determination, Commerce complied with the CIT’s

instruction to remove any PMS adjustment from the sales-below-cost test. Remand

Results at 7-8 (Appx00019-00020). Commerce found, however, that “absent a

PMS adjustment to the cost of production used in the sales-below-cost test, the

PMS that existed with respect to the cost of production of … {CWP} in Thailand

prevents us from performing a meaningful sales-below-cost test.” Id. Moreover,

Commerce explained:

            Comparing home market sale prices to a cost of
            production that does not accurately reflect production
            costs in the ordinary course of trade fails to accomplish
            the intent of the sales-below-cost test, which is to
            determine whether the respondents’ home market sales
            were made in the ordinary course of trade.

Id. at 8 (Appx00020). Thus, Commerce concluded, the existence of the PMS

without recourse to a PMS adjustment in the sales-below-cost test “prevents a

proper comparison” of normal value based on home market sales to export prices

                                           19
           Case: 22-1175     Document: 6    Page: 27    Filed: 09/12/2022




or constructed export prices. Id. Deprived of the ability to ensure normal value was

based solely on home market sales in the ordinary course of trade, Commerce

based normal value on constructed value in the first remand results. Id.

      Commerce’s first remand determination is in accordance with the law. First,

as explained by Commerce, home market sales used as normal value must be sold

in the ordinary course of trade. Id. at 7 (Appx00019) (citing 19 U.S.C.

§ 1677b(a)(1)(B)(i)). Specifically, the statute requires that when basing normal

value on home market sales, those sales must be “in the usual commercial

quantities and in the ordinary course of trade …” 19 U.S.C. § 1677b(a)(1)(B)(i).

Second, as also explained by Commerce, the statute defines the ordinary course of

trade to exclude, inter alia, situations in which a PMS prevents a proper

comparison with export price. Remand Results at 7 (Appx00019) (citing 19 U.S.C.

§ 1677(15)(C)).

      Taken together, these statutory provisions “enquire{} whether the PMS

prevents a proper comparison with the export or constructed export price.” Id.

Commerce properly found that the inability to make a PMS adjustment in the

sales-below-cost test made it impossible to test whether those sales were in the

ordinary course of trade, and thus whether they met the requirement that home

market sales be in the ordinary course of trade under of 19 U.S.C.

                                            20
            Case: 22-1175    Document: 6    Page: 28   Filed: 09/12/2022




§ 1677b(a)(1)(B)(i). Id. at 7-8 (Appx00019-00020). The PMS, together with the

inability to account for it, thus prevented Commerce from being able to make a

proper comparison with export price based on home market sales. Id.

       Commerce explained in detail how relying on these home market sales

would prevent a proper comparison, given the highly distortive nature of the PMS

at issue:

             We note that comparing home market sale prices to a cost
             of production that does not accurately reflect production
             costs in the ordinary course of trade would be illogical
             and defeat the intent of the sales-below-costs test, which
             is to determine whether a respondent’s home market sales
             were made in the ordinary course of trade …. Given that
             {respondents’} distorted HRC costs comprise 80-90
             percent of the cost of production of circular pipes and
             tubes, a sales-below-costs test run without a PMS
             adjustment would lead to a significant number of below-
             cost home market sale prices being used as a basis of NV,
             which would be compared to export price or constructed
             export price. …. the record of the instant review clearly
             demonstrates how running the sales-below-costs test
             without a PMS adjustment to each of the respondent’s
             cost of production led to distorted results (i.e., large
             numbers of home market sales made outside the ordinary
             course of trade formed the basis for normal value for
             comparison with export price or constructed export price).
             Given the Court’s instructions to not apply a cost-based
             PMS adjustment in the context of the sales-below-costs
             test, pursuant to section 771(15)(C) of the Act, we find
             that the PMS with respect to the cost of production of
             circular pipes and tubes prevents a proper comparison of
             the respondents’ home market prices with the
             respondents’ export prices or constructed export prices.
                                           21
           Case: 22-1175     Document: 6     Page: 29    Filed: 09/12/2022




Id. at 20-22 (Appx00032-00034).

      Third, in light of the fact that Commerce was forbidden from ensuring that

home market prices were in the ordinary course of trade and permitted a proper

comparison, the statute allowed Commerce to rely on constructed value for normal

value. Id. at 8 and 22 (Appx00020, Appx00034) (citing 19 U.S.C. § 1677b(a)(4)).

As noted above, the statute requires that any home market sales used as the basis

for normal value be in the ordinary course of trade. See 19 U.S.C.

§ 1677b(a)(1)(B)(i). If, however, Commerce determines that normal value cannot

be determined under Section 1677b(a)(1)(B)(i), because, inter alia, home market

sales are not in the ordinary course of trade, than Commerce may base normal

value on constructed value. See 19 U.S.C. § 1677b(a)(4). In other words, if normal

value “cannot be determined under paragraph (1)(B)(i),” (the paragraph requiring

home market sales to be in the ordinary course of trade), then normal value “may

be the constructed value.” Id. In addition, Commerce may go straight to

constructed value under this provision, and the agency is not required to first

determine whether third country sales may be an alternative basis for normal value.

See id. (Commerce may rely on constructed value “notwithstanding paragraph

(1)(B)(ii)” regarding third country sales). That is what Commerce did in the first

remand determination.

                                             22
            Case: 22-1175    Document: 6    Page: 30    Filed: 09/12/2022




      Despite these statutory provisions, the CIT set aside Commerce’s first

remand results, finding that its approach was “not authorized by the statute.” Saha

Thai II at 1331 (Appx00048). First, the CIT ruled that Commerce was required to

perform the sales-below-cost test under Section 1677b(b)(1) to determine whether

home market sales were below the cost of production. Id. at 1331-1332

(Appx00049). Commerce reasonably explained that performing the sales-below-

cost test without the PMS adjustment rendered that test meaningless, as it

permitted sales above a cost distorted by a PMS, and thus outside the ordinary

course of trade, to remain the basis of normal value. Remand Results at 7-8 and 20-

22 (Appx00019-00020, Appx00032-00034). The CIT did not directly address this

argument.

      Instead, the CIT determined that the sales-below-cost test is the only tool

that the statute allows Commerce to use in order to determine whether home

market sales are outside the ordinary course of trade. Saha Thai II at 1333

(Appx00050). Because Congress provided for a sales-below-cost test in Section

1677(15)(A) an 1677b(b), the CIT reasoned, Congress thereby “obviated

consideration of a {PMS} affecting the cost of production from Section

1677(15)(C).” Id. Nothing in the statute supports such a draconian reading.




                                            23
            Case: 22-1175     Document: 6     Page: 31    Filed: 09/12/2022




      To the contrary, Section 1677(15) identifies three categories of “sales and

transactions, among others,” that Commerce must consider to be outside the

ordinary course of trade. 19 U.S.C. § 1677(15)(C). The inclusion of the phrase

“among others” indicates that the list is illustrative, and not exclusive. In addition,

nothing in the language of Section 1677(15)(C) suggests it cannot apply to

circumstances in which a PMS affects the cost of production. The provision is

stated broadly to encompass all “{s}ituations” in which a PMS prevents a proper

comparison. Id. Such “situations” could include, at a minimum, a PMS affecting

home market sales, a PMS in a third country market, and a PMS affecting the cost

of materials and fabrication. See 19 U.S.C. § 1677b(a)(1)(B)(ii)(III), (a)(1)(C)(iii),

and (e).

      Moreover, if the CIT is correct, and Section 1677(15)(A) provides the

exclusive means for determining that “sales” are outside the ordinary course of

trade, then Section 1677(15)(B) logically also provides the exclusive means for

determining that “transactions” are outside the ordinary course of trade. If this

were correct, what “situations,” if any, would Section 1677(15)(C) apply to?

      In support of its interpretation, the CIT stated that a cost-based PMS

presumably affects prices for domestic and export sales alike and thus could not

prevent a “proper comparison” between the two. Saha Thai II at 1333

                                              24
           Case: 22-1175      Document: 6   Page: 32    Filed: 09/12/2022




(Appx00050). Yet Commerce explained that the reason it could not conduct a

“proper comparison” was because the agency was prevented from taking the PMS

into account when conducting the sales-below-cost test. Remand Results at 8

(Appx00020). This would force Commerce to rely on home market sales for

normal value even though it could not determine whether those sales were in the

ordinary course of trade. Id. at 7-8 and 32-34 (Appx00019-00020, Appx00032-

00034). Yet the statute instructs Commerce that it can only rely on home market

sales for normal value if those home market sales are “in the ordinary course of

trade.” 19 U.S.C. § 1677b(a)(1)(B)(i). Where such home market sales cannot be

shown to be in the ordinary course of trade, Commerce may rely on constructed

value. See 19 U.S.C. § 1677b(a)(4). That is precisely what Commerce did in its

first remand determination.

      The CIT also seems to misconstrue Commerce’s determination as relying

solely or primarily on the presence of the term “ordinary course of trade” in

Section 1677b(e), the section regarding constructed value. Saha Thai II at 1334

(Appx00050-00051). As noted above, Commerce explained that the reason it could

not rely on home market sales was because it could not determine whether they

were in the ordinary course of trade, as independently required by the home market

sales provision at Section 1677b(a)(1)(B)(i) and the definition of the ordinary

                                            25
           Case: 22-1175      Document: 6     Page: 33    Filed: 09/12/2022




course of trade in Section 1677(15). See Remand Results at 7 & n.33 (Appx00019).

The CIT claims that the references to ordinary course of trade in Sections 1677(15)

and 1677b(a)(1)(B)(i) cannot encompass situations in which a distorted cost of

production prevents a proper comparison. Saha Thai II at 1334 (Appx00051). Yet

nothing in the language of the statute itself limits Commerce’s ability to take

distorted costs into account when determining whether home market prices are in

the ordinary course of trade under Sections 1677(15) and 1677b(a)(1)(B)(i).

      Indeed, this Court in Hyundai Steel recognized that such an analysis was

possible under the statute. Specifically, the Court stated “it is not the case that …

Commerce is powerless to address home market sales that are affected by a PMS

yet still pass the sales-below cost test,” noting that Section 1677b(a)(1)

“specifically gives Commerce the tools to ensure ‘a proper comparison with the

export price.’” Hyundai Steel, 19 F.4th at 1355. It was precisely one of the

provisions within Section 1677b(a)(1) – namely Section 1677(a)(1)(B)(i) – that

Commerce relied upon in its first remand determination. Remand Results at 7, n.33

(Appx00019). The CIT’s decision that home market sales can only be disregarded

if they fail to pass the sales-below-cost test (without a PMS adjustment) leads to

the precise result this Court rejected in Hyundai Steel: it renders Commerce




                                             26
           Case: 22-1175      Document: 6     Page: 34    Filed: 09/12/2022




“powerless to address home market sales that are affected by a PMS yet still pass

the sales-below cost test.”

      Finally, Commerce’s approach in the first remand results is not only

permitted by the statute, it is also necessary to enable the agency to account for

distorted costs and thus meet its statutory obligation to achieve a fair comparison in

its dumping calculations, as intended by Congress. As this Court recognized in

Hyundai Steel, in the absence of a PMS adjustment in the sales-below-cost test, the

statute still ensures that normal value can be calculated so as to permit a fair

comparison, avoiding the absurd result of requiring Commerce to rely on distorted

costs to calculate dumping margins. Hyundai Steel, 19 F.4th at 1355. These

considerations further weigh in favor of reinstating Commerce’s first remand

determination.

      For all of these reasons, the CIT’s rejection of Commerce’s first remand

results should be found in error, and those remand results should be reinstated.

             2.     Once Commerce determined to base normal value on
                    constructed value, its adjustment to respondents’ costs to
                    account for the PMS is authorized by the statute

      As noted above, once Commerce found it could not determine whether home

market sales were in the ordinary course of trade as required by Section

1677b(a)(1)(B)(i), it was authorized to based normal value on constructed value


                                              27
           Case: 22-1175      Document: 6     Page: 35    Filed: 09/12/2022




under Section 1677b(e). See 19 U.S.C. § 1677b(a)(4) (permitting reliance on

constructed value in such a situation). Under the constructed value portion of the

statute, Commerce is allowed to rely on “another calculation methodology under

this part or any other calculation methodology” if it finds that a PMS exists such

that the costs of materials and fabrication do not accurately reflect the cost of

production in the ordinary course of trade. 19 U.S.C. § 1677b(e).

      As noted above, the CIT did not address the merits of Commerce’s

determination that the cost of production of CWP in Thailand was distorted by a

PMS. In the first remand determination, Commerce continued to find that such a

PMS existed. Remand Results at 8-9 (Appx00020-00021). Thus, Commerce

adjusted respondents’ costs of production under Section 1677b(e) to account for

the distorted prices of HRC in Thailand. Id. at 9 (Appx00021). This methodology

is permitted by the broad language allowing Commerce to employ “any other

methodology” to calculate constructed value if it finds a PMS distorts the cost of

materials. See 19 U.S.C. § 1677b(e).

      The CIT rejected Commerce’s adjustment to constructed value, but this was

based primarily on its finding that Commerce did not have a statutory ground for

relying on constructed value in the first place. Saha Thai II at 1335 (Appx00051).

As explained above, this finding was in error, misconstrued the statute, and

                                             28
           Case: 22-1175     Document: 6     Page: 36    Filed: 09/12/2022




contradicts this Court’s holding in Hyundai Steel. The CIT did not examine the

actual adjustment made nor identify any flaws in that adjustment. We note that the

respondents also did not raise any objections to Commerce’s constructed value

calculation, other than the element of constructed value profit. See Remand Results

at 22-27 (Appx00034-00039). If this Court rejects the CIT’s ruling and reinstates

Commerce’s first remand determination, the Court should also uphold

Commerce’s adjustment methodology, as the opportunity to challenge any aspects

other than CV profit have been waived.

VIII. CONCLUSION

      The CIT erred in rejecting Commerce’s first remand results as contrary to

the statute. Wheatland respectfully requests that the Federal Circuit reverse the

CIT’s decision in Saha Thai II and find that Commerce’s first remand results were

in accordance with law.

                                           Respectfully submitted,

                                           /s/ Roger B. Schagrin
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September 12, 2022
                                            29
              Case: 22-1175         Document: 6        Page: 37        Filed: 09/12/2022



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                                                                                           July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2022-1175

  Short Case Caption: Saha Thai Steel Pipe Public Company Limited v. US

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       Case: 22-1175    Document: 6    Page: 38    Filed: 09/12/2022




            ADDENDUM OF REQUIRED DOCUMENTS


No.   Description                              BPI/Public Appendix
                                                          Citation

1     Judgment for Saha Thai Steel Pipe        Public       Appx00001-
      Public Company Limited v. United                      Appx00002
      States, Consol. Ct. No. 18-00214, Slip
      Op. 21-118 (CIT Sept. 17, 2021)

2     Saha Thai Steel Pipe Public Company Public            Appx00003-
      Limited v. United States, 538                         Appx00005
      F.Supp.3d 1350; Consol. Ct. No. 18-
      00214, Slip Op. 21-118 (CIT Sept. 17,
      2021)

3     Saha Thai Steel Pipe Pub. Co. Ltd. v.    Public       Appx00006-
      United States, 422 F.Supp.3d 1363,                    Appx00012
      Consol. Ct. No. 18-00214, Slip Op.
      19-165 (CIT Dec. 18, 2019)

4     Dept. of Commerce’s Final Results of Public           Appx00013-
      Redetermination Pursuant to Remand,                   Appx00043
      Saha Thai Steel Pipe Public Company,
      Ltd. et al. v. United States, Court No.
      18-00214, Slip Op. 19-165 (March 10,
      2020)

5     Saha Thai Steel Pipe Public Company      Public       Appx00044-
      Limited v. United States, 487                         Appx00052
      F.Supp.3d 1323; Consol. Court No.
      18-00214, Slip Op. 20-181 (CIT Dec.
      21, 2020)

6     Dept. of Commerce’s Final Results of     Public       Appx00053-
      Redetermination Pursuant to CIT                       Appx00058
      Order, Saha Thai Steel Pipe Co., Ltd.
      v. United States, Consol. Court No.
       Case: 22-1175   Document: 6   Page: 39   Filed: 09/12/2022




No.   Description                           BPI/Public Appendix
                                                       Citation

      18-00214, Slip Op. 20-181 (March 15,
      2021)
7     Circular Welded Carbon Steel Pipes   Public        Appx20032-
      and Tubes From Thailand: Final                     Appx20034
      Results of Antidumping Duty
      Administrative Review; 2016–2017,
      83 Fed. Reg. 51927 (Oct. 15, 2018)

8     Circular Welded Carbon Steel Pipes    Public       Appx20035-
      and Tubes from Thailand: Decision                  Appx20053
      Memorandum for the Final Results of
      Antidumping Duty Administrative
      Review; 2016-2017 (Oct. 4, 2018)
Case: 22-1175   Document: 6   Page: 40   Filed: 09/12/2022




                    ADDENDUM 1
            Case:
         Case     22-1175    Document:
              1:18-cv-00214-JCG        6 Page:
                                 Document      41 09/17/21
                                          93 Filed Filed: 09/12/2022
                                                             Page 1 of 2




                UNITED STATES COURT OF INTERNATIONAL TRADE


 SAHA THAI STEEL PIPE PUBLIC
 COMPANY LIMITED,

         Plaintiff,

 and

 THAI PREMIUM PIPE COMPANY LTD.
 and PACIFIC PIPE PUBLIC COMPANY
 LIMITED,
                                                  Before: Jennifer Choe-Groves, Judge
         Consolidated Plaintiffs,
                                                  Consol. Court No. 18-00214
 v.

 UNITED STATES,

         Defendant,

 and

 WHEATLAND TUBE COMPANY,

         Defendant-Intervenor.


                                          JUDGMENT

       This case having been duly submitted for decision, and the court, after due deliberation,

having rendered a decision; now therefore, in conformity with said decision, it is hereby

       ORDERED that the U.S. Department of Commerce’s final results in Circular Welded

Carbon Steel Pipes and Tubes from Thailand, 83 Fed. Reg. 51,927 (Dep’t of Commerce Oct. 15,

2018) (final results of antidumping duty admin. review; 2016–2017), as amended by the Final

Results of Redetermination Pursuant to Remand, ECF Nos. 62, 63, and the Final Results of




                                          Appx00001
             Case:
          Case     22-1175    Document:
               1:18-cv-00214-JCG        6 Page:
                                  Document      42 09/17/21
                                           93 Filed Filed: 09/12/2022
                                                              Page 2 of 2

Consol. Court No. 18-00214                                                             Page 2


Redetermination Pursuant to CIT Order, ECF No. 83, are sustained and judgment is entered for

Defendant.

                                                           /s/ Jennifer Choe-Groves
                                                         Jennifer Choe-Groves, Judge

Dated:     September 17, 2021
         New York, New York




                                        Appx00002
Case: 22-1175   Document: 6   Page: 43   Filed: 09/12/2022




                    ADDENDUM 2
                    Case: 22-1175           Document: 6         Page: 44         Filed: 09/12/2022
Saha Thai Steel Pipe Public Company Limited v. United States, 538 F.Supp.3d 1350...




                                                               Attorneys and Law Firms
                 538 F.Supp.3d 1350
      United States Court of International Trade.               *1351 Daniel L. Porter, Curtis, Mallet-Prevost, Colt &
                                                               Mosle LLP, of Washington, D.C., for Plaintiff Saha Thai Steel
       SAHA THAI STEEL PIPE PUBLIC                             Pipe Public Company Limited.
         COMPANY LIMITED, Plaintiff,                           Robert G. Gosselink, Jonathan M. Freed, and Aqmar Rahman,
                       and                                     Trade Pacific PLLC, of Washington, D.C., for Consolidated
       Thai Premium Pipe Company Ltd.                          Plaintiff Thai Premium Pipe Company Ltd.

        and Pacific Pipe Public Company                        Lizbeth R. Levinson, Ronald M. Wisla, and Brittney R.
        Limited, Consolidated Plaintiffs,                      Powell, Fox Rothschild LLP, of Washington, D.C., for
                                                               Consolidated Plaintiff Pacific Pipe Public Company Limited.
                        v.
         UNITED STATES, Defendant,                             In K. Cho, Trial Attorney, and Franklin E. White, Jr., Assistant
                       and                                     Director, Commercial Litigation Branch, Civil Division, U.S.
                                                               Department of Justice, of Washington, D.C., for Defendant
          Wheatland Tube Company,                              United States. With them on the brief were Brian M. Boynton,
             Defendant-Intervenor.                             Acting Assistant Attorney General, and Jeanne E. Davidson,
                                                               Director. Of counsel on the brief was Brendan S. Saslow,
                     Slip Op. 21-118                           Attorney, Office of the Chief Counsel for Trade Enforcement
                             |                                 and Compliance, U.S. Department of Commerce.
                Consol. Court No. 18-00214
                             |                                 Roger B. Schagrin and Elizabeth J. Drake, Schagrin
                   September 17, 2021                          Associates, of Washington, D.C., for Defendant-Intervenor
                                                               Wheatland Tube Company.
Synopsis
Background: Exporters filed suits challenging Department
of Commerce's final results in administrative review of        OPINION
antidumping duty order covering circular welded carbon
steel pipes and tubes (CWP) from Thailand. Following           Choe-Groves, Judge:
consolidation, the Court of International Trade, Jennifer
Choe-Groves, J., 422 F.Supp.3d 1363, remanded and,              *1352 Plaintiff Saha Thai Steel Pipe Public Company
subsequently, 487 F.Supp.3d 1323, remanded for second time.    Limited (“Saha Thai”) and Consolidated Plaintiffs Thai
On remand, Department of Commerce issued final results of      Premium Pipe Company Ltd. (“Thai Premium”) and Pacific
second remand redetermination.                                 Pipe Public Company Limited (“Pacific Pipe”) filed this
                                                               consolidated action challenging the final results published
                                                               by the U.S. Department of Commerce (“Commerce”) in the
                                                               2016–2017 administrative review of the antidumping duty
The Court of International Trade, Choe-Groves, J., held that   order on circular welded carbon steel pipes and tubes from
recalculation of dumping margin without particular market      Thailand. See Circular Welded Carbon Steel Pipes and Tubes
situation was lawful.                                          from Thailand (“Final Results”), 83 Fed. Reg. 51,927 (Dep't
                                                               of Commerce Oct. 15, 2018) (final results of antidumping
                                                               duty admin. review; 2016–2017); see also Decision Mem.
Sustained.
                                                               for the Final Results of Antidumping Duty Admin. Review;
                                                               2016–2017 (Oct. 4, 2018), PR 143. Before the Court are the
                                                               Final Results of Redetermination Pursuant to CIT Order, ECF
                                                               No. 83 (“Second Remand Results”), which the Court ordered
                                                               in Saha Thai Steel Pipe Public Co. v. United States (“Saha
                                                               Thai II”), 44 CIT ––––, 487 F. Supp. 3d 1323 (2020). For



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                    Case: 22-1175            Document: 6          Page: 45
Saha Thai Steel Pipe Public Company Limited v. United States, 538 F.Supp.3d 1350...
                                                                                   Filed: 09/12/2022


the reasons discussed below, the Court sustains the Second       accordance with the law and remanded. 44 CIT at ––––, 487
Remand Results.                                                  F. Supp. 3d at 1331–35.

                                                                 On second remand, Commerce “continue[d] to find that a
                                                                 particular market situation existed in Thailand during the
BACKGROUND
                                                                 period of review that distorted the price of hot rolled coil.”
The Court presumes familiarity with the facts and procedural     Second Remand Results at 1–2, 5. Under respectful protest,
history set forth in its prior opinions and recounts the facts   however, Commerce recalculated the dumping margins
relevant to the Court's review of the Second Remand Results.     without a particular market situation adjustment. Id. at 2, 5–6.
See Saha Thai Steel Pipe Pub. Co. v. United States (“Saha
Thai I”), 43 CIT ––––, ––––, 422 F. Supp. 3d 1363, 1365–
67 (2019); Saha Thai II, 44 CIT at ––––, 487 F. Supp. 3d at      JURISDICTION AND STANDARD OF REVIEW
1326–27.
                                                                 The Court has jurisdiction under 19 U.S.C. § 1516a(a)(2)
The Court concluded in Saha Thai I that Commerce's               (B)(iii) and 28 U.S.C. § 1581(c), which grant the Court
particular market situation adjustment to the cost of            authority to review actions contesting the final results of
production for the purpose of the sales-below-cost test          an administrative review of an antidumping duty order.
was not in accordance with the law and remanded to               The Court shall hold unlawful any determination found to
Commerce for further consideration. 43 CIT at ––––,              be unsupported by substantial evidence on the record or
422 F. Supp. 3d at 1369–70, 1371. Because the Court              otherwise not in accordance with the law. 19 U.S.C. §
concluded that the particular market situation adjustment        1516a(b)(1)(B)(i). The Court also reviews determinations
was not in accordance with the law, the Court did not            made on remand for compliance with the Court's remand
consider whether the particular market situation adjustment,     order. Ad Hoc Shrimp Trade Action Comm. v. United States,
without a duty drawback adjustment for Saha Thai, was            38 CIT ––––, ––––, 992 F. Supp. 2d 1285, 1290 (2014), aff'd,
supported by substantial evidence; and whether Commerce          802 F.3d 1339 (Fed. Cir. 2015).
conducted the underlying administrative review in a fair and
impartial manner in accepting the particular market situation
allegation submitted by Wheatland Tube Company and in
                                                                 DISCUSSION
the opportunity Commerce gave to interested parties to offer
information. Id. at ––––, 422 F. Supp. 3d at 1371–72.            Saha Thai, Pacific Pipe, and Defendant United States
                                                                 ask the Court to sustain the Second Remand Results.
In the Final Results of Redetermination Pursuant to              Pl.’s Comments Supp. Remand Redetermination Results at
Remand, ECF Nos. 62, 63 (“Remand Results”), filed under          2, ECF No. 87; Consol. Pl.’s Comments Supp. Remand
respectful protest, Commerce made a particular market            Redetermination Results at 2, ECF No. 88; Def.’s Comments
situation determination under 19 U.S.C. § 1677(15)(C),           Supp. Second Remand Results at 2, ECF No. 89.
disregarded all home market sales without conducting a           Defendant-Intervenor Wheatland Tube Company supports
sales-below-cost test, and calculated normal value based on      Commerce's redetermination filed under protest. See Def.-
constructed value. Remand Results at 1–2, 7–8. Commerce          Interv. Wheatland Tube Company's Comments Commerce's
also made a particular market situation determination under      Second Redetermination Remand at 3, ECF No. 86. No party
19 U.S.C. § 1677b(e) and calculated constructed value with       filed comments opposing the Second Remand Results.
an adjustment to the cost of production as an alternative
calculation methodology. Id. at 8–11. The Court concluded        The U.S. Court of Appeals for the Federal Circuit has
in Saha Thai II that Commerce's exclusion of home market         held that when Commerce advocates a position zealously
sales, Commerce's particular market situation determination      and must abandon that position in order to comply with a
under 19 U.S.C. § 1677(15)(C), Commerce's particular             ruling of the U.S. Court of International Trade, Commerce
market situation determination under 19 U.S.C. § 1677b(e),       preserves its right to appeal if it adopts a complying
and Commerce's application of an alternative calculation         position under protest. See Viraj Grp., Ltd. v. United
methodology under 19 U.S.C. § 1677b(e) were not *1353 in         States, 343 F.3d 1371, 1376 (Fed. Cir. 2003). In this case,
                                                                 under protest, Commerce recalculated the weighted-average



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                    Case: 22-1175            Document: 6          Page: 46
Saha Thai Steel Pipe Public Company Limited v. United States, 538 F.Supp.3d 1350...
                                                                                   Filed: 09/12/2022


                                                                 Cir. 1992) (Nies, C.J., dissenting from the orders declining
dumping margins for Pacific Pipe, Saha Thai, and Thai
                                                                 suggestions for rehearing en banc) (citations omitted) (“An
Premium without a particular market situation adjustment.
                                                                 issue is also said to be ‘mooted’ when a court, having decided
Second Remand Results at 5–6. The weighted-average
                                                                 one dispositive issue, chooses not to address another equally
dumping margins changed from 30.61% to 7.38% for Pacific
                                                                 dispositive issue.”); Daewoo Elecs. Co. v. Int'l Union of Elec.,
Pipe, 28% to 0% for Saha Thai, and 30.98% to 5.23%
                                                                 Elec., Tech., Salaried & Mach. Workers, 6 F.3d 1511, 1513
for Thai Premium. Id. at 6. Commerce's recalculation of
                                                                 (Fed. Cir. 1993) (“[O]ur disposition of the tax incidence issue
the weighted-average dumping margins without a particular
                                                                 moots two other issues ....”).
market situation adjustment, under protest, is consistent with
the Court's prior opinions and orders in Saha Thai I and Saha
                                                                 The Court sustains the Second Remand Results without
Thai II.
                                                                 considering Commerce's reiterated particular market situation
                                                                 determination in the Second Remand Results.
Commerce maintained its determination that a particular
market situation distorted the cost of production. Second
Remand Results at 1–3, 5–6. The reiterated determination
has no effect on the dumping margins because Commerce            CONCLUSION
recalculated the dumping margins without a particular market
situation adjustment. No party challenges the determination.     The Court sustains the Second Remand Results.


Because the Court sustains Commerce's removal of                 Judgment will be entered accordingly.
the particular market situation adjustment, consideration
of Commerce's reiterated particular market situation
                                                                 All Citations
determination in the Second Remand Results would have no
practical significance and is mooted. See *1354 Morton           538 F.Supp.3d 1350
Int'l, Inc. v. Cardinal Chem. Co., 967 F.2d 1571, 1574 (Fed.

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Case: 22-1175   Document: 6   Page: 47   Filed: 09/12/2022




                    ADDENDUM 3
                    Case: 22-1175            Document: 6         Page: 48        Filed: 09/12/2022
Saha Thai Steel Pipe Public Company Limited v. United States, 422 F.Supp.3d 1363...




                 422 F.Supp.3d 1363                             Remanded.
      United States Court of International Trade.

       SAHA THAI STEEL PIPE PUBLIC                              Attorneys and Law Firms
         COMPANY LIMITED, Plaintiff,                             *1364 Daniel L. Porter, Christopher Dunn, Tung Nguyen,
                       and                                      and Kimberly Reynolds, Curtis, Mallet-Prevost, Colt &
       Thai Premium Pipe Company, Ltd.                          Mosle LLP, of Washington, DC, for Plaintiff Saha Thai Steel
                                                                Pipe Public Company Limited.
        and Pacific Pipe Public Company
        Limited, Consolidated Plaintiffs,                       Robert G. Gosselink, Jonathan M. Freed, and Aqmar Rahman,
                                                                Trade Pacific, PLLC, of Washington, DC, for Consolidated
                        v.
                                                                Plaintiff Thai Premium Pipe Company, Ltd.
         UNITED STATES, Defendant,
                       and                                      Lizbeth R. Levinson, Ronald M. Wisla, and Brittney R.
                                                                Powell, Fox Rothschild LLP, of Washington, DC, for
          Wheatland Tube Company,                               Consolidated Plaintiff Pacific Pipe Public Company Limited.
             Defendant-Intervenor.
                                                                Elizabeth A. Speck, Senior Trial Counsel, Commercial
                     Slip Op. 19-165                            Litigation Branch, Civil Division, U.S. Department of Justice,
                             |                                  of Washington, DC, for Defendant United States. With
                Consol. Court No. 18-00214                      her on the brief were Joseph H. Hunt, Assistant Attorney
                             |                                  General, Jeanne E. Davidson, Director, and L. Misha
                   December 18, 2019                            Preheim, Assistant Director. Of counsel on the brief was
                                                                Brandon J. Custard, Attorney, Office of the Chief Counsel
Synopsis                                                        for Trade Enforcement and Compliance, U.S. Department of
Background: Exporters of circular welded carbon steel pipes     Commerce.
and tubes from Thailand brought action against United States,
challenging final results of Department of Commerce in          Roger B. Schagrin, Elizabeth J. Drake, Christopher T.
administrative review of antidumping duty order on pipes        Cloutier, and Luke A. Meisner, Schagrin Associates, of
and tubes, including Department's application of particular     Washington, DC, for Defendant-Intervenor Wheatland Tube
market situation adjustment which altered exporters' costs      Company.
of production when calculating their weighted-average
antidumping margins. Exporters moved for judgment on
agency record, and for oral argument.                           OPINION

                                                                Choe-Groves, Judge:

Holdings: The Court of International Trade, Jennifer Choe-      Plaintiff Saha Thai Steel Pipe Public Company Limited
Groves, J., held that:                                          (“Saha Thai”) and Consolidated Plaintiffs Thai Premium Pipe
                                                                Company, Ltd. (“Thai Premium”) and Pacific Pipe Public
the Court of International Trade would decline to hear oral     Company Limited (“Pacific Pipe”) (collectively, “Plaintiffs”)
argument;                                                       challenge the U.S. Department of Commerce's (“Commerce”)
                                                                final results in the March 1, 2016 to February 28, 2017
adjustment was not in accordance with Tariff Act subsection     administrative review of the antidumping duty order on
on constructed value of imported merchandise; and               circular welded carbon steel pipes and tubes from Thailand.
                                                                Before the court are Plaintiffs' motions for judgment on
adjustment was not in accordance with Tariff Act subsection     the agency record and Plaintiffs' unopposed motion for oral
defining “ordinary course of trade.”                            argument. The court decides the motions on the parties'



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                      Case: 22-1175                Document: 6        Page: 49
Saha Thai Steel Pipe Public Company Limited v. United States, 422 F.Supp.3d 1363...
                                                                                       Filed: 09/12/2022


written submissions without oral argument.1 For *1365 the            the period of review (“POR”) such that the costs of
reasons discussed below, the court remands Commerce's Final          production of [CWP] are distorted and do not accurately
Results for further consideration.                                   reflect the cost of production in the ordinary course of trade.”
                                                                     Wheatland Allegation 1, PR 69–71 (Feb. 5, 2018). Wheatland
1                                                                    averred that: (1) the Royal Thai Government subsidized Thai
        The court has broad discretion to decide dispositive
                                                                     producers of hot-rolled coil, enabling its sale at below-market
        motions on written submissions without oral argument.
                                                                     prices to downstream producers of CWP, and (2) the prices
        See Rates Tech., Inc. v. Mediatrix Telecom, Inc., 688 F.3d
        742, 749 (Fed. Cir. 2012) (citations omitted).               for imports of hot-rolled coil into Thailand were distorted
                                                                     through dumping, subsidization, and global overcapacity. Id.
                                                                     at 4–5.
ISSUES PRESENTED
                                                                     In accepting Wheatland's submission over Saha Thai's
    1. Whether Commerce's particular market situation                objection, Commerce determined that Wheatland had
      adjustment is supported by substantial evidence and in         provided new factual information in support of its particular
      accordance with the law;                                       market situation allegation and thus gave interested parties
                                                                     seven days for interested parties to rebut, clarify, or correct
    2. Whether Commerce conducted a fair and impartial
                                                                     the factual information contained in Wheatland's particular
      administrative review;
                                                                     market situation allegation. Particular Market Situation
    3. Whether Saha Thai exhausted its administrative                Request for Comments Mem. 1–2, PR 81 (Mar. 21, 2018).
      remedies as to its duty drawback adjustment claim;             Saha Thai and Pacific Pipe submitted comments. Saha Thai
      and if so, whether Commerce's failure to apply a duty          Rebuttal Factual Information and Comments on Wheatland's
      drawback adjustment to Saha Thai's cost of production          Particular Market Situation Allegation, PR 83 (Mar. 28,
      for imputed Thai antidumping and safeguard duties on           2018); Pacific Pipe Comments on Particular Market Situation
      hot-rolled coil was supported by substantial evidence          Allegations, PR 84–85 (Mar. 28, 2018).
      and otherwise in accordance with the law.
                                                                     Commerce rendered its preliminary decision on April 3, 2018,
                                                                     which was published on April 9, 2018. Circular Welded
BACKGROUND                                                           Carbon Steel Pipes and Tubes from Thailand, 83 Fed. Reg.
                                                                     15,127 (Dep't Commerce Apr. 9, 2018) (preliminary results
Over thirty years ago, Commerce entered the antidumping
                                                                     of antidumping duty administrative review; 2016–2017).
duty order on circular welded carbon steel pipes (“CWP”)
                                                                     Commerce calculated a preliminarily *1366 weighted-
and tubes from Thailand. Antidumping Duty Order; Circular
                                                                     average dumping margin of 0.00 percent for Saha Thai, 5.34
Welded Carbon Steel Pipes and Tubes from Thailand,
                                                                     percent for Thai Premium, and 10.66 percent for Pacific Pipe.
51 Fed. Reg. 8,341 (Dep't Commerce Mar. 11, 1986).
                                                                     Id. at 15,128. Commerce noted that it had yet to determine
Based on the petition from Defendant-Intervenor Wheatland
                                                                     whether a particular market situation existed and would
Tube Company (“Defendant-Intervenor” or “Wheatland”),
                                                                     “consider [Wheatland's] allegations” further before issuing
Commerce initiated an administrative review of the
                                                                     the final results. Decision Mem. for the Preliminary Results of
antidumping duty order for the period of March 1, 2016,
                                                                     Antidumping Duty Administrative Review; 2016–2017, PR
through February 28, 2017. Initiation of Antidumping and
                                                                     87 (Apr. 3, 2018).
Countervailing Duty Administrative Reviews, 82 Fed. Reg.
21,513, 21,514 (Dep't Commerce May 9, 2017). Commerce
                                                                     Commerce issued Plaintiffs' supplemental questionnaires.
selected three Thai producers of subject merchandise as
                                                                     Pacific Pipe First Suppl. Questionnaire, PR 93 (Apr. 25,
mandatory respondents: Saha Thai, Pacific Pipe, and Thai
                                                                     2018); Saha Thai First Suppl. Questionnaire, PR 94 (Apr.
Premium. Plaintiffs responded. Pls.' Initial Questionnaire
                                                                     25, 2018); Thai Premium First Suppl. Questionnaire, PR
Resps., PR 31, 48–50, 52–54, and 56–57 (Aug. 17, 2017).
                                                                     95 (Apr. 25, 2018). The first supplemental questionnaires
                                                                     did not explicitly reference Wheatland's particular market
After Saha Thai, Pacific Pipe, and Thai Premium submitted
                                                                     situation allegation. See id. Plaintiffs responded. Pacific
questionnaire responses, but before Commerce issued
                                                                     Pipe's First Suppl. Resp., PR 101 (May 8, 2018); Saha
preliminary results, domestic producer Wheatland “allege[d]
                                                                     Thai First Suppl. Questionnaire Resp., PR 103–04 (May 14,
that a particular market situation existed in Thailand during


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                    Case: 22-1175            Document: 6         Page: 50        Filed: 09/12/2022
Saha Thai Steel Pipe Public Company Limited v. United States, 422 F.Supp.3d 1363...


2018); Thai Premium First Suppl. Questionnaire Resp., CR        Commerce granted as to all interested parties. Mem. re
98 (May 14, 2018). Wheatland also responded and provided        Extension Request Filing Rebuttal Brs., PR 133, (Sept. 17,
additional factual information supporting its particular        2018). Commerce held a *1367 hearing on September 27,
market situation allegation. Wheatland's Comments on, and       2018. Hr'g Tr., PR 141 (Oct. 4, 2018).
Clarifying Factual Info. Regarding Pacific Pipe and Saha Thai
Suppl. Questionnaire Resps., PR 107–09 (May 17, 2018).          Commerce published the Final Results on October 4,
                                                                2018. Circular Welded Carbon Steel Pipes and Tubes from
In the post-preliminary memorandum, Commerce found that         Thailand, 83 Fed. Reg. 51,927 (Dep't Commerce Oct. 15,
sufficient evidence supported Wheatland's particular market     2018) (final results of antidumping duty administrative
situation allegation. Post-Preliminary Decision Mem. on         review; 2016–2017) (“Final Results”); see also Decision
Particular Market Situation Allegation 1, PR 114 (Aug.          Memorandum for the Final Results of Antidumping Duty
31, 2018) (“PPDM”). Specifically, Commerce found that a         Administrative Review; 2016–2017, PR 143 (Oct. 4, 2018)
particular market situation existed in Thailand during the      (“Final IDM”); Pls.' Final Calc. Mems., PR 144, 146, 148
period of review as to the cost of hot-rolled coil as a         (Oct. 4, 2018). In the Final Results, Commerce found
component of the cost of production. Id. at 4. Commerce         that a particular market situation distorted the acquisition
assessed that a combination of the U.S. CVD rate on             cost of hot-rolled coil and adjusted Plaintiffs' costs of
Thai producers of hot-rolled coil and the Thai AD and           production. Final IDM at 8–10. Commerce recalculated
safeguard rates on hot-rolled coil imported into Thailand       Plaintiffs' weighted-average antidumping margins to 30.98
provided an appropriate basis for an adjustment to Thai         percent for Thai Premium, 30.61 percent for Pacific Pipe, and
CWP producers' input costs. Id. at 4, 6. Commerce then          28.00 percent for Saha Thai. Final Results at 51,928.
applied a particular market situation adjustment, which
altered Plaintiffs' costs of production and resulted in a       Saha Thai initiated this action challenging Commerce's Final
weighted-average antidumping margin calculation of 28.76        Results on October 18, 2018. Summons, Oct. 18, 2018,
percent for Thai Premium, 24.50 percent for Saha Thai, and      ECF No. 1; Compl., Oct. 18, 2018, ECF No. 6. The court
10.66 percent for Pacific Pipe. Commerce's Post-Preliminary     entered a statutory injunction on October 22, 2018, granted
Decision Mem. on Wheatland's Allegation, PR 114 (Aug.           Wheatland's motion to intervene on November 15, 2018, and
31, 2018); Analysis Mem. for the Post-Preliminary Results       consolidated this case with Court Numbers 18-00219 and
Concerning Saha Thai, PR 113 (Aug. 31, 2018); Pacific           18-00231 on January 30, 2019. Order for Statutory Inj. Upon
Pipe Prelim. Calc. Mem. and Particular Market Situation         Consent, Oct. 19, 2018, ECF. No. 10; Order, Nov. 15, 2018,
Adjustment Data, PR 116 (Aug. 31, 2018); Thai Premium           ECF No. 15; Order, Jan. 30, 2019, ECF No. 28. Defendant
Post-Prelim. Calc. Mem. and Particular Market Situation         United States (“Defendant”) filed the administrative record
Adjustment Data, PR 117 (Aug. 31, 2018);                        on January 31, 2019. Ltr. from Brandon Custard, Office of
                                                                the Chief Counsel for Trade Enforcement & Compliance,
Commerce gave interested parties seven days to file case        Commerce, to Mario Toscano, Clerk of the Court, U.S. Court
briefs. Briefing Schedule on All Issues Except Particular       of International Trade, Jan. 31, 2019, ECF No. 29.
Market Situation, PR 115 (Aug. 31, 2018). Saha Thai
requested a 10-day extension on September 4, 2018. Saha         Saha Thai, Thai Premium, and Pacific Pipe moved for
Thai Extension Request, PR 118 (Sept. 4, 2018). Commerce        judgment on the agency record. Pl. Saha Thai's Mot. J.
granted Saha Thai's request in part and gave all interested     Agency R. and Br. in Supp. (“Saha Thai Br.”), May 15, 2019,
parties an extra three days (one business day) to submit        ECF No. 39; Consol. Pl. Thai Premium's Mot. J. Agency
case briefs. Mem. re Extension of Deadline to File Case and     R., May 15, 2019, ECF No. 37, and Mem. in Supp. (“Thai
Rebuttal Briefs for All Issues, PR 121 (Sept. 6, 2018). The     Premium Br.”), May 15, 2019, ECF No. 37-2; Consol. Pl.
next day, Pacific Pipe requested a four-day extension of the    Pacific Pipe's Mot. J. Agency R., May 15, 2019, ECF No.
briefing schedule. Pacific Pipe Briefing Schedule Extension     41, and Mem. of Points and Authorities in Supp. (“Pacific
Request, PR 123 (Sept. 7, 2018). Commerce granted the           Pipe Br.”), May 15, 2019, ECF No. 41-2. Defendant and
request in part and enlarged the briefing schedule by three     Defendant-Intervenor responded. Def.'s Resp. to Pls.' Mots.
days for all parties. Mem. re Pacific Pipe Extension Request,   J. Agency R. (“Def. Resp.”) July 29, 2019, ECF No. 44; Def.-
PR 124 (Sept. 10, 2018). Defendant-Intervenor requested         Intervenor's Resp. Br. (“Def.-Intervenor Br.”), July 29, 2019,
a one-day extension to file a rebuttal case brief, which        ECF No. 42. Plaintiffs replied. Saha Thai's Reply Br., Sept.



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                       Case: 22-1175                Document: 6         Page: 51
Saha Thai Steel Pipe Public Company Limited v. United States, 422 F.Supp.3d 1363...
                                                                                         Filed: 09/12/2022


16, 2019, ECF No. 51; Thai Premium's Reply Br., Sept. 16,              value represents: (1) “the cost of materials and fabrication
2019, ECF No. 53; Pacific Pipe's Reply Br., Sept. 16, 2019,            or other processing of any kind [used] in producing the
ECF No. 54. Defendant filed the joint appendix on September            merchandise;” (2) “the actual amounts incurred and realized”
24, 2019. J.A., Sept. 24, 2019, ECF No. 56.                            for “selling, general, and administrative expenses, and for
                                                                       profits, in connection with the production and sale of a foreign
                                                                       like product, in the ordinary course of trade, for consumption
                                                                       in the foreign country[;]” and (3) the cost for packing the
JURISDICTION AND STANDARD OF REVIEW
                                                                       subject merchandise. Id. §§ 1677b(e)(1), (e)(2)(A), (e)(3), and
The court has jurisdiction under 19 U.S.C. § 1516a(a)(2)               (e)(2)(B) (providing for the calculation of constructed value
(B)(iii) and 28 U.S.C. § 1581(c). The court will uphold                if actual data set out in subsection (2)(A) is unavailable).
Commerce's determination unless it is unsupported by
substantial evidence on the record or otherwise not in                 When calculating constructed value under 19 U.S.C. §
accordance with law. 19 U.S.C. § 1516a(b)(1)(B)(i).                    1677b(e), if Commerce finds the existence of a particular
                                                                       market situation “such that the cost of materials and
                                                                       fabrication or other processing of any kind does not accurately
                                                                       reflect the cost of production in the ordinary course of trade,
DISCUSSION                                                             [then] [Commerce] may use another calculation methodology
                                                                       under this part or any other calculation methodology.” 19
    I. Commerce's Finding of a Particular Market Situation
                                                                       U.S.C. § 1677b(e).

A. Governing Law                                                       Section 504(c) of the Trade Preferences Extension Act of
                                                                       2015 (“TPEA”) amended the statutory provision governing
In determining antidumping duties, Commerce calculates
                                                                       constructed value, 19 U.S.C. § 1677b(e). The amendment
“the amount by which the normal value [of subject
                                                                       authorized Commerce to use alternative cost methodologies
merchandise] exceeds the export price (or the constructed
                                                                       when computing constructive value after making a particular
export price) for the merchandise.” 19 U.S.C. § 1673. When
                                                                       market situation determination. The amendment added the
reviewing antidumping duties in an administrative review,
                                                                       following language to the statute:
Commerce must determine “(i) the normal value and export
price (or constructed export price) of each entry of the subject          [F]or purposes of paragraph (1) [in reference to calculating
merchandise, and (ii) the dumping margin for each such                    constructed value] if a particular market situation exists
entry.” Id. *1368 § 1675(a)(2)(A). Normal value represents                such that the cost of materials and fabrication or other
the price at which the subject merchandise is first sold in the           processing of any kind does not accurately reflect the
exporting country. See id. §§ 1677b(a)(1)(A), (B)(i). Export              cost of production in the ordinary course of trade, the
price is “the price at which the subject merchandise is first             administering authority [Commerce] may use another
sold (or agreed to be sold)” in the United States. 19 U.S.C.              calculation methodology under this subtitle or any other
§ 1677a(a)).2                                                             calculation methodology.
                                                                       19 U.S.C. § 1677b(e). In other words, the amended statute
2       Constructed export price represents “the price at which
                                                                       gives Commerce discretion to adjust the cost of production
        the subject merchandise is first sold (or agreed to be sold)   calculation methodology when determining constructed value
        in the United States before or after the date of importation   if Commerce finds that a particular market situation exists.
        by or for the account of the producer or exporter of such      See id. Section 504 did not amend the statute governing
        merchandise or by a seller affiliated with the producer or     the calculation of cost of production (for below-cost-sales
        exporter, to a purchaser not affiliated with the producer      purposes) or application of the below-cost test set out in 19
        or exporter ....” 19 U.S.C. § 1677a(b).                        U.S.C. § 1677(b)(3).
If Commerce cannot determine the normal value of the subject
merchandise based on home-market sales or third-country
sales, then Commerce uses a constructed value as a basis for           B. Application of Particular Market Situation Adjustment
normal value. Id. § 1677b(a)(4). Subsection (e) governs the
calculation of a constructed value. Id. § 1677b(e). Constructed



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                     Case: 22-1175            Document: 6          Page: 52
Saha Thai Steel Pipe Public Company Limited v. United States, 422 F.Supp.3d 1363...
                                                                                    Filed: 09/12/2022


                                                                  whether home-market sales are below costs. Neither the term
                                                                  “ordinary course of trade” nor a reference to a particular
1. Commerce's Cost-Based Particular Market Situation
                                                                  market situation cost adjustment appears in Section 1677b(b)
Adjustment When Calculating Normal Value
                                                                  (3). Defendant's contention that Section 504 authorized
In this case, Commerce misapplies a particular market             Commerce's comparison of U.S. prices to home-market sales
situation adjustment to a respondents' cost of production for     instead of constructed value is an interpretation that is
purposes of the home-market sales-below-cost test. Under          unsupported in the law. See Ad Hoc Comm. v. United States,
19 U.S.C. § 1677b(e), *1369 Commerce's authority to               13 F.3d 398, 403 (Fed. Cir. 1994) (“Ad Hoc I”) (When
apply a particular market situation adjustment is limited to      “the antidumping statute is not silent on the question, ... the
the calculation of costs of materials and fabrication under       reasonableness or fairness of Commerce's interpretation of
19 U.S.C. § 1677b(e)(1). See 19 U.S.C. § 1677b(e) (“For           the Antidumping Act is irrelevant.”); Thomas v. Nicholson,
the purposes of paragraph (1) [19 U.S.C. § 1677b(e)(1)],          423 F.3d 1279, 1284 (Fed. Cir. 2005) (“[W]here ‘Congress
if a particular market situation exists ... the administering     includes particular language in one section of a statute but
authority may use another calculation methodology....”). The      omits it in another section of the same Act, it is generally
amended statute pertains to particular market situations in the   presumed that Congress acts intentionally and purposely in
context of constructed value, i.e., when the dumping margin       the disparate inclusion or exclusion.’ ” (quoting Russello v.
calculation is based on comparing U.S. prices to constructed      United States, 464 U.S. 16, 23, 104 S.Ct. 296, 78 L.Ed.2d
value, but only when constructed value is the basis of “normal    17 (1983)); see also Connecticut Nat'l Bank v. Germain, 503
value,” not home-market sales.                                    U.S. 249, 253–54, 112 S.Ct. 1146, 117 L.Ed.2d 391 (1992)
                                                                  (“We have stated time and again that courts must presume
Commerce applied Section 504 in finding a particular market       that a legislature says in a statute what it means and means
situation when it increased Plaintiffs' costs of production       in a statute what it says there.” (citations omitted)).3 The
for purposes of the home-market sales-below-cost test.            court concludes *1370 that Commerce's particular market
See Final IDM at 8–10; PPDM at 4–5. Commerce made                 situation adjustment is not in accordance with 19 U.S.C. §
the particular market situation adjustment after comparing        1677b(e).
Plaintiffs' U.S. sales to home-market sales. Final IDM at 14,
16, 18. Yet Commerce fails to explain how a cost of sale          3      Defendant and Defendant-Intervenor argue that
adjustment is appropriate when comparing U.S. sales and                  Commerce's particular market situation adjustment to
home-market sales. Analysis Mem. for the Final Results of                Plaintiffs' costs of production is entitled to deference
the Antidumping Duty Administrative Review of Circular                   under Chevron, U.S.A., Inc. v. Nat. Res. Def. Council,
Welded Steel Pipes and Tubes from Thailand: [Saha Thai] at               Inc., 467 U.S. 837, 842–42, 104 S.Ct. 2778, 81 L.Ed.2d
4–5, PR 146 (Oct. 4, 2018) (“Saha Thai Final Calc. Mem.”);               694 (1984). Def. Resp. at 11–12, 26; Def.-Intervenor
Analysis Mem. for the Final Results of the Antidumping                   Br. at 8, 11–16. Defendant and Defendant-Intervenor's
Duty Administrative Review of Circular Welded Steel Pipes                contention is incorrect because Congress has spoken
and Tubes from Thailand: [Thai Premium] 2–4, PR 148                      directly to the precise question at issue: how to calculate
(Oct. 4, 2018) (“Thai Premium Final Calc. Mem.”); Analysis               the cost of production for purposes of the sales-below-
                                                                         cost test. The TPEA amended 19 U.S.C. § 1677b(b)
Mem. for the Final Results of the Antidumping Duty
                                                                         (e)—the definition of constructed value. The TPEA did
Administrative Review of Circular Welded Steel Pipes and
                                                                         not amend 19 U.S.C. § 1677b(b)(3)—the applicable
Tubes from Thailand: [Pacific Pipe] 3–6, PR 144, (Oct. 4,
                                                                         statute governing the calculation of cost of production
2018) (“Pacific Pipe Final Calc. Mem.”). Although Section                for below-cost-sales—and Section 1677b(b)(3) contains
1677b(e), “Constructed Value,” grants Commerce discretion                no reference to a “particular market situation” finding.
to adjust a respondent's cost of production in an antidumping            Commerce's particular market situation adjustment runs
margin calculation upon finding a particular market situation,           contrary to the plain meaning of the statute as to how
that margin calculation must be based on a comparison of U.S.            Commerce must calculate the cost of production for
prices to constructed value, not home-market sales prices or             purposes of the sales-below-cost test. See Apex Frozen
third-country sales prices.                                              Foods Private Ltd. v. United States, 862 F.3d 1322, 1329
                                                                         (Fed. Cir. 2017).
Section 504 did not amend 19 U.S.C. § 1677b(b)(3), which
governs cost of production calculations for determining



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                     Case: 22-1175             Document: 6          Page: 53
Saha Thai Steel Pipe Public Company Limited v. United States, 422 F.Supp.3d 1363...
                                                                                    Filed: 09/12/2022


                                                                   TPEA's cost-based [particular market situation] allegation.”
                                                                   Final IDM at 5.
2. Sales-Based Particular Market Situations

In the Final Results, Commerce made a particular market            Commerce's argument here conflates the sales-based versus
situation finding and increased Plaintiffs' costs of production.   cost-based particular *1371 market situation provisions in
83 Fed. Reg. at 51,928; Final IDM at 8; see also Wheatland         the statute. The court rejects this post hoc rationalization
Allegation at 4 (alleging that “two particular market              for the Final Results. The TPEA did not provide a basis
situations ... distorted the cost of producing CWP in Thailand     for calculating the cost of production in the sales-below-cost
during the POR.” (emphasis added)). Saha Thai argues that          test. That Congress explicitly amended the sales-below-cost
Commerce made a cost-based particular market situation             provision for a different purpose shows that Congress was
finding, which means that Commerce's findings cannot be            aware of the sales-below-cost calculation when it enacted
grounded in 19 U.S.C. § 1677(15) (defining “ordinary course        the TPEA. Section 505(a)(A). Further, Congress amended
of trade”) because a sales-based particular market situation       the sales-below-cost provision and did not make a cross-
adjustment under 19 U.S.C. § 1677(15) is distinct from a           reference between 19 U.S.C. § 1677(15) and 19 U.S.C. §
cost-based particular market situation adjustment under 19         1677b(e), which shows that Congress did not intend for
U.S.C. § 1677b(e). Saha Thai Br. at 15–19. Defendant argues        Commerce to apply 19 U.S.C. § 1677(15)(C) in the manner
the TPEA “generally expanded the meaning of ‘ordinary              Commerce proposes.
course of trade’ to include any situation in which Commerce
finds that a particular market situation prevents a proper         Because Commerce chose to make a comparison between
comparison between markets.” Def. Resp. at 20 (citing 19           home-market sales and U.S. price, Commerce may not apply
U.S.C. § 1677(15)(C)).                                             a cost-based particular market situation adjustment in the
                                                                   context of this sales-based comparison. See Final IDM at 8–
Section 504(a) amended 19 U.S.C. § 1677(15), allowing              15. Commerce's post hoc rationalization does not support the
Commerce to consider certain “sales and transactions ... to        Final Results. The court concludes that Commerce's particular
be outside the ordinary course of trade” when a “particular        market situation adjustment is not in accordance with the law.
market situation prevents a proper comparison with the export
price or constructed export price.” 19 U.S.C. § 1677(15)(C).
                                                                   3. Conclusion
In the underlying administrative review, Commerce found
a particular market situation and adjusted Plaintiffs' costs       Because the court determines that the particular market
of production by applying the particular market situation          situation adjustment was not in accordance with the law, the
adjustment to Commerce's home-market sales calculation.            court need not decide whether substantial evidence supports
See Final IDM at 8–10. Commerce's cost-based particular            Commerce's particular market situation adjustment. The court
market situation adjustment does not implicate a sales-based       remands the Final Results for further consideration consistent
particular market situation in the underlying administrative       with this opinion.
review. See 19 U.S.C. § 1677(15); 19 U.S.C. § 1677b(e).
The record shows that Commerce distinguished between a
sales-based and cost-based particular market situation at the         II. Commerce's Actions When Conducting the
administrative level. Wheatland made a cost-based particular          Antidumping Review
market situation allegation. Wheatland Allegation at 1–            Saha Thai contends that Commerce did not conduct the
2 (“[W]e hereby allege that a particular market situation          underlying administrative review in a fair and impartial
existed in Thailand ... such that the costs of production          manner. Saha Thai Br. at 40–52. First, Saha Thai claims
of ... are distorted. We therefore request Commerce use an         that Commerce departed from its two-step approach taken in
alternative methodology to calculate constructed value.”).         prior cases when examining a cost-based particular market
When accepting Wheatland's particular market situation             situation allegation. Id. at 41–44. Second, Saha Thai avers
allegation over Saha Thai's objection as being untimely,           that Commerce showed bias because Commerce: (1) accepted
Commerce reasoned that its “regulations provide[d] a               Wheatland's May 17, 2018 factual submission even though
deadline for the submission of a sales-based [particular           it was untimely and contained new factual information
market situation] ... [but] no such provision exist[ed] for the    about the particular market situation allegation that neither



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                     Case: 22-1175            Document: 6          Page: 54
Saha Thai Steel Pipe Public Company Limited v. United States, 422 F.Supp.3d 1363...
                                                                                   Filed: 09/12/2022


                                                                  situation] adjustment methodology.” Saha Thai Br. at 53–
rebutted, clarified, nor corrected another interested party's
                                                                  54. Wheatland responds that Saha Thai failed to exhaust
questionnaire response, and (2) failed to give interested
                                                                  its administrative remedies because Saha Thai raised the
parties a meaningful opportunity to offer information on Thai
                                                                  duty drawback argument as a ministerial error, and not in
antidumping and safeguard duties applied to purchases of hot-
                                                                  Saha Thai's case brief before Commerce. Def.-Intervenor Br.
rolled coil during the period of review when setting a case
                                                                  at 8–10; Ministerial Error Mem., PR 162 (Dec. 20, 2018).
briefing schedule. Id. at 44–48.
                                                                  Defendants assert that Saha Thai's duty drawback argument
Defendant responds that Commerce conducted the underlying         falls beyond the nature of a ministerial error as defined
administrative review fairly and provided interested parties      in 19 C.F.R § 351.224. Def. Resp. at 50; Def.-Intervenor
                                                                  Br. at 10. Defendants contend there is no merit to Saha
sufficient time to comment on, and for Commerce to obtain,
                                                                  Thai's duty drawback claim because record evidence supports
information as to Wheatland's particular market situation
                                                                  Commerce's determination that Saha Thai was ineligible for
allegation. Def. Resp. at 47–49. Defendant also argues that
                                                                  the duty drawback adjustment requested in its ministerial
the governing federal regulation, 19 C.F.R. § 351.309(c)(1)
                                                                  error comments. Def. Resp. at 51–54; Def.-Intervenor Br.
(ii), allows Commerce to modify the 30-day deadline in filing
                                                                  at 10–11. Because the court remands for reconsideration of
case briefs after publication of the preliminary results of
                                                                  Commerce's particular market situation adjustment, the court
review. Id. at 49–50. Defendant avers that Commerce could
                                                                  need not address the issue of whether substantial evidence
consider Wheatland's factual submission because it rebutted,
                                                                  supports the duty drawback adjustment at this time.
clarified, or addressed Saha Thai's supplemental response as
to “input purchases and tax and duty on such purchases, and
calculations including the duty rates applicable to [hot-rolled
coil] imported from certain countries during the period of        CONCLUSION
review.” Id. at 48 (citations omitted). Because the court has
remanded to Commerce for reconsideration of its particular        For the foregoing reasons, the court concludes that
market situation adjustment, the court need not reach this        Commerce's particular market situation adjustment is not
issue.                                                            in accordance with the law and remands for further
                                                                  consideration consistent with this opinion. An order will issue
                                                                  accordingly.
   III. Saha Thai's Duty Drawback Adjustment Argument
Saha Thai argues that Commerce should have made a duty
drawback adjustment *1372 for “imputed Thai AD and                All Citations
safeguard duties that [Commerce] calculated on Saha Thai's
                                                                  422 F.Supp.3d 1363
purchased [hot-rolled coil] pursuant to its [particular market

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Case: 22-1175   Document: 6   Page: 55   Filed: 09/12/2022




                    ADDENDUM 4
          CaseCase: 22-1175   Document:
               1:18-cv-00214-JCG        6 63
                                 Document Page: 56 03/10/20
                                             Filed   Filed: 09/12/2022
                                                               Page 1 of 28



                                                                                                 A-549-502
                                                                                     Remand Redetermination
                                                                                            Slip Op. 19-165
                                                                                             Public Version
                                                                                         E&C/OVII: TP/AC

     Saha Thai Steel Pipe Co., Ltd., et al. v. United States, Court No. 18-00214, Slip Op. 19-165
                                      (CIT December 18, 2019)

                            FINAL RESULTS OF REDETERMINATION
                                   PURSUANT TO REMAND

I.       SUMMARY

         The U.S. Department of Commerce (Commerce) prepared these final results of

redetermination pursuant to the remand order of the U.S. Court of International Trade (the Court)

in Saha Thai.1 This litigation pertains to the antidumping duty (AD) administrative review of

circular welded carbon steel pipes and tubes (circular pipes and tubes) from Thailand.2

Commerce released its Draft Results of the Remand Redetermination in Saha Thai on February

14, 2020.3

         In Saha Thai, the Court remanded Commerce’s particular market situation (PMS)

adjustment finding that it was not in accordance with law “{b}ecause . . . Commerce may not

apply a cost-based particular market situation adjustment in the context of {a} sales-based

comparison.”4 As fully discussed below, we continue to find that a PMS exists in Thailand that

distorts the price of hot rolled coil. Therefore, under respectful protest,5 we have used




1
  See Saha Thai Steel Pipe Co., Ltd. v. United States, Court No. 18-00214, Slip Op. 19-165
(CIT December 18, 2019) (Saha Thai).
2
  See Circular Welded Carbon Steel Pipes and Tubes from Thailand: Final Results of Antidumping Duty
Administrative Review; 2016-2017, 83 FR 51927 (October 15, 2018) (Final Results) and accompanying Issues and
Decision Memorandum (IDM).
3
  See Memorandum, “Draft Results of Redetermination Pursuant to Remand: Circular Welded Steel Pipes and
Tubes from Thailand, Saha Thai Steel Pipe Co., Ltd., et al. v. United States, Court No. 18-00214, Slip Op. 19-165,”
dated February 14, 2020 (Draft Results of Remand Redetermination).
4
  See Saha Thai at 14.
5
  See Viraj Group v. United States, 343 F. 3d 1371 (Fed. Cir. 2003) (Viraj).




                                                 Appx00013
         CaseCase: 22-1175   Document:
              1:18-cv-00214-JCG        6 63
                                Document Page: 57 03/10/20
                                            Filed   Filed: 09/12/2022
                                                              Page 2 of 28



constructed value (CV) to calculate normal value and made PMS adjustments to the respondents’

costs used to calculate CV.

II.     REMANDED ISSUE

The Statute Limits the Application of an Adjustment to Respondents’ Cost of Production
for a PMS to the Calculation of Constructed Value

        1. Legal Framework

        Section 504 of the Trade Preferences Extension Act of 2015 (TPEA) added the concept

of “particular market situation” in the definition of the term “ordinary course of trade,” and for

purposes of constructed value under section 773(e) of Tariff Act of 1930, as amended (the Act).6

Section 773(e) of the Act states that “if a particular market situation exists such that the cost of

materials and fabrication or other processing of any kind does not accurately reflect the cost of

production in the ordinary course of trade, the administering authority may use another

calculation methodology under this subtitle or any other calculation methodology.” Although

the Act does not define “particular market situation,” the Statement of Administrative Action

(SAA) explains that examples where such a situation may exist include “where there is

government control over pricing to such an extent that home market prices cannot be considered

competitively set.”7

        Section 504 of the TPEA also amended the Act to provide Commerce with additional

discretion when applying the “particular market situation” concept to determine normal value.8

Specifically, in section 504 of the TPEA, Congress added the PMS concept to sales and

transactions that Commerce will consider outside the “ordinary course of trade,” and thus not




6
  See Trade Preferences Extension Act of 2015, Pub. L. No. 114-27, 129 Stat. 362 (2015) (TPEA).
7
  See Statement of Administrative Action Accompanying the Uruguay Round Agreements Act, H.R. Doc. 103-316,
vol 1 (1994) at 822 (SAA).
8
  See TPEA.


                                                     2
                                             Appx00014
         CaseCase: 22-1175   Document:
              1:18-cv-00214-JCG        6 63
                                Document Page: 58 03/10/20
                                            Filed   Filed: 09/12/2022
                                                              Page 3 of 28



usable in its antidumping calculations. Under section 771(15) of the Act, Commerce shall find

“sales and transactions” to be “outside the ordinary course of trade” in situations in which it

“determines that the particular market situation prevents a proper comparison with the export

price or constructed export price.”9

        Further, section 504 of the TPEA amended the constructed value provision in section

773(e) of the Act by permitting Commerce to use alternative cost calculation methodologies

upon a PMS finding. Under section 773(e) of the Act, when Commerce, in calculating

constructed value, finds that a “particular market situation exists such that the cost of materials

and fabrication or other processing of any kind does not accurately reflect the cost of production

in the ordinary course of trade,” Commerce “may use another calculation methodology under

this part or any other calculation methodology.”

        2. Background

        On May 9, 2017, Commerce initiated an administrative review of the Order10 on circular

pipes and tubes from Thailand covering the period March 1, 2016 through February 28, 2017.11

Commerce selected Saha Thai Steel Pipe (Public) Company, Ltd. (Saha Thai), Pacific Pipe

Public Company Limited (Pacific Pipe), and Thai Premium Pipe Co. Ltd. (Thai Premium) as

mandatory respondents.12 On April 9, 2018, Commerce published the Preliminary Results.13

Shortly before the Preliminary Results were issued, Commerce received a PMS allegation




9
  See TPEA.
10
   See Antidumping Duty Order: Circular Welded Carbon Steel Pipes and Tubes from Thailand, 51 FR 8341
(March 11, 1986) (Order).
11
   See Initiation of Antidumping and Countervailing Duty Administrative Reviews, 82 FR 21513, 21514
(May 9, 2017).
12
   Id.
13
   See Circular Welded Carbon Steel Pipes and Tubes from Thailand: Preliminary Results of Antidumping Duty
Administrative Review; 2016-2017, 83 FR 15127, 15128 (April 9, 2018) (Preliminary Results) and accompanying
Preliminary Decision Memorandum (PDM).



                                                      3
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         CaseCase: 22-1175   Document:
              1:18-cv-00214-JCG        6 63
                                Document Page: 59 03/10/20
                                            Filed   Filed: 09/12/2022
                                                              Page 4 of 28



pursuant to section 773(e) of the Act from the Wheatland Tube Company (Wheatland),14 a

domestic producer of circular pipes and tubes and a member of the original group of petitioners

in the less-than-fair-value investigation.

        Wheatland submitted factual information alleging that a PMS existed in the Thai hot-

rolled steel coil market that distorted the production costs of circular pipes and tubes.15

Wheatland predicated its PMS allegation on two factors: (1) Thai government subsidies to the

Thai hot-rolled steel coil industry; and (2) distortions in the prices of imports of hot-rolled steel

coil into Thailand due to dumping, subsidization, and global steel production overcapacity.16

        In the Preliminary Results, Commerce stated that, because of the timing of the

submission of Wheatland’s PMS allegation, we intended to consider the PMS allegation prior to

issuing the final results.17 In the Post-Preliminary PMS Memorandum, we determined that,

based on the collective impact of the two factors and supporting evidence, identified by

Wheatland, a PMS existed in Thailand during the period of review which distorted the

production costs of circular pipes and tubes.18 Additionally, we preliminarily determined that

sufficient record evidence existed to quantify the PMS which distorted the mandatory

respondents’ costs of production.19

        After further analyzing the record evidence and each interested parties’ case briefs,

Commerce maintained its PMS determination in its Final Results.20 Commerce also continued to



14
   See Wheatland’s Letter, “Circular Welded Steel Pipes and Tubes from Thailand: Particular Market Situation
Allegation,” (February 5, 2018) (Wheatland PMS Allegation).
15
   See Wheatland PMS Allegation at Exhibit 17.
16
   See Wheatland PMS Allegation at 4-5.
17
   See Preliminary Results, 83 FR at 15129 and accompanying PDM at 4.
18
   See Memorandum, “Antidumping Duty Administrative Review of Circular Welded Steel Pipes and Tubes from
Thailand: Post-Preliminary Decision Memorandum on Particular Market Situation Allegation,” dated
August 31, 2018 at 1, 4-5 (Post-Preliminary PMS Memorandum).
19
   Id. at 6.
20
   See Final Results 83 FR at 51927 and accompanying IDM at 3-14.



                                                      4
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         CaseCase: 22-1175   Document:
              1:18-cv-00214-JCG        6 63
                                Document Page: 60 03/10/20
                                            Filed   Filed: 09/12/2022
                                                              Page 5 of 28



find that it was appropriate, as an alternative methodology, to address the resulting distortions

caused by the PMS by increasing the respondents’ acquisition costs for hot-rolled steel coil.21

Commerce published the Final Results of its review on October 15, 2018, calculating weighted-

average dumping margins of 28.00 percent, 30.61 percent, and 30.98 percent for Saha Thai,

Pacific Pipe, and Thai Premium, respectively.22

        Following the Final Results, Saha Thai filed a ministerial error allegation contending that

Commerce failed to add the duty drawback adjustment to U.S. price to the amount of imputed

Thai antidumping and safeguard duties that Commerce added to Saha Thai’s cost of

production.23 On December 20, 2018, Commerce issued a ministerial error memorandum

finding that: (1) Saha Thai’s claims did not constitute ministerial errors as defined by 19 CFR

351.224; and (2) that there was no merit to Saha Thai’s arguments that its imputed antidumping

and safeguard duties should have been included in its duty drawback adjustment.24 Therefore,

Commerce declined to amend the Final Results.

        3. Remand Order

        The Court held that pursuant to section 504 of the TPEA and section 773(e) of the Act,

upon the finding of a PMS, Commerce is only permitted to adjust its cost of production for a

PMS when calculating constructed value, rather than the cost of production used in association

with comparison market sale prices as the basis for deriving normal value.25 Thus, the Court

found that because “Commerce chose to make a comparison between {normal value based on}


21
   See Final Results IDM at 12-15.
22
   See Final Results 83 FR at 51927.
23
   See Saha Thai’s Letter, “Saha Thai’s Request to Correct Ministerial Error Circular Welded Carbon Steel Pipe and
Tubes from Thailand (AR 16-17),” dated October 17, 2018.
24
   See Memorandum, “Ministerial Error Memorandum for the Final Results of the 2016-2017 Antidumping Duty
Administrative Review of Circular Welded Carbon Steel Pipes and Tubes from Thailand,” dated
December 20, 2018.
25
   See Saha Thai at 9.



                                                        5
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         CaseCase: 22-1175   Document:
              1:18-cv-00214-JCG        6 63
                                Document Page: 61 03/10/20
                                            Filed   Filed: 09/12/2022
                                                              Page 6 of 28



home-market sales {prices} and U.S. price, Commerce may not apply a cost-based PMS in the

context of this sales-based comparison.”26 Additionally, the Court stated that section 504 of the

TPEA did not amend “the statute governing the calculation of cost of production (for below-cost-

sales purposes) or the application of the below cost test” under section 773(b)(3) of the Act.27

The Court also explained that neither the term “ordinary course of trade,” nor a reference to a

PMS, appears in section 773(b)(3) of the Act.28 As such, the Court found that Commerce’s

contention that section 504 of the TPEA authorizes the inclusion of a PMS adjustment in the

calculation the respondents’ cost of production in the sales-below-costs test was not supported by

the statute, and that Commerce’s PMS adjustment was not in accordance with section 773(e) of

the Act.29

        Finally, having found that Commerce’s PMS adjustment was not in accordance with law,

the Court stated that it was not necessary to address the following issues: (1) the magnitude of

the particular market situation adjustments; (2) whether the administrative review was conducted

in a fair and impartial manner; and (3) whether Commerce should have revised the particular

market situation adjustment to account for Saha Thai’s claimed duty drawback adjustment.30

        4. Analysis

        As an initial matter, for the reasons explained in the Final Results,31 we respectfully

disagree with the Court’s finding that the inclusion of a PMS adjustment in the calculation of the

respondents’ cost of production in the sales-below-cost test is not supported by the statute, and

that Commerce’s PMS adjustment was not in accordance with section 773(e) of the Act.



26
   Id. at 14.
27
   Id. at 8-9.
28
   Id. at 11.
29
   Id. at 12.
30
   Id. at 12-16.
31
   See Final Results, 83 FR at 51927 and accompanying IDM at Comment 2.


                                                     6
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         CaseCase: 22-1175   Document:
              1:18-cv-00214-JCG        6 63
                                Document Page: 62 03/10/20
                                            Filed   Filed: 09/12/2022
                                                              Page 7 of 28



        Nevertheless, section 771(15) of the Act defines the term ‘‘ordinary course of trade’’ to

mean the conditions and practices which, for a reasonable time prior to the exportation of the

subject merchandise, have been normal in the trade under consideration with respect to

merchandise of the same class or kind. Subsection (C) explicitly states that Commerce shall

consider situations in which we determine that a particular market situation prevents a proper

comparison with the export price or constructed export price, to be outside the ordinary course of

trade.32 Thus, the statute enquires whether the PMS prevents a proper comparison with the

export or constructed export price.

        Additionally, section 773(a)(1)(B)(i) states that the normal value of subject merchandise

shall be based on the price at which the foreign like product is first sold (or, in the absence of a

sale, offered for sale) for consumption in the exporting country, in the usual commercial

quantities and in the ordinary course of trade and, to the extent practicable, at the same level of

trade as the export price or constructed export price. On this basis, home market sale prices used

as normal value must be sold in the ordinary course of trade.33

        In our PMS determination, we found that the respondents’ cost of materials and

fabrication or other processing of any kind do not accurately reflect the cost of production of

circular pipes and tubes in the ordinary course of trade.34 As noted above, section 771(15)(C) of

the Act states that Commerce shall consider situations in which we determine that a particular

market situation prevents a proper comparison of normal value with the export price or

constructed export price, to be outside the ordinary course of trade. On this basis, we determine

that, absent a PMS adjustment to the cost of production used in the sales-below-cost test, the




32
   See section 771(15)(C) of the Act.
33
   See section 773(a)(1)(B)(i) of the Act.
34
   See Post-Preliminary PMS Memorandum at 3, unchanged in Final Results and accompanying IDM.


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         CaseCase: 22-1175   Document:
              1:18-cv-00214-JCG        6 63
                                Document Page: 63 03/10/20
                                            Filed   Filed: 09/12/2022
                                                              Page 8 of 28



PMS that existed with respect to the cost of production of circular pipes and tubes in Thailand

prevents us from performing a meaningful sales-below-cost test. Comparing home market sale

prices to a cost of production that does not accurately reflect production costs in the ordinary

course of trade fails to accomplish the intent of the sales-below-cost test, which is to determine

whether the respondents’ home market sales were made in the ordinary course of trade. As such,

pursuant to section 771(15)(C) of the Act, we find that the PMS with respect to the cost of

production of circular pipes and tubes prevents a proper comparison of normal value based on

the respondents’ home market sale prices with the respondents’ export prices or constructed

export prices. Therefore, absent the ability to determine whether the comparison market sales

were made within the ordinary course of trade, we have based normal value on CV in accordance

with section 773(a)(4) of the Act.35

        Section 773(e)(1) states that constructed value is the amount equal to the “cost of

materials and fabrication or other processing of any kind employed in producing the

merchandise, during a period which would ordinarily permit the production of the merchandise

in the ordinary course of trade.” The TPEA added language to section 773(e) of the Act which

states that “if a particular market situation exists such that the cost of materials and fabrication or

other processing of any kind does not accurately reflect the cost of production in the ordinary

course of trade, the administering authority may use another calculation methodology under this

subtitle or any other calculation methodology.”

        As noted above, Commerce found that a PMS existed with regard to the price of hot-

rolled coil as a constituent element of the cost of production of circular pipes and tubes in



35
   Id. at *8 (stating “Congress provided for the existence of a PMS when market sales are used for normal value by
allowing Commerce to disregard specific sales (because they were made outside the ordinary course of trade) or to
move off of home market sales to use third country sales or constructed value.”); see also section 773(a)(1)(B) –
(C),(a)(4).


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         CaseCase: 22-1175   Document:
              1:18-cv-00214-JCG        6 63
                                Document Page: 64 03/10/20
                                            Filed   Filed: 09/12/2022
                                                              Page 9 of 28



Thailand. This PMS existed such that the cost of materials and fabrication reported by each

respondent does not accurately reflect its cost of production of circular pipes and tubes in the

ordinary course of trade. Therefore, pursuant to section 773(e) of the Act, we will adjust each

respondents’ cost of production in the calculation of its CV to account for the distorted prices of

hot-rolled coil in Thailand.36

        In accordance with section 773(e) of the Act, for each respondent, we separately

calculated CV based on the sum of the costs of materials and fabrication employed in producing

the subject merchandise, plus amounts for general and administrative (G&A) expenses, financial

expenses, CV profit, selling expenses, and U.S. packing costs. We recalculated the respective

cost of materials and fabrication to account for distorted hot-rolled coil prices in Thailand based

on information submitted by each respondent in their original and supplemental questionnaire

section D responses.

        Due to the absence of comparison market sales in the ordinary course of trade, we are

unable to calculate CV profit for each of the respondents using the preferred method and must

instead rely on one of the three alternatives outlined in section 773(e)(2)(B)(i) through (iii) of the

Act. These alternatives are: (i) the use of the actual amounts incurred and realized by the

specific exporter or producer in connection with the production and sale in the foreign country of

merchandise that is in the same general category of products as the subject merchandise; (ii) the

use of the weighted average of the actual amounts incurred and realized by exporters or



36
  See Memorandum “Analysis Memorandum for the Draft Remand Redetermination of Circular Welded Steel Pipes
and Tubes from Thailand: Pacific Pipe Public Company Ltd.,” dated concurrently with this Draft Remand
Redetermination (Pacific Pipe Draft Remand Analysis Memorandum); see also Memorandum “Analysis
Memorandum for the Draft Remand Redetermination of Circular Welded Steel Pipes and Tubes from Thailand:
Saha Thai Steel Pipe (Public) Company, Ltd.,” dated concurrently with this Draft Remand Redetermination (Saha
Thai Draft Remand Analysis Memorandum); and Memorandum “Analysis Memorandum for the Draft Remand
Redetermination of Circular Welded Steel Pipes and Tubes from Thailand: Thai Premium Pipe Company Ltd.,”
dated concurrently with this Draft Remand Redetermination (Thai Premium Draft Remand Analysis Memorandum).


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        CaseCase: 22-1175    Document:
             1:18-cv-00214-JCG         6 63
                                Document  Page: 65 03/10/20
                                             Filed    Filed: 09/12/2022
                                                               Page 10 of 28



producers (other than the respondent) in connection with the production and sale of the foreign

like product, in the ordinary course of trade country, for consumption in the foreign country; or

(iii) based on any other reasonable method, except that the amount for profit may not exceed the

amount realized by exporters or producers (other than the respondent) in connection with the

sale, for consumption in the foreign country, of merchandise that is in the same general category

of products as the subject merchandise (i.e., the “profit cap”).

        The statute does not establish a hierarchy for selecting among the alternatives for

calculating CV profit.37 Moreover, as noted in the SAA, “the selection of an alternative will be

made on a case-by-case basis, and will depend, to an extent, on available data.”38 Thus,

Commerce has the discretion to select from any of the three alternative methods, depending on

the information available on the record.

        In accordance with section 773(e)(2)(B)(iii) of the Act, (i.e., any other reasonable

method), as an available option for calculating each respondent’s CV profit rate and selling

expenses (i.e., CV selling expenses, CV credit expenses and CV commission expenses),39

Commerce used Saha Thai’s comparison market selling expense ratios and profit rate from its

home market sales in the 2015-2016 administrative review.40 Saha Thai’s comparison market

selling expense ratios and profit rate from the prior period reflect the profit and selling expenses

of a Thai circular pipes and tubes producer, on home market sales of the merchandise under



37
   See SAA at 840 (“At the outset, it should be emphasized, consistent with the Antidumping Agreement, new
section 773(e)(2)(B) does not establish a hierarchy or preference among these alternative methods. Further, no one
approach is necessarily appropriate for use in all cases.”).
38
   See SAA at 840.
39
   See Pacific Pipe Draft Remand Analysis Memorandum at “Constructed Value,” Saha Thai Draft Remand Analysis
Memorandum at “Constructed Value;” and Thai Premium Draft Remand Analysis Memorandum at “Constructed
Value.”
40
   See Memorandum, “Placing Documents on the Record of the Remand Redetermination of Circular Welded
Carbon Steel Pipes and Tubes (Pipes and Tubes) from Thailand,” dated concurrently with the instant memorandum
at Attachment 1.



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        CaseCase: 22-1175    Document:
             1:18-cv-00214-JCG         6 63
                                Document  Page: 66 03/10/20
                                             Filed    Filed: 09/12/2022
                                                               Page 11 of 28



consideration, in the ordinary course of trade. Further, we are unable to calculate the profit

amount realized by exporters or producers in connection with the sale, for consumption in the

foreign country, of the merchandise in the same general category of products as the subject

merchandise (i.e., “the profit cap”), in accordance with section 773(e)(2)(B)(iii) of the Act,

because the record does not contain information for making such a calculation. However, the

SAA makes clear that Commerce might have to apply alternative (iii) on the basis of facts

available.41 Therefore, we conclude that the method used to calculate CV profit serves as a

reasonable profit cap for this remand redetermination.

        For U.S. packing expenses, we will continue to use the amounts reported by each

respondent in their respective U.S. sales data.42

III.    FINAL RESULTS OF REDETERMINATION PURSUANT TO REMAND

        In accordance with Saha Thai, Commerce has revised certain aspects of its dumping

analysis. Based on these changes, the weighted-average dumping margins for Pacific Pipe

Company Limited, Saha Thai Pipe (Public) Company, Ltd. and Thai Premium Pipe Company,

Ltd. are listed in the chart below:




41
 See SAA at 840.
42
 See Pacific Pipe Draft Remand Analysis Memorandum at Attachment 1; Saha Thai Draft Remand Analysis
Memorandum at Attachment 1; and Thai Premium Draft Remand Analysis Memorandum at Attachment 1.


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          CaseCase: 22-1175    Document:
               1:18-cv-00214-JCG         6 63
                                  Document  Page: 67 03/10/20
                                               Filed    Filed: 09/12/2022
                                                                 Page 12 of 28



                                                       Final Results              Results of
                                                                                Redetermination
     Exporter or Producer
                                                    Weighted-Average           Weighted-Average
                                                    Dumping Margin43           Dumping Margin
     Pacific Pipe Company Limited                             30.61                   36.5044
     Saha Thai Pipe (Public) Company,
     Ltd.                                                     28.00                   30.6245

     Thai Premium Pipe Company, Ltd.                          30.98                   31.0646



IV.       COMMENTS ON DRAFT RESULTS OF REMAND REDETERMINATION

Issue 1. Whether Commerce’s Draft Results of Remand Redetermination Complies with
         the Court’s Decision

Respondents’ Comments

         The Court explicitly found Commerce’s PMS adjustment unlawful. Rather than simply

          complying with the Court’s instructions and recalculating Saha Thai’s weighted-average

          dumping margin “absent the PMS adjustment,” Commerce maintained the PMS

          adjustment through yet another unlawful guise.47

         Instead of recalculating Pacific Pipe’s weighted-average dumping margin, without

          making PMS adjustments to the COP, Commerce attempted to circumvent the Court’s

          order in Saha Thai by improperly using constructed value as the basis for normal value.48


43
   See Final Results.
44
   See Pacific Pipe Draft Remand Analysis Memorandum.
45
   See Saha Thai Draft Remand Analysis Memorandum.
46
   See Thai Premium Draft Remand Analysis Memorandum.
47
   See Saha Thai’s Letter, “Saha Thai's Comments on Draft Re-determination Circular Welded Carbon Steel Pipe
and Tubes from Thailand,” dated February 26, 2020 at 2 (citing Saha Thai at 14 “{b}ecause the court determines
that the particular market situation adjustment was not in accordance with the law, the court need not decide whether
substantial evidence supports Commerce’s particular market situation adjustment. The court remands the Final
Results for further consideration consistent with this opinion.”) (Saha Thai Draft Remand Comments).
48
   See Pacific Pipe’s Letter, “Circular Welded Carbon Steel Pipe and Tubes from Thailand: Comments on the Draft
Remand Redetermination Results,” dated February 26, 2020 at 2-3,and 5 (Pacific Pipe Draft Remand Comments).


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        CaseCase: 22-1175    Document:
             1:18-cv-00214-JCG         6 63
                                Document  Page: 68 03/10/20
                                             Filed    Filed: 09/12/2022
                                                               Page 13 of 28



Wheatland’s Comments

      The Court did not address the merits of Commerce’s affirmative PMS finding but ruled

       that the statute did not permit Commerce to apply a PMS adjustment to respondents’ costs

       of production for the purposes of the sales-below-cost test. Wheatland respectfully

       disagrees with the Court’s conclusion that Commerce may not adjust costs to account for a

       PMS for the purposes of the sales-below-cost test.49

Commerce’s Position: We disagree with Saha Thai and Pacific Pipe. The Court did not order

Commerce to recalculate each of the respondents’ weighted-average dumping margins without

making a PMS adjustment. Instead, the Court’s ruling focused on the Commerce’s application

of the PMS adjustment pursuant to section 504 of the TPEA and section 773(e) of the Act.

Specifically, the Court held that, upon the finding of a cost-based PMS, Commerce is only

permitted to make an adjustment to the cost of production when constructed value is used as the

basis for normal value, rather than when comparison market sale prices are used to derive normal

value.50 Thus, the Court found that because “Commerce chose to make a comparison between

home-market sales and U.S. price, Commerce may not apply a cost-based particular market

situation in the context of this sales-based comparison.”51 Therefore, because the Court remand

opinion does not preclude Commerce from maintaining its PMS determination, we believe our

final remand redetermination is in compliance with the Court’s remand opinion.52




49
   See Wheatland’s Letter, “Circular Welded Steel Pipes and Tubes from Thailand: Comments on Draft Remand
Redetermination,” dated February 26, 2020 at 2 (citing Saha Thai at 10-14) (Wheatland Draft Remand Comments).
50
   See Saha Thai at 9.
51
   Id. at 14.
52
   Id.


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          CaseCase: 22-1175    Document:
               1:18-cv-00214-JCG         6 63
                                  Document  Page: 69 03/10/20
                                               Filed    Filed: 09/12/2022
                                                                 Page 14 of 28



Issue 2. Whether the Regulations and Procedural Fairness Require that Commerce
         Abandon its Sales-Based PMS Determination in the Final Results of
         Redetermination Pursuant to Remand

Respondents’ Comments

        There is no dispute that, in the underlying review, Commerce initiated its PMS inquiry

         based on a “cost-based” PMS allegation, and that Commerce made a “cost-based” PMS

         determination in the Final Results.53

        In its Draft Results of Remand Redetermination, Commerce made a sales-based PMS

         determination.54 Wheatland did not meet the deadline set by 19 CFR 351.301(c)(2), for

         making a sales-based PMS allegation and Commerce therefore did not properly initiate its

         PMS allegation inquiry.55

        Quoting the Draft Results of Remand Redetermination –“home market prices used as

         normal value must be sold in the ordinary course of trade”56 – the respondents assert that

         Commerce has made an improper sales-based PMS determination when no such allegation

         was properly made by Wheatland.

        Commerce failed to meet the regulatory and initiation requirements for a sales-based

         PMS57 and Commerce does not have the authority to not comply with its own

         regulations58


53
   See Thai Premium’s Letter, “Circular Welded Carbon Steel Pipes and Tubes from Thailand: Comments on
Commerce’s Draft Remand Results,” dated February 26, 2020 at 9 (Thai Premium Draft Remand Comments), and
Saha Thai Draft Remand Comments at 6-8.
54
   See Thai Premium Draft Remand Comments at 9; see also Pacific Pipe Draft Remand Comments at 4.
55
   See Saha Thai Draft Remand Comments at 7-8.
56
   See Draft Results of Remand Redetermination at 7.
57
   See Thai Premium Draft Remand Comments at 9; see also Pacific Pipe Draft Remand Comments 4-5.
58
   See Saha Thai Draft Remand Comments at 7-8 (citing United States Steel & Fasteners, Inc. v. United States, 947
F.3d 794, 801 (Fed. Cir 2020) (finding that Commerce’s regulation was clear and did not allow suspension of
liquidation before a scope inquiry and explaining that affording Commerce deference would permit it to create a de
facto new regulation); see e.g., AMS v. United States, 737 F.3d 1338 ,1344 (CIT 2013) (concluding that Commerce’s
suspension instructions to CBP were “clearly inconsistent with the limited prospective authority provided by §



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         CaseCase: 22-1175    Document:
              1:18-cv-00214-JCG         6 63
                                 Document  Page: 70 03/10/20
                                              Filed    Filed: 09/12/2022
                                                                Page 15 of 28



       Therefore, Commerce’s revised margin calculations for all three respondents do not

        comport either with procedural fairness or with Commerce’s regulations. As such,

        Commerce should not make any PMS adjustments when it issues its final results of

        redetermination pursuant to remand.59

Commerce’s Position: We disagree with the respondents’ contention that Commerce made a

sales-based PMS determination in the Draft Results of Remand Redetermination. Commerce has

not considered whether a PMS existed in the home market for the sale of the foreign like product

such that home market sale prices cannot be used as the basis for normal value. In the Draft

Results of Redetermination, Commerce stated that “home market prices used as {as a basis for}

normal value must be sold in the ordinary course of trade.” Therefore, without being able to

make a PMS adjustment in calculating the respondents’ cost of production and perform an

accurate sales-below-cost test, we find that the PMS in Thailand which distorted the acquisition

cost of HRC has resulted in each respondent’s home market sales being outside of the ordinary

course of trade.60 Therefore, consistent with the statute, Commerce has relied on constructed

value as the basis for normal value.61




351.225(1)(2)” and, thus, Commerce exceeded its regulatory authority); see also Kisor v. Wilkie, 139 S. Ct. 2400
(2019) (“{I}f there is only one reasonable construction of a regulation . . .. then a court has no business to deferring
to any other reading. If a genuine ambiguity remains, then the agency’s reading must still be reasonable in order to
receive Auer deference.”); see e.g., Auer v. Robbins, 519 U.S. 452, 461 (1997) (finding that an agency’s
interpretation of its own ambiguous regulation is controlling unless it is “plainly erroneous or inconsistent with the
regulation.”)).
59
   See Thai Premium Draft Remand Comments at 8; Saha Thai Draft Remand Comments at 3, and 6-8; Pacific Pipe
Draft Remand Comments at 2-3, and 8.
60
   See section 771(15)(C) of the Act.
61
   See section 773(a)(4) of the Act; see also Husteel Co., Ltd. v. United States, Ct. No. 18-00169, Slip Op. 20-2 (CIT
January 3, 2020) (Husteel) (stating “A PMS that affects costs of production would presumably affect prices for
domestic sales and export sales so there would be no reason to adjust only the home market prices. If the PMS was
of a kind that only affected domestic sales, then it would be one which prevented “a proper comparison with the
export price or constructed export price” and Commerce would move to either third country sales or constructed
value.); see also sections 773(a)(1)(B)(ii)(III), (a)(1)(C)(iii), and (a)(4).



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          CaseCase: 22-1175    Document:
               1:18-cv-00214-JCG         6 63
                                  Document  Page: 71 03/10/20
                                               Filed    Filed: 09/12/2022
                                                                 Page 16 of 28



         As noted by the respondents, Commerce found that a cost-based PMS existed in Thailand

which distorted the acquisition cost HRC, the primary input used in the production of circular

pipes and tubes. On this basis, we found that the respondents’ cost of materials and fabrication

or other processing do not accurately reflect the cost of production of circular pipes and tubes in

the ordinary course of trade.62 The record of this court proceeding shows that Commerce relied

on the cost-based PMS finding made in the Final Results in the Draft Results of Remand

Redetermination, with no change to our determination that a cost-based PMS existed during the

period of review.63 As such, the respondents’ arguments that Commerce is not complying with

its own regulations by switching to a sales-based PMS lacks merit.

Issue 3. Whether Commerce’s Use of Constructed Value for All Respondents Is Illogical
         and Statutorily Impermissible

Respondents’ Comments

        Commerce has failed to demonstrate how alleged distortions in the Thai market prevent a

         proper comparison between U.S. price and home market prices. That is, Commerce fails

         to explain the rationale for its determination that the home market price and export price

         (or constructed export price) cannot be meaningfully compared.64




62
   See Post-Preliminary PMS Memorandum at 3, unchanged in Final Results and accompanying IDM.
63
   See Memoranda, “Analysis Memorandum for the Final Results of the Antidumping Duty Administrative Review
of Circular Welded Steel Pipes and Tubes from Thailand: Pacific Pipe Public Company Ltd.,” dated October 4, 2018
at 6 and Attachments 1-2 (Pacific Pipe Final Analysis Memorandum); “Analysis Memorandum for the Final Results
of the Antidumping Duty Administrative Review of Circular Welded Steel Pipes and Tubes from Thailand: Saha
Thai Steel Pipe (Public) Company, Ltd. (Saha Thai),” dated October 4, 2018 at 5 and Attachments 1-2 (Saha Thai
Final Analysis Memorandum); “Analysis Memorandum for the Final Results of the Antidumping Duty
Administrative Review of Circular Welded Steel Pipes and Tubes from Thailand: Thai Premium Pipe Company Ltd.
(Thai Premium),” dated October 4, 2018 at 5 and Attachments 1-2 (Thai Premium Final Analysis Memorandum);
Pacific Pipe Draft Remand Analysis Memorandum at Attachments 1-2; Saha Thai Draft Remand Analysis
Memorandum at Attachments 1-2; and Thai Premium Draft Remand Analysis Memorandum at Attachments 1-2
where we adjusted the respective respondents’ total cost of manufacturing (TCOMCOP) by the same calculated
PMS adjustment used in both the Final Results and the Draft Remand Results.
64
   See Thai Premium Draft Remand Comments at 11-12; see also Pacific Pipe Draft Remand Comments at 5-6.



                                                      16
                                               Appx00028
          CaseCase: 22-1175    Document:
               1:18-cv-00214-JCG         6 63
                                  Document  Page: 72 03/10/20
                                               Filed    Filed: 09/12/2022
                                                                 Page 17 of 28



        Commerce’s finding that, “absent a PMS adjustment to the cost of production used in the

         sales-below-cost test, the PMS that existed with respect to the cost of production of

         circular pipes and tubes in Thailand prevents us from performing a meaningful sales-

         below-cost test” is illogical. Essentially, Commerce’s position is that when it cannot

         adjust for costs for the sales-below-costs test to account for a PMS, Commerce cannot

         make a meaningful comparison as to whether a PMS exists, and a PMS must exist such

         that home market sales are outside the ordinary course of trade.65

        Commerce impermissibly resorted to the use of constructed value to determine normal

         value because it failed to exhaust the statutory requirement of relying first on home market

         sale prices.66 Basing normal value on constructed value in accordance with section

         773(a)(4) of the Act requires first that Commerce make an affirmative finding that “the

         normal value of the subject merchandise cannot be determined” by using home market

         sale prices under section 773(a)(1)(B)(i) of the Act.67

        Under the regulations, Commerce is only permitted to disregard those home market sales

         that are “outside the ordinary course of trade.”68 Moreover, Commerce can disregard a




65
   See Thai Premium Draft Remand Comments at 12-13; Pacific Pipe Draft Remand Comments at 4.
66
   See Thai Premium Draft Remand Comments at 11-12, Saha Thai Draft Remand Comments 3-4, and Pacific Pipe
Draft Remand Comments at 6-8.
67
   See Thai Premium Draft Remand Comments at 11-12, Saha Thai Draft Remand Comments 3-4, and Pacific Pipe
Draft Remand Comments at 6.
68
   See Saha Thai Draft Remand Comments at 4-6 and Pacific Pipe Draft Remand Comments at 7 (citing 19 CFR
351.102(35)
         “Ordinary course of trade” has the same meaning as in section 771(15) of the Act. The Secretary
         may consider sales or transactions to be outside the ordinary course of trade if the Secretary
         determines, based on an evaluation of all of the circumstances particular to the sales in question,
         that such sales or transactions have characteristics that are extraordinary for the market in
         question. Examples of sales that the Secretary might consider as being outside the ordinary course
         of trade are sales or transactions involving off-quality merchandise or merchandise produced
         according to unusual product specifications, merchandise sold at aberrational prices or with
         abnormally high profits, merchandise sold pursuant to unusual terms of sale, or merchandise sold
         to an affiliated party at a non-arm’s length price.



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          CaseCase: 22-1175    Document:
               1:18-cv-00214-JCG         6 63
                                  Document  Page: 73 03/10/20
                                               Filed    Filed: 09/12/2022
                                                                 Page 18 of 28



         respondent’s viable home market if it determines that there is a “particular market

         situation in the exporting country {home market} {that} does not permit a proper

         comparison with” the U.S. sales prices.69

        Taken together, the statute and Commerce’s regulations identify the following home

         market sales that might be considered outside the ordinary course of trade:

                    1. Sales that are below the cost of production;
                    2. Sales made to an affiliated customer at non-arms’ length price;
                    3. Sales involving off-quality merchandise or merchandise produced
                       according to unusual product specifications;
                    4. Sales made at aberrational prices or with abnormally high profits; and
                    5. Sales made at unusual terms of sale70

        Commerce has made no such determination.71 By conflating the specific statutory

         “cannot be determined” standard with an ultra vires “cannot determine whether”

         standard, Commerce impermissibly resorted to constructed value. Moreover,

         Commerce’s admission that it cannot determine whether the comparison market sales

         were made within the ordinary course of trade, must result in a conclusion that

         Commerce in fact has not found that the comparison market sales were outside the

         ordinary course of trade.72

Wheatland’s Comments

        Commerce correctly found that: (1) the statute requires any home market prices used as

         the basis of normal value be in the ordinary course of trade;73 (2) the statute directs

         Commerce to consider sales occurring in situations in which a PMS prevents a proper


69
   See Saha Thai Draft Remand Comments at 4 and Pacific Pipe Draft Remand Comments at 6.
70
   See Saha Thai Draft Remand Comments at 5 and Pacific Pipe Draft Remand Comments at 6.
71
   See Saha Thai Draft Remand Comments at 6 and Pacific Pipe Draft Remand Comments at 3-8.
72
   See Thai Premium Draft Remand Comments at 13, Saha Thai Draft Remand Comments at 5-6, and Pacific Pipe
Draft Remand Comments at 6.
73
   See Wheatland Draft Remand Comments at 2 (citing section 773(a)(1)(B)(i) of the Act).



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         CaseCase: 22-1175    Document:
              1:18-cv-00214-JCG         6 63
                                 Document  Page: 74 03/10/20
                                              Filed    Filed: 09/12/2022
                                                                Page 19 of 28



         comparison with export price to be outside the ordinary course of trade;74 and (3)

         comparing home market sales to a cost of production that does not accurately reflect

         production costs in the ordinary course of trade fails to accomplish the intent of the sales-

         below cost test, which is to determine which home market sales were made in the

         ordinary course of trade.

        Indeed, the statute directs that whenever sales are disregarded as the result of the sales-

         below-costs test, normal value shall be based on any remaining sales made in the

         ordinary course of trade, or, if no such sales remain, constructed value. Thus, if

         Commerce cannot use the sales-below-costs test to determine which sales were made in

         the ordinary course of trade as a result of the Court’s order, it must rely on constructed

         value.75

Commerce’s Position: We disagree with the respondents that Commerce has failed to

demonstrate how distortions in the Thai market prevent a proper comparison between U.S. price

and home market prices. In the Final Results, we found that a PMS existed in Thailand which

distorted the acquisition cost of HRC, the primary input used in the production of circular pipe

and tube. On this basis, we found that each of the respondent’s cost of materials and fabrication

or other processing do not accurately reflect the cost of production of circular pipes and tubes in

the ordinary course of trade.76 As noted above, section 771(15)(C) of the Act states that

Commerce shall consider situations in which we determine that a particular market situation

prevents a proper comparison of normal value with the export price or constructed export price,

to be outside the ordinary course of trade. On this basis, we find that the existence of the PMS


74
   See Wheatland Draft Remand Comments at 2 (citing section 771(15)(C) of the Act).
75
   Id. at 3 (citing section 771 (b)(1) of the Act).
76
   See Post-Preliminary PMS Memorandum at 3, unchanged in Final Results and accompanying IDM.



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                                             Appx00031
         CaseCase: 22-1175    Document:
              1:18-cv-00214-JCG         6 63
                                 Document  Page: 75 03/10/20
                                              Filed    Filed: 09/12/2022
                                                                Page 20 of 28



concerning the cost of production of circular pipes and tubes in Thailand precludes a proper

comparison of normal value with U.S. price, pursuant to section 771(15)(C) of the Act.77

         In addition, section 773(a)(1)(B)(i) states that the NV of subject merchandise shall be

based on the price at which the foreign like product is first sold (or, in the absence of a sale,

offered for sale) for consumption in the exporting country, in the usual commercial quantities

and in the ordinary course of trade and, to the extent practicable, at the same level of trade as the

export price or constructed export price. This statutory provision also requires that home market

prices, used as NV, must be sold in the ordinary course of trade.

         We note that comparing home market sale prices to a cost of production that does not

accurately reflect production costs in the ordinary course of trade would be illogical and defeat

the intent of the sales-below-costs test, which is to determine whether a respondent’s home

market sales were made in the ordinary course of trade. In the Final Results, we calculated PMS

adjustments ranging from [II] percent to [II] percent, meaning that the HRC acquisition costs

reported in the respondents’ books and records were highly distorted.78 Given that these

distorted HRC costs comprise 80-90 percent of the cost of production of circular pipes and tubes,

a sales-below-costs test run without a PMS adjustment would lead to a significant number of

below-cost home market sale prices being used as a basis of NV, which would be compared to

export price or constructed export price.79

         In determining whether to disregard a respondent’s home market sales made as a result of

the sales-below-costs test, we examined, in accordance with sections 773(b)(1)(A) and (B) of the



77
   Section 771(15)(C) of the Act explicitly states that Commerce shall consider situations in which we determine that
a PMS prevents a proper comparison with the export price or constructed export price, to be outside the ordinary
course of trade.
78
   See Pacific Pipe Final Analysis Memorandum at 6; Saha Thai Final Analysis Memorandum at 5; and Thai
Premium Final Analysis Memorandum at 5.
79
   See Post-Preliminary PMS Memorandum at 4-5.


                                                         20
                                                  Appx00032
        CaseCase: 22-1175    Document:
             1:18-cv-00214-JCG         6 63
                                Document  Page: 76 03/10/20
                                             Filed    Filed: 09/12/2022
                                                               Page 21 of 28



Act, whether, within an extended period of time, such sales were made in substantial quantities,

and whether such sales were made at prices which did not permit the recovery of all costs within

a reasonable period of time in the normal course of trade. In accordance with section 773(b) of

the Act, where less than 20 percent of a given product was sold at prices less than the COP, we

did not disregard below-cost sales of that product, because the below-cost sales were not made in

“substantial quantities.” However, we disregarded the below-cost sales that: (1) have been made

within an extended period of time (within six months to one year) in substantial quantities (20

percent or more), as defined by sections 773(b)(2)(B) and (C) of the Act; and (2) were not made

at prices which permit recovery of all costs within a reasonable period of time, as prescribed by

section 773(b)(2)(D) of the Act. Pacific Pipe, Saha Thai, and Thai Premium reported [II,III],

[I,III] and [I,III] home market sales, respectively.80 In the Preliminary Results, where we did not

make a PMS adjustment to the respondent’s cost of production, Commerce determined that

[I,III], [I,III], and [III] of Pacific Pipe’s, Saha Thai’s, and Thai Premium’s respective home

market sales were disregarded because of the sales-below-costs test and found to be outside of

the ordinary course of trade.81 In the Final Results, where we did make a PMS adjustment to the

respondents’ cost of production, Commerce determined that [II,III], [I,III], and [III] of Pacific

Pipe’s, Saha Thai’s, and Thai Premium’s respective home market sales were disregarded because

of the sales-below-costs test and found to be outside of the ordinary course of trade.82 Thus, the


80
   See Memoranda, “Analysis Memorandum for the Preliminary Results of the Antidumping Duty Administrative
Review of Circular Welded Steel Pipes and Tubes from Thailand: Pacific Pipe Public Company Ltd.,” dated
April 9, 2018 at Attachment 2; “Analysis Memorandum for the Preliminary Results of the Antidumping Duty
Administrative Review of Circular Welded Steel Pipes and Tubes from Thailand: Saha Thai Steel Pipe (Public)
Company, Ltd. (Saha Thai),” dated April 9, 2018 at Attachment 1; and “Analysis Memorandum for the Preliminary
Results of the Antidumping Duty Administrative Review of Circular Welded Steel Pipes and Tubes from Thailand:
Thai Premium Pipe Company Ltd. (Thai Premium),” dated April 9, 2018 at Attachment 1 (Thai Premium
Preliminary Analysis Memorandum)
81
   See Pacific Pipe Final Analysis Memorandum at Attachment 2; Saha Thai Final Analysis Memorandum at
Attachment 1; and Thai Premium Final Analysis Memorandum at Attachment 1.
82
   See Pacific Pipe Final Analysis Memorandum at Attachment 2; Saha Thai Final Analysis Memorandum at
Attachment 2; and Thai Premium Final Analysis Memorandum at Attachment 2.


                                                     21
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           CaseCase: 22-1175    Document:
                1:18-cv-00214-JCG         6 63
                                   Document  Page: 77 03/10/20
                                                Filed    Filed: 09/12/2022
                                                                  Page 22 of 28



record of the instant review clearly demonstrates how running the sales-below-costs test without

a PMS adjustment to each of the respondent’s cost of production led to distorted results (i.e.,

large numbers of home market sales made outside the ordinary course of trade formed the basis

for normal value for comparison with export price or constructed export price). Given the

Court’s instructions to not apply a cost-based PMS adjustment in the context of the sales-below-

costs test, pursuant to section 771(15)(C) of the Act, we find that the PMS with respect to the

cost of production of circular pipes and tubes prevents a proper comparison of the respondents’

home market prices with the respondents’ export prices or constructed export prices. Therefore,

we find that the PMS results in the respondents’ comparison market sales being outside of the

ordinary course of trade, and we continue to base normal value on CV in accordance with section

773(a)(4) of the Act for these final results of redetermination.

Issue 4. CV Profit

Respondents’ Comments

         If Commerce continues to rely on constructed value for normal value in its final results of

          redetermination, Commerce at a minimum should not use Saha Thai’s profit ratio from its

          2015-2016 administrative review and revise its determination of the proper amount of CV

          profit.83

         In the Preliminary Results, Post-Preliminary Results, and the Final Results of the

          underlying administrative review, Commerce used CV as a basis for normal value for

          Thai Premium because Thai Premium did not have sales of the foreign like product in the




83
     See Thai Premium Draft Remand Comments at 13.



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         CaseCase: 22-1175    Document:
              1:18-cv-00214-JCG         6 63
                                 Document  Page: 78 03/10/20
                                              Filed    Filed: 09/12/2022
                                                                Page 23 of 28



         ordinary course of trade which is the regulatory preferred method (i.e. Thai Premium’s

         foreign market profit) to calculate CV profit.84

        Commerce must conduct a sales-below-costs test based on the home market sales and

         cost data submitted by Thai Premium in this administrative review. By doing so,

         Commerce will be able to calculate a CV profit ratio based on its preferred method.85

        Because Commerce is able to calculate a CV profit rate under section 772(e)(2)(A) of the

         Act for Thai Premium, Commerce does not need to use the alternative methodologies

         prescribed under section 772(e)(2)(B) of the Act because the alternatives apply only

         when the respondent does not have useable data.86

        In the event that Commerce continues to disregard Thai Premium’s home market sales

         data to calculate CV profit based on section 772(e)(2)(A) of the Act, Commerce should

         use the CV profit and selling expenses that already are on the record of this

         administrative review in accordance its prior practice.87

        Commerce could have used Thai Premium’s 2015 financial information on the record of

         this administrative for Thai Premium’s CV profit ratio calculation.88 Commerce might

         surmise that Thai Premium’s 2015 financial statements are unusable because Thai

         Premium’s financials shows that the company had a net [xxxx] during the 2015 calendar

         year. However, this argument is without merit.


84
   See Thai Premium Draft Remand Comments at 16 (citing the Preliminary Results and accompanying PDM ; Thai
Premium Preliminary Analysis Memorandum; and Thai Premium Final Analysis Memorandum).
85
   See Thai Premium Draft Remand Comments at 17.
86
   Id. at 18.
87
   Id. at 18 (citing Certain Steel Nails from the United Arab Emirates: Final Determination of Sales at Less Than
Fair Value, 77 FR 17029 (March 23, 2012) and accompanying Issues and Decision Memorandum; and Biodiesel
from Argentina: Preliminary Affirmative Determination of Sales at Less Than Fair Value, Preliminary Affirmative
Determination of Critical Circumstances, in Part, 82 FR 50394 (October 31, 2017) and accompanying Preliminary
Decision Memorandum.
88
   Id. at 19 (citing Thai Premium’s July 31, 2017 Section A Questionnaire Response at Exhibit 10).



                                                       23
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         CaseCase: 22-1175    Document:
              1:18-cv-00214-JCG         6 63
                                 Document  Page: 79 03/10/20
                                              Filed    Filed: 09/12/2022
                                                                Page 24 of 28



        The Court has stated that it is reasonable for Commerce’s interpretation of the term

         “profit” to refer only to positive amounts, and further concluded previously that it was

         reasonable for Commerce to include only positive profits in its calculation.89

        However, Commerce considers negative or zero amounts in the calculation of CV profit

         when there are no positive profits realized by any of the producers in the industry.90 In

         this review, the exception articulated by the Court applies because the 2015 financial

         statements of Saha Thai and Pacific Pipe (i.e. the two other mandatory respondents in this

         proceeding) also show that they had [xxx xxxxxx] for the calendar year of 2015.91

        If Commerce finds that it cannot use Thai Premium’s 2015 financial statements, the 2015

         financial statements of other sellers of foreign like product are on the record of this

         review.92 The 2015 financial statements for [Ixxxxxxx Ixxxxxxxxxxx Ix., Ixx. xxx

         Ixxxxxxx Ixxxx Ixxxx Ix., Ixx.], distributors of pipe, and those of Sri Poon Thong Co.

         Ltd. (Sri Poon), a reseller of foreign like product, are on the record.93 The profit ratios

         for each of these companies would be a reliable surrogate for Thai Premium’s home

         market CV profit ratio.

        Commerce failed to create an adequate record for purposes of calculating CV and did not

         afford parties the opportunity to consider and submit information to value CV profit.94




89
   Id. at 19 (citing Fuyao Glass Industry Group Co., Ltd. v. United States, 2003 Ct. Int'l Trade Lexis 171, Slip. Op.
2003-169, 33-34 (CIT December 18, 2003) (Fuyao)).
90
   Id. at 20 (citing Floral Trade Council v. United States, 41 F. Supp. 2d 319, 326-32 (CIT 1999)).
91
   See Saha Thai’s July 31, 2017 Section A Questionnaire Response at Exhibit A-12 (Saha Thai July 31, 2017
AQR); and Pacific Pipe’s July 31, 2017 Section A Questionnaire Response.
92
   See Thai Premium Draft Remand Comments at 20.
93
   Id. at 20 (referring to Saha Thai July 31, 2017 AQR at Exhibit A-12).
94
   See Pacific Pipe Draft Remand Comments at 8.



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           CaseCase: 22-1175    Document:
                1:18-cv-00214-JCG         6 63
                                   Document  Page: 80 03/10/20
                                                Filed    Filed: 09/12/2022
                                                                  Page 25 of 28



          In the event Commerce declines to base the CV profit ratio on the evidence already on

           the record of this administrative review, Commerce should request additional information

           from interested parties per its practice.95

Commerce’s Position: In accordance with section 773(e) of the Act, for each respondent, we

have continued to separately calculate CV based on the sum of the costs of materials and

fabrication employed in producing the subject merchandise, plus amounts for general and

administrative (G&A) expenses, financial expenses, CV profit, selling expenses, and U.S.

packing costs. We disagree with respondent’s argument that the preferred method of calculating

CV profit could be used in this situation because we have found that there are no comparison

market sales with which we can perform the sales-below-cost tests, establish whether such

comparison market sales were made within the ordinary course of trade, where CV profit would

be calculated under the preferred method.

           Due to the absence of comparison market sales in the ordinary course of trade, we are

unable to calculate CV profit for each of the respondents using the preferred method and must

instead rely on one of the three alternatives outlined in section 773(e)(2)(B)(i) through (iii) of the

Act. These alternatives are: (i) the use of the actual amounts incurred and realized by the

specific exporter or producer in connection with the production and sale in the foreign country of

merchandise that is in the same general category of products as the subject merchandise; (ii) the

use of the weighted average of the actual amounts incurred and realized by exporters or

producers (other than the respondent) in connection with the production and sale of the foreign

like product, in the ordinary course of trade country, for consumption in the foreign country; or

(iii) based on any other reasonable method, except that the amount for profit may not exceed the



95
     See Thai Premium Draft Remand Comments at 21 and Pacific Pipe Draft Remand Comments at 8.


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         CaseCase: 22-1175    Document:
              1:18-cv-00214-JCG         6 63
                                 Document  Page: 81 03/10/20
                                              Filed    Filed: 09/12/2022
                                                                Page 26 of 28



amount realized by exporters or producers (other than the respondent) in connection with the

sale, for consumption in the foreign country, of merchandise that is in the same general category

of products as the subject merchandise (i.e., the “profit cap”).

        In conducting this analysis, we note that the specific language of both the preferred and

alternative methods show a preference that the profit and selling expenses: (1) reflect production

and sales in the foreign country; and (2) represent the foreign like product, i.e., the merchandise

under consideration. However, when selecting a profit rate from available record evidence, we

may not be able to find a source that reflects both factors. Consequently, we must weigh the

quality of the data against these factors.

        The statute does not establish a hierarchy for selecting among the alternatives for

calculating CV profit.96 Moreover, as noted in the SAA, “the selection of an alternative will be

made on a case-by-case basis, and will depend, to an extent, on available data.”97 Thus,

Commerce has the discretion to select from any of the three alternative methods, depending on

the information available on the record. We continue to find that Commerce cannot rely on

alternative (i) because there is no general category of merchandise profit information on the

record for the respondents. Further, Commerce cannot rely on alternative (ii) because there no

other respondents in this review that have comparison market sales in the ordinary course of

trade. Therefore, Commerce must resort to the alternative under subsection (iii), i.e., any other

reasonable method.

        In accordance with section 773(e)(2)(B)(iii) of the Act, (i.e., any other reasonable

method), as an available option for calculating each respondent’s CV profit rate and selling

96
   See SAA at 840 (“At the outset, it should be emphasized, consistent with the Antidumping Agreement, new
section 773(e)(2)(B) does not establish a hierarchy or preference among these alternative methods. Further, no one
approach is necessarily appropriate for use in all cases.”).
97
   Id.



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        CaseCase: 22-1175    Document:
             1:18-cv-00214-JCG         6 63
                                Document  Page: 82 03/10/20
                                             Filed    Filed: 09/12/2022
                                                               Page 27 of 28



expenses (i.e., CV selling expenses, CV credit expenses and CV commission expenses).98

Commerce will continue to use Saha Thai’s comparison market selling expense ratios and profit

rate from its home market sales in the 2015-2016 administrative review.99 Saha Thai’s

comparison market selling expense ratios and profit rate from the prior period reflect the profit

and selling expenses of a Thai circular pipes and tubes producer, on home market sales of the

merchandise under consideration, in the ordinary course of trade. Further, we are unable to

calculate the profit amount realized by exporters or producers in connection with the sale, for

consumption in the foreign country, of the merchandise in the same general category of products

as the subject merchandise (i.e., the profit cap), in accordance with section 773(e)(2)(B)(iii) of

the Act, because the record contains no information for making such a calculation. However, the

SAA makes clear that Commerce might have to apply alternative (iii) on the basis of facts

available.100 Therefore, we conclude that the method used to calculate CV profit serves as a

reasonable profit cap for this remand redetermination.

        We disagree that Thai Premium’s 2015 financial statements are a viable option because

they show a loss. As the Court found in Fuyao Glass, Commerce reasonably only included

positive profits in calculating constructed value.101 The 2015 financial statements for [Ixxxxxxx

Ixxxxxxxxxxx Ix., Ixx. xxx Ixxxxxxx Ixxxx Ixxxx Ix., Ixx.], distributors of pipe, and those of Sri

Poon, a reseller of foreign like product, are less preferable options because they are resellers or

distributors whose business operations are less similar to the respondents because, unlike the

respondents, they are not producers of circular pipes and tubes.


98
   See Pacific Pipe Draft Remand Analysis Memorandum at “Constructed Value,” Saha Thai Draft Remand Analysis
Memorandum at “Constructed Value;” and Thai Premium Draft Remand Analysis Memorandum at “Constructed
Value.”
99
   See Memorandum, “Placing Documents on the Record of the Remand Redetermination of Circular Welded
Carbon Steel Pipes and Tubes (Pipes and Tubes) from Thailand,” dated February 14, 2020 at Attachment 1.
100
    See SAA at 840.
101
    See Fuyao, at *34.


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        CaseCase: 22-1175    Document:
             1:18-cv-00214-JCG         6 63
                                Document  Page: 83 03/10/20
                                             Filed    Filed: 09/12/2022
                                                               Page 28 of 28



V.      FINAL RESULTS OF REMAND REDETERMINATION

        Pursuant to the Saha Thai remand order, Commerce will continue to calculate Pacific

Pipe’s, Saha Thai’s, and Thai Premium’s PMS adjustment using CV as the basis for NV instead

of their respective reported home market sales.



                               3/10/2020



  X
  Signed by: JEFFREY KESSLER
____________________________
Jeffrey I. Kessler
Assistant Secretary
  for Enforcement and Compliance




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       CaseCase: 22-1175    Document:
            1:18-cv-00214-JCG         6 63-1
                               Document  Page: Filed
                                               84 03/10/20
                                                     Filed: 09/12/2022
                                                                Page 1 of 3
                                                       UNITED STATES DEPARTMENT OF COMMERCE
                                                       Office of the General Counsel
                                                       OFFICE OF THE CHIEF COUNSEL FOR TRADE ENFORCEMENT & COMPLIANCE
                                                       Washington, D.C. 20230




                                                    March 10, 2020



FILED ELECTRONICALLY VIA CM/ECF

Mario Toscano
Clerk of the Court
U.S. Court of International Trade
One Federal Plaza
New York, NY 10278-0001

Re:    Redetermination Pursuant to Court Remand Order in
       Saha Thai Steel Pipe Public Company Limited v. United States, Court No. 18-00214

Dear Mr. Toscano:

        Pursuant to the Court’s order of February 11, 2020, please find attached the U.S.
Department of Commerce’s Redetermination Pursuant to Court Remand in the above-captioned
action. The remand redetermination is a business proprietary document. I am also filing a public
version of the remand redetermination.

       In accordance with Court Rule 56.2(h)(1), filing of the administrative record index for the
remand proceeding will follow under separate cover. Should you have any questions concerning
the matter, please contact me at (202) 482-1823.

                                             Respectfully submitted,


                                             /s Brandon Jerrold Custard
                                             Brandon Jerrold Custard
                                             Attorney
                                             Office of the Chief Counsel
                                                for Trade Enforcement & Compliance

Attachment




                                         Appx00041
             CaseCase: 22-1175    Document:
                  1:18-cv-00214-JCG         6 63-1
                                     Document  Page: Filed
                                                     85 03/10/20
                                                           Filed: 09/12/2022
                                                                      Page 2 of 3
Mr. Mario Toscano
March 10, 2020
Page 2


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             CaseCase: 22-1175    Document:
                  1:18-cv-00214-JCG         6 63-1
                                     Document  Page: Filed
                                                     86 03/10/20
                                                           Filed: 09/12/2022
                                                                      Page 3 of 3
Mr. Mario Toscano
March 10, 2020
Page 3

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                                         Appx00043
Case: 22-1175   Document: 6   Page: 87   Filed: 09/12/2022




                    ADDENDUM 5
                     Case: 22-1175            Document: 6         Page: 88        Filed: 09/12/2022
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...




                                                                  Attorneys and Law Firms
                 487 F.Supp.3d 1323
      United States Court of International Trade.                 *1325 Daniel L. Porter, Tung Nguyen, and Kimberly
                                                                  Reynolds, Curtis, Mallet-Prevost, Colt & Mosle LLP, of
       SAHA THAI STEEL PIPE PUBLIC                                Washington, D.C., for Plaintiff Saha Thai Steel Pipe Public
         COMPANY LIMITED, Plaintiff,                              Company Limited.

                       and                                        Robert G. Gosselink, Jonathan M. Freed, and Aqmar Rahman,
       Thai Premium Pipe Company Ltd.                             Trade Pacific, PLLC, of Washington, D.C., for Consolidated
                                                                  Plaintiff Thai Premium Pipe Company Ltd.
        and Pacific Pipe Public Company
        Limited, Consolidated Plaintiffs,                         Lizbeth R. Levinson, Ronald M. Wisla, and Brittney R.
                                                                  Powell, Fox Rothschild LLP, of Washington, D.C., for
                        v.
                                                                  Consolidated Plaintiff Pacific Pipe Public Company Limited.
         UNITED STATES, Defendant,
                       and                                        Elizabeth A. Speck, Senior Trial Counsel, and L. Misha
                                                                  Preheim, Assistant Director, Commercial Litigation Branch,
          Wheatland Tube Company,                                 Civil Division, U.S. Department of Justice, of Washington,
             Defendant-Intervenor.                                D.C., for Defendant United States. With them on the brief
                                                                  were Joseph H. Hunt, Assistant Attorney General, and
                     Slip Op. 20-181                              Jeanne E. Davidson, Director. Of counsel on the brief was
                             |                                    Brandon J. Custard, Attorney, Office of the Chief Counsel
                Consol. Court No. 18-00214                        for Trade Enforcement and Compliance, U.S. Department of
                             |                                    Commerce.
                   December 21, 2020
                                                                  Roger B. Schagrin, Elizabeth J. Drake, Christopher T.
Synopsis                                                          Cloutier, and Luke A. Meisner, Schagrin Associates, of
Background: Exporters filed suit challenging Department           Washington, D.C., for Defendant-Intervenor Wheatland Tube
of Commerce's final results in administrative review of           Company.
antidumping duty order covering circular welded carbon steel
pipes and tubes (CWP) from Thailand. Exporters moved for
judgment on agency record. The Court of International Trade,      OPINION AND ORDER
Jennifer Choe-Groves, J., 422 F.Supp.3d 1363, remanded.
On remand, Department of Commerce issued final results of         CHOE-GROVES, Judge:
remand redetermination.
                                                                  Plaintiff Saha Thai Steel Pipe Public Company Limited
                                                                  (“Saha Thai”) and Consolidated Plaintiffs Thai Premium
                                                                  Pipe Company Limited (“Thai Premium”) and Pacific Pipe
Holdings: The Court of International Trade, Choe-Groves, J.,      Public Company Limited (“Pacific Pipe”) (collectively,
held that:                                                        “Plaintiffs”) filed this consolidated action challenging the
                                                                  final results published by the U.S. Department of Commerce
particular market situation allegation was not time-barred, but   (“Commerce”) in the 2016–2017 administrative review of
                                                                  the antidumping duty order on circular welded carbon steel
cost-based particular market situation determinations were        pipes and tubes (“CWP”) from Thailand. See Circular
unlawful.                                                         Welded Carbon Steel Pipes and Tubes From Thailand (“Final
                                                                  Results”), 83 Fed. Reg. 51,927 (Dep't Commerce Oct.
                                                                  15, 2018) (final results of antidumping duty administrative
Remanded.
                                                                  review; 2016–2017); see also Decision Mem. for the Final
                                                                  Results of Antidumping Duty Admin. Review; 2016–2017,
                                                                  PD 143 (Oct. 4, 2018) (“Final Decision Memorandum” or



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                                               to original U.S. Government Works.                                          1
                      Case: 22-1175               Document: 6        Page: 89
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...
                                                                                      Filed: 09/12/2022


“Final IDM”).1 Before the court are the Final Results of            market situation adjustments were supported by substantial
Redetermination Pursuant to Remand, ECF Nos. 62, 63                 evidence in the Final Results are not before the court at this
(“Remand Results”), which the court ordered in Saha Thai            time.
Steel Pipe Public Co. v. United States (“Saha Thai I”), 43 CIT
––––, 422 F. Supp. 3d 1363 (2019).                                  For the following reasons, the court remands the Remand
                                                                    Results.
1       Citations to the administrative record reflect the public
        record (“PD”) document numbers.
Plaintiffs argue that Commerce did not comply with                  BACKGROUND
the court's remand order, which required Commerce to
                                                                    The court presumes familiarity with the facts and procedural
reconsider its unlawful particular market situation adjustment
                                                                    history as set forth in its prior opinion and recounts the facts
in accordance with the court's opinion, noting the absence
                                                                    relevant to the court's review of the Remand Results. See Saha
of a direct instruction from the court for Commerce to
                                                                    Thai I, 43 CIT at ––––, 422 F. Supp. 3d at 1365–67.
reverse its particular market situation adjustment. [Thai
Premium]’s Comments O'ppn Remand Redetermination at
                                                                    Defendant-Intervenor        Wheatland       Tube      Company
5–6, ECF Nos. 65, 66 (“Thai Premium Cmts.”); Pl. Saha
                                                                    (“Wheatland”) submitted factual information alleging that
Thai's Comments Commerce's Redetermination Remand at
                                                                    a particular market situation in Thailand during the period
2–3, ECF No. *1326 67 (“Saha Thai Cmts.”); Pl. Pacific
                                                                    of review distorted the costs of hot-rolled steel coil.
Pipe's Comments Commerce's Remand Redetermination at
                                                                    Wheatland Allegation Letter at 1, PD 69–71 (Feb. 5, 2018)
2–3, ECF No. 68 (“Pacific Pipe Cmts.”). Plaintiffs assert that
                                                                    (“Wheatland Allegation”). Wheatland alleged the existence
Commerce's Remand Results set forth an impermissible new
                                                                    of two independent particular market situations, either one
justification for a particular market situation adjustment to
                                                                    of which was purportedly sufficient on its own to distort the
the cost of production that is contrary to the court's remand
                                                                    cost of production of CWP: (1) the Royal Thai Government
order, Commerce's regulations, the applicable statute, and
                                                                    subsidized Thai producers of hot-rolled coil, enabling its
procedural fairness. Thai Premium Cmts. at 7, 9; Saha Thai
                                                                    sale at below-market prices to downstream producers of
Cmts. at 3; Pacific Pipe Cmts. at 3.
                                                                    CWP, and (2) the prices for imports of hot-rolled coil into
                                                                    Thailand were distorted through dumping, subsidization, and
Thai Premium asserts that normal value for Thai Premium
                                                                    global overcapacity. Id. at 4–5. Wheatland requested that
was based on constructed value in the Final Results and asks
                                                                    Commerce “use an alternative calculation methodology to
the court to address whether Commerce's particular market
                                                                    calculate constructed value under 19 U.S.C. § 1677b(e) in
situation adjustments in the Final Results were supported
                                                                    this proceeding.” Id. at 1. Commerce accepted Wheatland's
by substantial evidence. Thai Premium Cmts. at 3–4. In the
                                                                    submission alleging the existence of a particular market
Constructed Value Profit section of the Remand Results,
                                                                    situation as to cost of production under 19 C.F.R. § 351.301(c)
Commerce noted Thai Premium's assertion that in the Final
                                                                    (2)(v) and set a deadline for submissions to rebut, clarify, or
Results “Commerce used [constructed value] as a basis for
                                                                    correct the Wheatland Allegation. Commerce Deadline Mem.
normal value for Thai Premium because Thai Premium did
                                                                    at 1–2, PD 81 (Mar. 21, 2018). Saha Thai and Pacific Pipe
not have sales of the foreign like product in the ordinary
                                                                    submitted rebuttal factual information. Saha Thai Rebuttal,
course of trade ....” Remand Results at 22–23 (citing Thai
                                                                    PD 83 (Mar. 28, 2018); Pacific Pipe Rebuttal, PD 84–85 (Mar.
Premium's comments to the draft remand results). On remand,
                                                                    28, 2018).
however, the basis for Thai Premium's constructed value was
not the lack of sales of the foreign like product in the ordinary
                                                                     *1327 In the Final Results, Commerce determined that a
course of trade but Commerce's particular market situation
                                                                    particular market situation distorted the acquisition cost of
determinations, which the court discusses below. Id. at 7–9.
                                                                    hot-rolled coil, a major CWP input, and applied an upward
Because Commerce changed its methodology in the Remand
Results, the issues of (1) whether Thai Premium's normal            adjustment to the respondents’ reported cost of production.2
value was properly based on constructed value due to the lack       Final IDM at 8–10. Commerce conducted the sales-below-
of sales of the foreign like product in the ordinary course         cost test and disregarded certain of Saha Thai's, Pacific Pipe's,
of trade, and (2) whether Commerce's subsequent particular          and Thai Premium's home market sales made at prices below
                                                                    the cost of production. See Circular Welded Carbon Steel


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                     Case: 22-1175             Document: 6         Page: 90
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...
                                                                                    Filed: 09/12/2022


Pipes and Tubes from Thailand: Decision Mem. for the              the alternative method of using Saha Thai's home market
Prelim. Results of Antidumping Duty Admin. Review; 2016–          selling expense ratios and profit rate from the 2015–2016
2017 at 15–16, PD 87 (Apr. 3, 2018) (“Preliminary Decision        administrative review. Id. at 9–11.
Memorandum” or “Prelim. DM”). Commerce calculated
normal value from the remaining above-cost home market
sales and stated expressly that “[it] calculated [normal value]
                                                                  JURISDICTION AND STANDARD OF REVIEW
based on the price Pacific Pipe, Saha Thai, and Thai Premium
reported for home market sales ....” Id. at 16. “Where            The court has jurisdiction under 19 U.S.C. § 1516a(a)(2)
[Commerce] w[as] unable to determine [normal value] based         (B)(iii) and 28 U.S.C. § 1581(c), which grant the court
on home market sale prices of comparable merchandise, ...         authority to review actions contesting the final results *1328
[Commerce] based [normal value] on constructed value              of an administrative review of an antidumping duty order.
(CV).” Id. Commerce did not state in the Preliminary              The court will uphold Commerce's determinations unless
Decision Memorandum or the Final Decision Memorandum              they are unsupported by substantial evidence on the record
that normal value for Thai Premium was based on constructed       or otherwise not in accordance with the law. 19 U.S.C.
value. See Prelim. DM; Final IDM. Commerce calculated             § 1516a(b)(1)(B)(i). The court also reviews determinations
Plaintiffs’ weighted-average antidumping margins as 28%           made on remand for compliance with the court's remand
for Saha Thai, 30.61% for Pacific Pipe, and 30.98% for            order. Ad Hoc Shrimp Trade Action Comm. v. United States,
Thai Premium. Final Results, 83 Fed. Reg. at 51,928. The          38 CIT ––––, ––––, 992 F. Supp. 2d 1285, 1290 (2014), aff'd,
court concluded in Saha Thai I that Commerce's cost-based         802 F.3d 1339 (Fed. Cir. 2015).
particular market situation adjustment was unlawful and
remanded to Commerce “for further consideration consistent
with this opinion.” 43 CIT at ––––, 422 F. Supp. 3d at 1371.
                                                                  DISCUSSION
2      Saha Thai, Pacific Pipe, and Thai Premium were the only       I. Governing Law
       three producer-exporters covered by this administrative    Commerce determines antidumping duties by calculating the
       review. Final IDM at 2. All three were individually        amount by which the normal value of subject merchandise
       examined as mandatory respondents. Remand Results at       exceeds the export price or the constructed export price
       3.
                                                                  for the merchandise. 19 U.S.C. § 1673. When reviewing
Commerce filed the Remand Results under respectful protest        antidumping duties in an administrative review, Commerce
and stated that it disagreed with the court in Saha Thai I.       must determine: (1) the normal value and export price
Remand Results at 1, 6. Rather than reverse its particular        or constructed export price of each entry of the subject
market situation determination, Commerce maintained its           merchandise, and (2) the dumping margin for each such entry.
determination that a particular market situation distorted        Id. § 1675(a)(1)(B), (a)(2)(A). The statute dictates the steps
the cost of production. Id. at 7–8. Commerce declined to          by which Commerce may calculate normal value “to achieve
conduct the sales-below-cost test because it explained that       a fair comparison” with export price or constructed export
the sales-below-cost test would not be “meaningful” without       price. Id. § 1677b(a).
an adjustment to the cost of production to account for the
particular market situation. Id. Commerce instead made a          First, the statute specifies the methodology for Commerce to
particular market situation determination under 19 U.S.C.         determine which sales should be considered and disregarded
§ 1677(15)(C), stating that the distorted cost of production      in calculating normal value. Normal value is “the price at
prevented a proper comparison between home market sales           which the foreign like product is first sold ... in the exporting
and export prices, and disregarding all home market sales. Id.    country ... in the ordinary course of trade.” Id. § 1677b(a)(1)
at 8. Commerce based normal value on constructed value for        (B)(i). Sales outside the ordinary course of trade are excluded
each respondent on remand. Id. at 1–2, 8–9. Commerce made         from normal value. “Ordinary course of trade” is defined in
a particular market situation determination under 19 U.S.C. §     Section 1677(15) as excluding: (1) sales made at less than
1677b(e) as to cost of production and calculated constructed      the cost of production, and (2) sales that cannot be compared
value with an adjustment to the cost of production as an          properly with the export price or constructed export price
alternative calculation methodology. Id. at 8–9. Commerce         due to a particular market situation. Id. § 1677(15)(A), (C).
calculated constructed value profit for each respondent by        To determine whether “sales ... have been made at prices



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                     Case: 22-1175              Document: 6          Page: 91
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...
                                                                                      Filed: 09/12/2022


that represent less than the cost of production,” the statute       allegation was submitted before the time period expired and
directs Commerce to conduct the sales-below-cost test. Id.          interested parties were not permitted to submit rebuttal factual
§ 1677b(b)(1). The cost of production is defined by statute         information. Thai Premium Cmts. at 8–9; Saha Thai Cmts.
to include the cost of materials and processing, amounts for        at 7–10; Pacific Pipe Cmts. at 3–5. Commerce asserted that
selling, general, and administrative expenses, and the cost         it relied on remand on the same cost-based particular market
of all containers and expenses incidental for shipment. Id. §       situation determination it made in the Final Results. Remand
1677b(b)(3). Sales that Commerce determines, by application         Results at 15–16; see also Def.-Intervenor [Wheatland]’s
of the sales-below-cost test, were made at prices below the         Comments Commerce's Redetermination Remand at 4–5,
cost of production, or that Commerce determines were made           ECF No. 69 (“Wheatland Cmts.”).
in a particular market situation, are outside the ordinary
course of trade and are disregarded from the calculation of         The statute recognizes two types of particular market
normal value. See id. § 1677b(b)(1), (a)(1)(B)(i). “Whenever        situations. The first is a particular market situation that
such sales are disregarded, normal value shall be based             prevents a proper comparison between home market sales
on the remaining sales of the foreign like product in the           and the export price or constructed export price under
ordinary course of trade.” See id. §§ 1677b(a)(1)(B)(i), (b)        Section 1677(15)(C). 19 U.S.C. § 1677(15)(C). The second
(1); 1677(15)(A), (C).                                              is a particular market situation that prevents “the cost of
                                                                    materials and fabrication or other processing of any kind”
Second, when using market prices to determine normal value,         from “accurately reflect[ing] the cost of production in the
Commerce may make certain adjustments to the remaining              ordinary course of trade ....” Id. § 1677b(e).
home market prices. The statute lists authorized adjustments
for incidental shipping and delivery expenses, direct taxes,        The applicable regulation provides that “allegations regarding
and differences between the subject merchandise and foreign         market viability or the exceptions in paragraph (c)(2) of this
like products in quantity, circumstances of sale, or level of       section, must be filed, with all supporting factual information,
trade. Id. § 1677b(a)(6), (7).                                      in accordance with § 351.301(d)(1).” 19 C.F.R. § 351.404(d).
                                                                    One exception provided in paragraph (c)(2) specifies that
Third, if Commerce cannot determine the normal value                “[t]he Secretary may decline to calculate normal value in a
of the subject merchandise based on home market sales,              particular market ... [if] a particular market situation exists
then Commerce may use qualifying third-country sales or             that does not permit a proper comparison with the export
constructed value as a basis for normal value. Id. § 1677b(a)       price or constructed export price ....” Id. § 351.404(c)(2)
(4), (a)(1)(B)(ii), (b)(1). Constructed value represents:           (i). Section 351.301 does not have a subsection (d), but
 *1329 (1) the cost of materials and fabrication or other           subsection (c) provides that “[a]llegations regarding market
processing of any kind used in producing the merchandise;           viability in an antidumping investigation or administrative
(2) the actual amounts incurred and realized for selling,           review, including the exceptions in § 351.404(c)(2), are
general, and administrative expenses, and for profits, in           due, with all supporting factual information, 10 days after
connection with the production and sales of a foreign like          the respondent interested party files the response to the
product, in the ordinary course of trade, for consumption in        relevant section of the questionnaire, unless the Secretary
the foreign country; and (3) the cost of packing the subject        alters this time limit.” Id. § 351.301(c)(2)(i); see Final IDM
merchandise. Id. § 1677b(e). When calculating constructed           at 5 (recognizing that subsection (c) sets the deadline for
value, if Commerce determines that a particular market              allegations as to market viability, including the exceptions
situation exists “such that the cost of materials and fabrication   in Section 351.404(c)(2)). No deadline is specified for
or other processing of any kind does not accurately reflect         the submission of “factual information in support of other
the cost of production in the ordinary course of trade, [then]      allegations not specified in paragraphs (c)(2)(i)–(iv) of this
[Commerce] may use ... any other calculation methodology.”          section,” but if Commerce accepts such factual submission,
Id.                                                                 Commerce must “issue a schedule providing deadlines for
                                                                    submission of factual information to rebut, clarify or correct
                                                                    the factual information.” 19 C.F.R. § 351.301(c)(2)(v).
  II. Particular Market Situation Allegation
Plaintiffs argue that Commerce made an impermissible                Here, Commerce properly accepted the Wheatland Allegation
“sales-based” particular market situation determination on          and afforded interested *1330 parties the opportunity to
remand, when no “sales-based” particular market situation


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                     Case: 22-1175             Document: 6          Page: 92
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...
                                                                                    Filed: 09/12/2022


submit information to rebut, clarify, or correct the allegation.   and conducted the sales-below-cost test with an adjustment
Wheatland alleged the existence of a particular market             to the cost of production. Final IDM at 9–10. Commerce
situation that distorted the cost of hot-rolled steel coil.        disregarded the below-cost home market sales and based
Wheatland Allegation at 1, 4–5. The Wheatland Allegation           normal value on the remaining home market sales. Prelim.
did not pertain to market viability or a particular market         DM at 16. The court concluded in Saha Thai I that
situation that did not permit a proper comparison with the         Commerce was not permitted to “apply a cost-based particular
export price or constructed export price, which would have         market situation adjustment in the context of a sales-based
fallen under 19 C.F.R. § 351.404(d) as one of the exceptions       comparison.” 43 CIT at ––––, 422 F. Supp. 3d at 1371.
identified in 19 C.F.R. § 351.404(c)(2). The deadline for
factual submissions under 19 C.F.R. § 351.404(d) did not           Commerce maintained the same particular market situation
apply to the Wheatland Allegation. Instead, the Wheatland          determination on remand that it made in the Final Results.
Allegation fell under 19 C.F.R. § 351.301(c)(2)(v) for “Other      Remand Results at 16. “Commerce relied on the cost-based
allegations,” for which there was no specified time limit.         [particular market situation] finding made in the Final Results
See Wheatland Allegation at 1, 4–5; Remand Results at              in the Draft Results of Remand Redetermination, with no
15. The type of particular market situation alleged in the         change to [its] determination that a cost-based [particular
Wheatland Allegation and the applicable submission deadline        market situation] existed during the period of review.” Id.
were not altered by Commerce's subsequent actions. The             Commerce asserted that a particular market situation in
court concludes that Commerce's actions in accepting the           Thailand distorted the acquisition cost of hot-rolled steel
Wheatland Allegation under 19 C.F.R. § 351.301(c)(2)(v) and        coil, a major input for the subject *1331 merchandise,
setting a deadline for interested parties to submit information    such that the respondents’ cost of production of the subject
to rebut, clarify, or correct the Wheatland Allegation were        merchandise did not reflect accurately the cost of production
consistent with its regulations, and the Wheatland Allegation      of the subject merchandise in the ordinary course of trade. Id.
regarding a particular market situation distorting the cost        at 19–20.
of hot-rolled steel coil was not time-barred as argued by
Plaintiffs.                                                        Commerce did not conduct the sales-below-cost test on
                                                                   remand. Id. at 7–8. Commerce declared that conducting the
                                                                   sales-below-cost test would not be “meaningful” without
   III. Unauthorized Particular Market Situation                   an adjustment to the cost of production—which the court
   Determinations                                                  prohibited in Saha Thai I—to account for the particular
Plaintiffs assert that Commerce based normal value on              market situation and to compare “home market sale prices to a
constructed value without disregarding home market sales as        cost of production that does not accurately reflect production
outside the ordinary course of trade by any of the statutorily     costs in the ordinary course of trade fails to accomplish the
mandated methods. Thai Premium Cmts. at 9–12; Saha Thai            intent of the sales-below-cost test, which is to determine
Cmts. at 3–13; Pacific Pipe Cmts. at 5–7. Plaintiffs argue         whether the respondents’ home market sales were made in the
also that Commerce must show that a particular market              ordinary course of trade.” Id.; see also id. at 19; Wheatland
situation prevented a proper comparison with the export price      Cmts. at 2. Commerce noted that “without being able to
or constructed export price before it may disregard home           make a [particular market situation] adjustment in calculating
market sales as being outside the ordinary course of trade         the respondents’ cost of production and perform an accurate
under 19 U.S.C. § 1677(15)(C). Thai Premium Cmts. at 9–            sales-below-cost test, ... the [particular market situation] in
11; Saha Thai Cmts. at 12–13; see Pacific Pipe Cmts. at 6–         Thailand which distorted the acquisition cost of [hot-rolled
7. Saha Thai contends that Commerce did not follow the             coil] has resulted in each respondent's home market sales
applicable statutory requirement of 19 U.S.C. § 1677b(b)(1),       being outside of the ordinary course of trade.” Remand
which requires Commerce to first show that home market             Results at 15.
sales were made at prices below the cost of production by
conducting the sales-below-cost test to determine which sales      Commerce's exclusion of home market sales due to
should be disregarded as outside the ordinary course of trade.     distortions in the cost of production is not authorized by the
Saha Thai Cmts. at 11–12.                                          statute. Congress provided specifically in Section 1677(15)
                                                                   (A) for Commerce to consider sales outside the ordinary
In the Final Results, Commerce determined that a particular        course of trade when sales are below the cost of production.
market situation existed that distorted the cost of production


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                     Case: 22-1175              Document: 6          Page: 93
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...
                                                                                     Filed: 09/12/2022


The path specified by Congress to determine that sales are          ambiguity. See Conn. Nat'l Bank v. Germain, 503 U.S. 249,
below the cost of production is for Commerce to first conduct       253–54, 112 S.Ct. 1146, 117 L.Ed.2d 391 (1992) (“[C]ourts
the sales-below-cost test set forth in Section 1677b(b)(1) to       must presume that a legislature says in a statute what it
affirmatively confirm that sales are made below the cost of         means and means in a statute what it says there.”). The court
production as calculated according to Section 1677b(b)(3).          concludes that Commerce's exclusion of home market sales
Section 1677b(b)(1) provides:                                       due to distortions in the cost of production without conducting
                                                                    the sales-below-cost test to determine whether those sales
  Whenever the administering authority has reasonable               were in fact outside the ordinary course of trade is contrary
  grounds to believe or suspect that sales of the foreign           to law.
  like product under consideration for the determination of
  normal value have been made at prices which represent             Commerce's exclusion of below-cost sales is not redeemed
  less than the cost of production of that product, the             by invoking Section 1677(15)(C) with a determination that
  administering authority shall determine whether, in fact,         the distorted cost of production created a particular market
  such sales were made at less than the cost of production. If      situation preventing a proper comparison between reported
  the administering authority determines that sales made at         home market sales prices and export price. Section 504 of the
  less than the cost of production—                                 Trade Preferences Extension Act of 2015 (“TPEA”), Pub. L.
                                                                    No. 114-27, 129 Stat. 362, added a particular market situation
     (A) have been made within an extended period of time
                                                                    provision to the list of sales and transactions outside the
     in substantial quantities, and
                                                                    ordinary course of trade. The amended provision provides:
     (B) were not at prices which permit recovery of all costs
                                                                      (15) Ordinary course of trade. The term “ordinary course
     within a reasonable period of time,
                                                                      of trade” means the conditions and practices which,
   such sales may be disregarded in the determination of              for a reasonable time prior to the exportation of the
   normal value. Whenever such sales are disregarded, normal          subject merchandise, have been normal in the trade under
   value shall be based on the remaining sales of the foreign         consideration with respect to merchandise of the same
   like product in the ordinary course of trade. If no sales made     class or kind. The administering authority shall consider
   in the ordinary course of trade remain, the normal value           the following sales and transactions, among others, to be
   shall be based on the constructed value of the merchandise.        outside the ordinary course of trade:
19 U.S.C. § 1677b(b)(1). The statute directs Commerce to
                                                                         (A) Sales disregarded under section 773(b)(1) [19 USCS
compare the reported home market sales prices to the cost
                                                                           § 1677b(b)(1)].
of production calculated by adding the component costs and
expenses listed in Section 1677b(b)(3). Id. § 1677b(b)(1), (3);          ...
see also Prelim. DM at 15. After conducting the sales-below-
cost test, Commerce shall disregard those reported home                  (C) Situations in which the administering authority
market sales prices that are less than the calculated cost of              determines that the particular market situation
production as outside the ordinary course of trade. 19 U.S.C.              prevents a proper comparison with the export price or
§ 1677(15)–(15)(A).                                                        constructed export price.
                                                                    19 U.S.C. § 1677(15). The statute defines “situations”
Here, Commerce did not follow the specified method when             narrowly as “sales and transactions” by directing Commerce
it disregarded as *1332 outside the ordinary course of              to consider “sales and transactions ... to be outside the
trade sales made purportedly at prices below the cost of            ordinary course of trade [including] ... [s]ituations in which
production, without confirming that the sales were in fact          [Commerce] determines that the particular market situation
made below the cost of production by conducting the sales-          prevents a proper comparison with the export price or
below-cost test. The statute requires Commerce to conduct the       constructed export price.” See id.
sales-below-cost test set forth in Section 1677b(b)(1) before
disregarding below-cost sales as outside the ordinary course        Commerce did not explain how a particular market situation
of trade under Section 1677(15)(A). Nothing in the statute          affecting sales and transactions in the home market prevented
grants Commerce authority to bypass the sales-below-cost            a proper comparison between reported home market sales
test, and the specificity of the sales-below-cost test leaves no    prices and export prices. In fact, Commerce conceded in



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                    Case: 22-1175            Document: 6         Page: 94         Filed: 09/12/2022
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...


the Remand Results that “[it] ha[d] not considered whether      192 L.Ed.2d 514 (2015) (citing Gustafson v. Alloyd Co.,
a [particular market situation] existed in the home market      513 U.S. 561, 574, 115 S.Ct. 1061, 131 L.Ed.2d 1 (1995)
for the sale of the foreign like product such that home         (“[T]he Court will avoid a reading which renders some words
market sales cannot be used as the basis for normal value.”     altogether redundant.”)). The distinction between exclusions
Remand Results at 15. No allegation that a particular market    of sales as below the cost of production under Section
situation affecting sales and transactions in the home market   1677(15)(A) and exclusions of sales due to a particular
and preventing a proper comparison between reported home        market situation preventing proper comparison under Section
market sales prices and export prices was submitted.            1677(15)(C) “makes a great deal of sense.” See Husteel
                                                                Co. v. United States, 44 CIT ––––, ––––, 426 F. Supp. 3d
Commerce determined instead “that the [particular market        1376, 1388 (2020). A particular market situation that affects
situation] with respect to the cost of production of circular   the cost of production would presumably affect prices for
pipes *1333 and tubes prevent[ed] a proper comparison of        domestic sales and export sales alike and thus would have no
normal value based on the respondents’ home market sale         preclusive effect on the comparison between the two. See id.
prices with the respondents’ export prices or constructed       The court concludes that Commerce's cost-based particular
export prices.” Id. at 8, 19–20; see also Def.’s Resp.          market situation determination to disregard sales as outside
Comments Remand Redetermination at 12–13, ECF No. 70            the ordinary course of trade under Section 1677(15)(C) is
(“Def. Resp.”). Commerce did not explain how a particular       contrary to law.
market situation affecting the cost of production prevented
a comparison between the reported home market sales             In response to Pacific Pipe's and Saha Thai's argument that
prices and the export prices. Commerce merely repeated its      Commerce cannot exclude home market sales based on a cost-
conclusory determination that the particular market situation   based particular market situation determination, Defendant
as to cost of production prevented a proper comparison:         asserts:

  [S]ection [1677](15)(C) of the Act states that Commerce          Because the term “ordinary course of trade” is contained
  shall consider situations in which we determine that a           in 19 U.S.C. § 1677b(e), Commerce acted in accordance
  particular market situation prevents a proper comparison of      with the statute when it “found that a cost-based [particular
  normal value with the export price or constructed export         market situation] existed in Thailand which distorted the
  price, to be outside the ordinary course of trade. On this       acquisition cost of [hot-rolled coil], the primary input used
  basis, we find that the existence of the [particular market      in the production of circular pipes and tubes, [and, as
  situation] concerning the cost of production of circular         a result] ... that the respondents’ cost of materials and
  pipes and tubes in Thailand precludes a proper comparison        fabrication or other *1334 processing do not accurately
  of normal value with U.S. price, pursuant to section [1677]      reflect the cost of production of circular pipes and tubes in
  (15)(C) of the Act.                                              the ordinary course of trade.
Remand Results at 19–20.                                        Def. Resp. at 9–10 (alterations in original). Defendant also
                                                                argues that “Commerce's determination that it could not use
The statute cannot be read to authorize Commerce to             the respondent's [sic] home market sales as the basis for
make a particular market situation determination under          normal value because they are outside of the ordinary course
Section 1677(15)(C) on the basis of distorted cost of           of trade” was lawful. Id. at 12. Defendant apparently argues
production. Congress provided a separate mechanism under        that Commerce can disregard sales as outside the ordinary
Section 1677(15)(A) for Commerce to consider sales and          course of trade due to distortions in the cost of production
transactions outside the ordinary course of trade when          based on Section 1677b(e)’s reference to the ordinary course
the cost of production of that merchandise is implicated.       of trade.
Because Congress specified in Sections 1677(15)(A) and
1677b(b) the method by which Commerce may disregard             Commerce cannot invoke Section 1677b(e) as its authority
below-cost sales, Congress obviated consideration of a          to exclude home market sales and base normal value
particular market situation affecting the cost of production    on constructed value. Section 504 of the TPEA amended
from Section 1677(15)(C). An alternative reading would          the statutory provisions governing constructed value. The
render impermissibly superfluous Sections 1677(15)(A) and       amendment provided for Commerce to determine whether a
1677b(b). Tex. Dep't of Hous. & Cmty. Affairs v. Inclusive      particular market situation distorted the cost of production
Cmtys. Project, Inc., 576 U.S. 519, 538, 135 S.Ct. 2507,


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                     Case: 22-1175            Document: 6          Page: 95
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...
                                                                                   Filed: 09/12/2022


when computing constructed value. The amended language            (“A provision that may seem ambiguous in isolation is often
provides:                                                         clarified by the remainder of the *1335 statutory scheme ...
                                                                  because only one of the permissible meanings produces a
   [F]or purposes of paragraph (1) [in reference to calculating   substantive effect that is compatible with the rest of the
   constructed value] if a particular market situation exists     law ....”)).
   such that the cost of materials and fabrication or other
   processing of any kind does not accurately reflect the         Commerce did not follow the statutory framework in this
   cost of production in the ordinary course of trade, the        case. Commerce's determination that the cost of production is
   administering authority [Commerce] may use another             not reflected accurately in the ordinary course of trade is not
   calculation methodology under this subtitle or any other       interchangeable with a determination that sales are outside the
   calculation methodology.                                       ordinary course of trade.
19 U.S.C. § 1677b(e). Section 1677b(e) only applies if
the precondition “for purposes of paragraph (1)” is met.          The court concludes that Commerce's exclusion of home
Id. Paragraph (1) lists the costs to be added to calculate        market sales is not in accordance with the law because
constructed value. Id. § 1677b(e)(1). Commerce must meet          Commerce unlawfully excluded purported below-cost sales
the precondition of calculating constructed value before it       without conducting the sales-below-cost test and Commerce
can rely on Section 1677b(e) to make a cost-based particular      unlawfully determined that a particular market situation
market situation determination. Here, Commerce had not            existed under Section 1677(15)(C) based on distortions to
met the precondition of calculating constructed value when        the cost of production. The court concludes that Commerce's
it made a particular market situation determination based         application of an alternative calculation methodology is
on distorted cost of production. Contrary to Defendant's          not in accordance with the law because Commerce was
assertion, Commerce was not authorized to make a cost-            not authorized to conduct a cost-based particular market
based particular market situation determination under Section     situation analysis under Section 1677b(e) without a statutory
1677b(e), when the precondition of calculating constructed        ground for calculating constructed value. The court directs
value was not yet satisfied.                                      Commerce to remove the particular market situation
                                                                  determinations under Sections 1677(15)(C) and 1677b(e) as
Defendant's argument conflates the language in Section            to the cost of production on second remand and recalculate
1677(15) (“the following sales and transactions, among            the respondents’ weighted-average dumping margins without
others, to be outside the ordinary course of trade”) with the     disregarding home market sales from the calculation of
language in Section 1677b(e) (“the cost of production in          normal value on that basis.
the ordinary course of trade”) based on the common phrase
“ordinary course of trade.” See id. §§ 1677b(e); 1677(15).
The statutory framework sets forth a sequence of steps, as
explained above, that Commerce must follow in determining         CONCLUSION
antidumping duties. Sections 1677b(a)(1)(B)(i) and 1677(15)
                                                                  The court concludes that Commerce's cost-based particular
provide that the home market sales price excludes sales and
                                                                  market situation determinations are not in accordance with the
transactions made outside the ordinary course of trade. Id. §§
                                                                  law.
1677b(a)(1)(B)(i); 1677(15). If the conditions to base normal
value on constructed value are met, Section 1677b(e) provides
                                                                  Accordingly, it is hereby
that Commerce may consider whether the cost of production
is reflected accurately in the ordinary course of trade. Id.
                                                                  ORDERED that the Remand Results are remanded for
§ 1677b(e). The fact that the phrase “ordinary course of
                                                                  Commerce to remove the cost-based particular market
trade” is found in Section 1677b(e) does not insert “distorted
                                                                  situation determinations and recalculate the relevant margins
cost of production” into Section 1677(15)’s list of sales and
                                                                  without a particular market situation adjustment; and it is
transactions outside the ordinary course of trade. Defendant's
                                                                  further
interpretation is “untenable in light of [the statute] as a
whole.” Dep't of Revenue of Or. v. ACF Indus., 510 U.S. 332,
                                                                  ORDERED that Commerce shall afford the parties at least
343, 114 S.Ct. 843, 127 L.Ed.2d 165 (1994) (citing United
                                                                  twelve (12) business days to comment on the draft second
Sav. Assn. of Tex. v. Timbers of Inwood Forest Assocs., Ltd.,
                                                                  remand results; and it is further
484 U.S. 365, 371, 108 S.Ct. 626, 98 L.Ed.2d 740 (1988)


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                                               to original U.S. Government Works.                                             8
                  Case: 22-1175           Document: 6        Page: 96       Filed: 09/12/2022
Saha Thai Steel Pipe Public Company Limited v. United States, 487 F.Supp.3d 1323...




                                                              (4) Comments in support of the second remand results shall
ORDERED that this case shall proceed according to the            be filed on or before May 3, 2021; and
following schedule:
                                                              (5) The joint appendix shall be filed on or before May 17,
  (1) Commerce shall file the second remand results on or        2021.
     before February 16, 2021;

  (2) Commerce shall file the administrative record on or   All Citations
     before March 2, 2021;
                                                            487 F.Supp.3d 1323
  (3) Comments in opposition to the second remand results
     shall be filed on or before April 2, 2021;

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                                                                                          Government Works.




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Case: 22-1175   Document: 6   Page: 97   Filed: 09/12/2022




                    ADDENDUM 6
               Case:
            Case     22-1175    Document:
                 1:18-cv-00214-JCG        6 Page:
                                    Document      98 03/15/21
                                             83 Filed Filed: 09/12/2022
                                                                Page 1 of 6



                                                                                                A-549-502
                                                                                  Remand Redetermination
                                                                                           Slip Op. 20-181
                                                                               POR: 03/01/2016–02/28/2017
                                                                                         Public Document
                                                                                           E&C/OVII: TP

     Saha Thai Steel Pipe Co., Ltd. v. United States, Consol. Court No. 18-00214, Slip Op. 20-181
                                       (CIT December 21, 2020)

                            FINAL RESULTS OF REDETERMINATION
                                  PURSUANT TO CIT ORDER

I.        SUMMARY

          The U.S. Department of Commerce (Commerce) prepared these final results of

redetermination pursuant to the remand order of the U.S. Court of International Trade (CIT) in

Saha Thai II.1 This litigation pertains to the 2016-2017 antidumping duty administrative review

of the antidumping duty order on circular welded carbon steel pipes and tubes (pipes and tubes)

from Thailand and the First Redetermination.2

          In Saha Thai II, the CIT ordered Commerce to “remove the particular market situation

determination under {sections 771(15)(C) and 773(e) of the Tariff Act of 1930, as amended (the

Act)} as to the cost of production … and recalculate the respondents’ weighted-average dumping

margins without disregarding home market sales from the calculation of normal value on that

basis.”3 The respondents and plaintiffs are Pacific Pipe Company Limited, Saha Thai Pipe

(Public) Company, Ltd., and Thai Premium Pipe Company, Ltd. Commerce continues to find

that a particular market situation existed in Thailand during the period of review that distorted

the price of hot rolled coil, the principle material input for the production of the subject



1
  See Saha Thai Steel Pipe Co., Ltd. v. United States, Consol. Court No. 18-00214, Slip Op. 20-181
(CIT December 21, 2020) (Saha Thai II).
2
  See Circular Welded Carbon Steel Pipes and Tubes from Thailand: Final Results of Antidumping Duty
Administrative Review; 2016-2017, 83 FR 51927 (October 15, 2018) (Final Results), and accompanying Issues and
Decision Memorandum; see also “Final Results of Redetermination Pursuant to Remand, Saha Thai Steel Pipe Co.,
Ltd., et al. v. United States, Court No. 18-00214, Slip Op. 19-165,” dated March 10, 2020 (First Redetermination).
3
  See Saha Thai II at 19.

                                                 Appx00053
             Case:
          Case     22-1175    Document:
               1:18-cv-00214-JCG        6 Page:
                                  Document      99 03/15/21
                                           83 Filed Filed: 09/12/2022
                                                              Page 2 of 6



merchandise and significant component of the cost of production of the subject merchandise.

Nevertheless, because the CIT has directed Commerce not to make an adjustment, under

respectful protest,4 we have recalculated the relevant weighted-average dumping margins

without an adjustment for the particular market situation that has been found to have existed

during the period of review.5

II.     DRAFT RESULTS OF REDETERMINATION

        In accordance with the CIT’s remand order, Commerce has recalculated the weighted-

average dumping margin for each of the respondents without making an adjustment to account

for the particular market situation concerning the input costs for hot-rolled steel. We are filing

this redetermination under protest because, consistent with section 771(15)(C) of the Act,

Commerce found that a cost-based particular market situation existed during the period of

review, which distorted the cost of hot rolled coil in the production of the merchandise sold in

Thailand.

        Under section 504 of the Trade Preferences Extension Act of 2015, Congress provided

that, when Commerce determines that a cost-based particular market situation exists, Commerce

may, in accordance with section 773(e), remedy the cost-based particular market situation

through “any other calculation methodology.” Here, Commerce found the existence of a

particular market situation in Thailand that resulted in distortions in the Thai market for hot-

rolled coil. Yet, despite the clear intent of Congress for Commerce to remedy a particular market

situation which may distort the costs of particular inputs used to produce the foreign like product


4
  See Viraj Group, Ltd. v. United States, 343 F.3d 1371 (Fed. Cir. 2003).
5
  See Saha Thai II at 19; see also Memoranda, “Draft Results of Redetermination Pursuant to Second Remand of
Circular Welded Steel Pipes and Tubes from Thailand: Pacific Pipe Public Company Ltd. Calculation
Memorandum,” dated concurrently with the instant draft remand results; “Draft Results of Redetermination Pursuant
to Second Remand of Circular Welded Steel Pipes and Tubes from Thailand: Saha Thai Steel Pipe (Public)
Company, Ltd. Calculation Memorandum,” dated concurrently with the instant draft remand results; and “Draft
Results of Redetermination Pursuant to Second Remand of Circular Welded Steel Pipes and Tubes from Thailand:
Thai Premium Pipe Company Ltd. Calculation Memorandum,” dated concurrently with the instant draft remand
results.
                                                       2
                                                Appx00054
            Case:
          Case     22-1175    Document:
               1:18-cv-00214-JCG        6 Page:
                                  Document      100 03/15/21
                                           83 Filed   Filed: 09/12/2022
                                                                Page 3 of 6



and subject merchandise, including when certain U.S. sale prices are compared with a normal

value based on constructed value, the CIT, in its opinion, has ordered Commerce to “recalculate

the relevant {weighted-average dumping} margins without a particular market situation

adjustment.”6 Commerce, thus, in accordance with the Court’s directed order, is unable on

remand to provide a remedy to address the particular market situation found in this

administrative review, contrary to the statutory intent of Congress.7 This includes making an

adjustment to the cost of production for the sales-below-cost test, as well as an adjustment to

constructed value for normal value. For this reason, we are filing this remand with the Court

under respectful protest.

III.    COMMENTS ON DRAFT RESULTS OF REDETERMINATION

Wheatland Tube Company’s Comments8

       Commerce was correct in finding that a particular market situation existed in Thailand

        during the period of review (POR) and for adjusting the mandatory respondents’ costs of

        production accordingly.9

       The Court did not address the merits of Commerce’s affirmative particular market

        situation finding; however, the Court did rule that the statute did not permit Commerce to

        adjust respondents’ costs of production for the purposes of the sales-below-cost test to

        account for the particular market situation that was found to have existed.10

       In accordance with sections 771(15)(C), 773(a)(1)(B)(i), 773(b)(1), and 773(e) of the Act:

            1. Comparison market prices used as the basis of normal value must be in the

                ordinary course of trade;


6
  See Saha Thai II at 19.
7
  See Altx, Inc. v. United States, 370 F.3d 1108, 1111 n.2 (Fed. Cir. 2004).
8
  See Wheatland Tube Company’s Letter, “Circular Welded Steel Pipes and Tubes from Thailand: Comments on
Draft Remand Redetermination,” dated March 1, 2021 (Wheatland’s Draft Remand comments).
9
  Wheatland’s Draft Remand comments at 1-2.
10
   Id. at 2.
                                                    3
                                             Appx00055
              Case:
            Case     22-1175    Document:
                 1:18-cv-00214-JCG        6 Page:
                                    Document      101 03/15/21
                                             83 Filed   Filed: 09/12/2022
                                                                  Page 4 of 6



                 2. Commerce is directed to consider that sales and transactions occurring in

                    situations in which a particular market situation prevents a proper comparison

                    with export price to be outside the ordinary course of trade; and

                 3. Comparing home market sales to a cost of production that does not accurately

                    reflect production costs in the ordinary course of trade fails to accomplish the

                    intent of the sales-below-cost test, which is to determine which home market sales

                    were made in the ordinary course of trade.11

         Section 773(b)(1) of the Act directs that whenever home market sales are disregarded as

          the result of the sales-below-cost test, normal value shall be based on the remaining home

          market sales made in the ordinary course of trade, or, if no such sales remain, constructed

          value. Thus, if Commerce cannot use the sales-below-cost test to determine which home

          market sales were made in the ordinary course of trade as a result of the Court’s order, it

          must rely on constructed value.12

         Section 773(e) of the Act permits Commerce to use “any other calculation methodology”

          to calculate constructed value if the agency determines that a particular market situation

          existed such that the cost of materials does not accurately reflect the cost of production in

          the ordinary course of trade.13

         Commerce correctly determined that a particular market situation distorted the costs of

          the primary input, hot-rolled coil, into the production of pipes and tubes such that the

          costs of producing pipes and tubes in Thailand during the POR did not accurately reflect

          the cost of production in the ordinary course of trade and thus correctly used another

          calculation methodology to calculate constructed value in the First Remand Results.14


11
   Id. at 3-4.
12
   Id. at 4.
13
   Id.
14
   Id. at 4.
                                                      4
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            Case:
          Case     22-1175    Document:
               1:18-cv-00214-JCG        6 Page:
                                  Document      102 03/15/21
                                           83 Filed   Filed: 09/12/2022
                                                                Page 5 of 6



        For these reasons, Wheatland continues to respectfully disagree with the Court’s

         conclusion that Commerce may not adjust costs to account for a particular market

         situation for the purposes of the sales-below-cost test.15

Pacific Pipe’s Comments16 and Saha Thai’s Comments17

        Commerce’s draft results of redetermination stated that it recalculated the weighted-

         average dumping margin for each respondent without finding that all of the home

         market sales for each respondent are outside of the ordinary course of trade and did not

         make any adjustments to constructed value.18

        Thus, Commerce’s draft results of redetermination complies with the Court’s Order.19

Commerce’s Position: Commerce found that a cost-based particular market situation existed

during the POR that distorted the cost of hot rolled coil in the production of the merchandise in

Thailand. As noted by Wheatland Tube, the Court did not address the merits of Commerce’s

affirmative particular market situation finding. Instead, the Court ordered Commerce not to

make an adjustment to account for a particular market situation that existed in Thailand during

the POR. Accordingly, Commerce is obligated to implement the Court’s order to “recalculate

the relevant {weighted-average dumping} margins without a particular market situation

adjustment.”20

         Without recourse to address the particular market situation, which existed in Thailand

during the POR, we, under respectful protest, have made no adjustments to the calculation of

each respondent’s weighted-average dumping margin to account for a particular market situation,



15
   Id. at 1.
16
   See Pacific Pipe’s Letter, “Circular Welded Carbon Steel Pipe and Tubes from Thailand: Comments on Draft
Remand Redetermination,” dated March 1, 2021 (Pacific Pipe’s Draft Remand Comments).
17
   See Saha Thai’s Letter, “Saha Thai’s Comments on Commerce’s Draft Remand Results Circular Welded Carbon
Steel Pipe and Tubes from Thailand (AR 16-17),” dated March 1, 2021 (Saha Thai’s Draft Remand Comments).
18
   See Pacific Pipe’s Draft Remand Comments at 2; and Saha Thai’s Draft Remand Comments at 2.
19
   Id.
20
   See Saha Thai II at 19.
                                                     5
                                              Appx00057
  Case:
Case     22-1175    Document:
     1:18-cv-00214-JCG        6 Page:
                        Document      103 03/15/21
                                 83 Filed   Filed: 09/12/2022
                                                      Page 6 of 6




                          Appx00058
Case: 22-1175   Document: 6   Page: 104   Filed: 09/12/2022




                  ADDENDUM PD5
                                                                          Case: 22-1175                      Document: 6            Page: 105                 Filed: 09/12/2022
                                                                            Federal Register / Vol. 83, No. 199 / Monday, October 15, 2018 / Notices                                                   51927

                                                 Dated: October 9, 2018.                               determinations for China and Thailand                    determinations, unless postponed at a
                                               Gary Taverman,                                          are currently due no later than October                  later date.
                                               Deputy Assistant Secretary for Antidumping              29, 2018.                                                   This notice is issued and published
                                               and Countervailing Operations, performing                                                                        pursuant to section 733(c)(2) of the Act
                                                                                                       Postponement of Preliminary
                                               the non-exclusive functions and duties of the                                                                    and 19 CFR 351.205(f)(1).
                                               Assistant Secretary for Enforcement and                 Determinations
                                                                                                                                                                  Dated: October 9, 2018.
                                               Compliance.                                                Section 733(b)(1)(A) of the Tariff Act
                                                                                                                                                                Gary Taverman,
                                               [FR Doc. 2018–22365 Filed 10–12–18; 8:45 am]            of 1930, as amended (the Act), requires
                                                                                                       Commerce to issue the preliminary                        Deputy Assistant Secretary for Antidumping
                                               BILLING CODE 3510–DS–P
                                                                                                                                                                and Countervailing Duty Operations,
                                                                                                       determination in an LTFV investigation                   performing the non-exclusive functions and
                                                                                                       within 140 days after the date on which                  duties of the Assistant Secretary for
                                               DEPARTMENT OF COMMERCE                                  Commerce initiated the investigation.                    Enforcement and Compliance.
                                                                                                       However, section 733(c)(1) of the Act                    [FR Doc. 2018–22367 Filed 10–12–18; 8:45 am]
                                               International Trade Administration                      permits Commerce to postpone the
                                                                                                                                                                BILLING CODE 3510–DS–P
                                               [A–570–086, A–549–839]                                  preliminary determination until no later
                                                                                                       than 190 days after the date on which
                                               Steel Propane Cylinders From the                        Commerce initiated the investigation if:                 DEPARTMENT OF COMMERCE
                                               People’s Republic of China and                          (A) The petitioner makes a timely
                                               Thailand: Postponement of Preliminary                   request for a postponement; or (B)                       International Trade Administration
                                               Determinations in the Less-Than-Fair-                   Commerce concludes that the parties
                                                                                                                                                                [A–549–502]
                                               Value Investigations                                    concerned are cooperating, that the
                                                                                                       investigation is extraordinarily                         Circular Welded Carbon Steel Pipes
                                               AGENCY: Enforcement and Compliance,
                                                                                                       complicated, and that additional time is                 and Tubes From Thailand: Final
                                               International Trade Administration,                     necessary to make a preliminary
                                               Department of Commerce                                                                                           Results of Antidumping Duty
                                                                                                       determination. Under 19 CFR                              Administrative Review; 2016–2017
                                               DATES: Applicable October 15, 2018.                     351.205(e), the petitioner must submit a
                                               FOR FURTHER INFORMATION CONTACT:                        request for postponement 25 days or                      AGENCY: Enforcement and Compliance,
                                               Jonathan Cornfield or Laura Griffith at                 more before the scheduled date of the                    International Trade Administration,
                                               (202) 482–3855, or (202) 482–6430,                      preliminary determination and must                       Department of Commerce.
                                               respectively (People’s Republic of China                state the reasons for the request.                       SUMMARY: The Department of Commerce
                                               (China)) and Cindy Robinson or                          Commerce will grant the request unless                   (Commerce) determines that circular
                                               Stephanie Moore at (202) 482–3797, or                   it finds compelling reasons to deny the                  welded carbon steel pipes and tubes
                                               (202) 482–3692, respectively (Thailand),                request.5                                                (pipes and tubes) from Thailand are
                                               AD/CVD Operations, Enforcement and                         On October 1, 2018, the petitioners                   being, or are likely to be sold, at less
                                               Compliance, International Trade                         submitted timely requests to postpone                    than normal value during the period of
                                               Administration, U.S. Department of                      the preliminary determinations in these                  review (POR), March 1, 2016, through
                                               Commerce, 1401 Constitution Avenue                      LTFV investigations.6 The petitioners                    February 28, 2017.
                                               NW, Washington, DC 20230.                               stated that they requested postponement                  DATES: Applicable: October 15, 2018.
                                               SUPPLEMENTARY INFORMATION:                              because Commerce is still gathering data                 FOR FURTHER INFORMATION CONTACT: Toni
                                                                                                       and questionnaire responses from the                     Page or Kathryn Wallace, AD/CVD
                                               Background                                              foreign producers in these                               Operations, Office VII, Enforcement and
                                                  On June 11, 2018, the Department of                  investigations, and additional time is                   Compliance, International Trade
                                               Commerce (Commerce) initiated less-                     necessary for interested parties to                      Administration, U.S. Department of
                                               than-fair-value (LTFV) investigations of                respond to additional requests from                      Commerce, 1401 Constitution Avenue
                                               imports of steel propane cylinders from                 Commerce before Commerce makes its                       NW, Washington, DC 20230; telephone:
                                               China, Taiwan, and Thailand.1 On June                   preliminary determinations.                              (202) 482–1398 or (202) 482–6251,
                                               20, 2018, Commerce terminated its                          For the reasons stated above and                      respectively.
                                               antidumping duty investigation of                       because there are no compelling reasons
                                               imports of steel propane cylinders from                 to deny the petitioners’ request,                        SUPPLEMENTARY INFORMATION:
                                               Taiwan, following the petitioners’2                     Commerce, in accordance with section                     Background
                                               withdrawal of the petition and request                  733(c)(1)(A) of the Act, is postponing
                                                                                                       the deadline for the preliminary                           On April 9, 2018, Commerce
                                               that the investigation be terminated.3
                                                                                                       determinations by 50 days (i.e., 190                     published the Preliminary Results of the
                                               Because Commerce has terminated its
                                                                                                       days after the date on which these                       2016–2017 administrative review of the
                                               investigation of steel propane cylinderes
                                                                                                       investigations were initiated). As a                     antidumping duty order on pipes and
                                               from Taiwan, the U.S. International
                                                                                                       result, Commerce will issue its                          tubes from Thailand.1 For a discussion
                                               Trade Commission (ITC)’s investigation
                                                                                                       preliminary determinations no later                      of the events subsequent to the
                                               is also terminated.4 The preliminary
                                                                                                       than December 18, 2018. In accordance                    Preliminary Results, see the Issues and
                                                  1 See Steel Propane Cylinders from the People’s      with section 735(a)(1) of the Act and 19                 Decision Memorandum dated
                                               Republic of China, Taiwan, and Thailand: Initiation     CFR 351.210(b)(1), the deadline for the                  concurrently with and hereby adopted
                                               of Less-Than-Fair-Value Investigations, 83 FR           final determinations of these                            by this notice.2
                                               28196 (June 18, 2018).
                                                                                                       investigations will continue to be 75
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                                                  2 The petitioners are Worthington Industries and                                                                1 See Circular Welded Carbon Steel Pipes and
                                               Manchester Tank &, Equipment Co.                        days after the date of the preliminary                   Tubes from Thailand: Preliminary Results of
                                                  3 See Steel Propane Cylinders from Taiwan:                                                                    Antidumping Duty Administrative Review; 2016–
                                               Termination of Less-Than-Fair-Value Investigation,        5 See 19 CFR 351.205(e).                               2017, 83 FR 15127 (April 9, 2018) (Preliminary
                                               83 29748 (June 26, 2018).                                 6 See letter from the petitioners, ‘‘Steel Propane     Results) and accompanying Preliminary Decision
                                                  4 See ITC Investigation No. 731–TA–1418              Cylinders from the People’s Republic of China and        Memorandum (PDM).
                                               (Preliminary). See also Steel Propane Cylinders         Thailand—Petitioners’ Request to Extend the                2 See Memorandum, ‘‘Circular Welded Carbon

                                               from Taiwan, Termination of Investigation, 83 FR        Preliminary Antidumping Duty Determination’’             Steel Pipes and Tubes from Thailand: Decision
                                               31174 (July 3, 2018).                                   dated October 1, 2018.                                                                           Continued




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                                                                                     Case: 22-1175                          Document: 6              Page: 106            Filed: 09/12/2022
                                               51928                                    Federal Register / Vol. 83, No. 199 / Monday, October 15, 2018 / Notices

                                               Scope of the Order                                                                                                 Weighted-   covered in this or a previously
                                                                                                                                                                   average    completed segment of this proceeding,
                                                  The products covered by this review                                            Producer or exporter             dumping
                                               are certain circular welded carbon steel                                                                             margin    then the cash deposit rate will be the
                                               pipes and tubes from Thailand. For a
                                                                                                                                                                  (percent)   ‘‘all-others’’ rate of 15.67 percent
                                               full description of the scope, see the                                   Thai Premium Pipe Company Ltd .........       30.98
                                                                                                                                                                              established in the less-than-fair-value
                                               Issues and Decision Memorandum.3                                                                                               investigation.5 These cash deposit
                                                                                                                        Assessment Rates                                      requirements, when imposed, shall
                                               Analysis of Comments Received                                                                                                  remain in effect until further notice.
                                                  All issues raised in the case and                                        Pursuant to section 751(a)(2)(C) of the
                                                                                                                        Tariff Act of 1930, as amended (the Act)              Notification to Importers
                                               rebuttal briefs by parties to this
                                               administrative review are addressed in                                   and 19 CFR 351.212(b)(1), Commerce                       This notice serves as a final reminder
                                               the Issues and Decision Memorandum.4                                     determined, and U.S. Customs and                      to importers of their responsibility
                                               A list of issues raised, and to which we                                 Border Protection (CBP) shall assess,                 under 19 CFR 351.402(f)(2) to file a
                                               responded in the Issues and Decision                                     antidumping duties on all appropriate                 certificate regarding the reimbursement
                                               Memorandum, is attached to this notice                                   entries of subject merchandise, in                    of antidumping duties prior to
                                               as an Appendix. The Issues and                                           accordance with the final results of this             liquidation of the relevant entries
                                               Decision Memorandum is a public                                          review. If a respondent’s weighted-                   during this review period. Failure to
                                               document and is on-file electronically                                   average dumping margin is not zero or                 comply with this requirement could
                                               via Enforcement and Compliance’s                                         de minimis (i.e., less than 0.5 percent),             result in the Secretary’s presumption
                                               Antidumping and Countervailing Duty                                      we will calculate importer-specific ad                that reimbursement of antidumping
                                               Centralized Electronic Service System                                    valorem assessment rates on the basis of              duties occurred and the subsequent
                                               (ACCESS). ACCESS is available to                                         the ratio of the total amount of dumping              assessment of doubled antidumping
                                               registered users at https://                                             calculated for an importer’s examined                 duties.
                                               access.trade.gov, and it is available to                                 sales and the total entered value of such
                                                                                                                        sales in accordance with 19 CFR                       Administrative Protective Order
                                               all parties in the Central Records Unit
                                               (CRU), Room B8024 of the main                                            351.212(b)(1). Where either the                         This notice also serves as a reminder
                                               Department of Commerce building. In                                      respondent’s weighted-average dumping                 to parties subject to administrative
                                               addition, a complete version of the                                      margin is zero or de minimis within the               protective order (APO) of their
                                               Issues and Decision Memorandum can                                       meaning of 19 CFR 351.106(c), or an                   responsibility concerning the
                                               be accessed directly on the internet at                                  importer-specific rate is zero or de                  destruction of proprietary information
                                               http://enforcement.trade.gov/frn/                                        minimis, we will instruct CBP to                      disclosed under APO in accordance
                                               index.html. The signed Issues and                                        liquidate the appropriate entries                     with 19 CFR 351.305(a)(3). Timely
                                               Decision Memorandum and the                                              without regard to antidumping duties.                 written notification of the return or
                                               electronic versions of the Issues and                                    Commerce intends to issue appropriate                 destruction of APO materials or
                                               Decision Memorandum are identical in                                     assessment instructions to CBP 15 days                conversion to judicial protective order is
                                                                                                                        after the date of publication of the final            hereby requested. Failure to comply
                                               content.
                                                                                                                        results of review.                                    with the regulations and terms of an
                                               Changes Since the Preliminary Results                                                                                          APO is a sanctionable violation.
                                                                                                                        Cash Deposit Requirements
                                                 Based on a review of the record and
                                                                                                                           The following cash deposit                         Notification to Interested Parties
                                               comments received from interested
                                                                                                                        requirements will be effective for all                  We are issuing and publishing this
                                               parties, we have made certain changes
                                                                                                                        shipments of subject merchandise                      notice in accordance with sections
                                               to Pacific Pipe Public Company
                                                                                                                        entered, or withdrawn from warehouse,                 751(a)(1) and 777(i) of the Act and 19
                                               Limited’s (Pacific Pipe); Saha Thai Steel
                                                                                                                        for consumption on or after the date of               CFR 351.221(b)(5).
                                               Pipe (Public) Company, Ltd.’s (Saha
                                                                                                                        publication of the final results of this
                                               Thai); and Thai Premium Pipe Co.,                                                                                                Dated: October 4, 2018.
                                                                                                                        administrative review, as provided for
                                               Ltd.’s (Thai Premium) weighted-average                                                                                         Gary Taverman,
                                                                                                                        by section 751(a)(2)(C) of the Act: (1)
                                               dumping margins. For further                                                                                                   Deputy Assistant Secretary for Antidumping
                                                                                                                        The cash deposit rate for the companies
                                               discussion, see the Issues and Decision                                                                                        and Countervailing Duty Operations,
                                                                                                                        under review will be equal to the
                                               Memorandum.                                                                                                                    performing the non-exclusive functions and
                                                                                                                        weighted-average dumping margin
                                                                                                                                                                              duties of the Assistant Secretary for
                                               Final Results of Review                                                  established in the final results of this
                                                                                                                                                                              Enforcement and Compliance.
                                                 We determine that, for the period                                      review; (2) for previously reviewed or
                                               March 1, 2016, through February 28,                                      investigated companies not listed above               Appendix
                                               2017, the following weighted-average                                     in the Final Results of Review,                       Issues and Decision Memorandum
                                               dumping margins exist:                                                   including those for which Commerce
                                                                                                                                                                              I. Summary
                                                                                                                        may determine had no shipments
                                                                                                                                                                              II. List of Comments
                                                                                                          Weighted-     during the POR, the cash deposit rate                 III. Background
                                                                                                           average      will continue to be the company-
                                                            Producer or exporter                          dumping                                                             IV. Scope of the Order
                                                                                                           margin       specific rate published for the most                  V. Discussion of the Comments
                                                                                                          (percent)     recently completed segment of this                       Comment 1: Whether to Accept Certain
                                               Pacific Pipe Company Limited ..............                      30.61   proceeding; (3) if the exporter is not a                    New Factual Information Regarding
                                                                                                                        firm covered in this review or another                      Particular Market Situation (PMS)
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                                               Saha Thai Steel Pipe (Public) Com-
                                                 pany, Ltd ............................................         28.00   completed segment of this proceeding,                       Allegation
                                                                                                                        but the producer is, then the cash                       Comment 2: Whether Commerce
                                               Memorandum for the Final Results of Antidumping                                                                                      Improperly Made PMS Adjustments to
                                                                                                                        deposit rate will be the rate established
                                               Duty Administrative Review; 2016–2017,’’ dated                                                                                       the Respondents’ Cost of Production.
                                               concurrently with this notice (Issues and Decision
                                                                                                                        for the most recently completed segment
                                               Memorandum).                                                             of this proceeding for the producer of                  5 See Antidumping Duty Order; Circular Welded
                                                 3 Id.                                                                  the merchandise; and (4) if neither the               Carbon Steel Pipes and Tubes from Thailand, 51 FR
                                                 4 Id.                                                                  exporter nor the producer is a firm                   8341 (March 11, 1986).



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                                                                          Case: 22-1175                      Document: 6            Page: 107         Filed: 09/12/2022
                                                                            Federal Register / Vol. 83, No. 199 / Monday, October 15, 2018 / Notices                                       51929

                                                 Comment 3: PMS Adjustments to Pacific                 SUPPLEMENTARY INFORMATION: This                   DEPARTMENT OF DEFENSE
                                                    Pipe’s and Saha Thai’s Calculations                Notice informs U.S. satellite operators
                                                 Comment 4: Sales Date Parameters of                   collecting imagery over Israel or with            Department of the Army
                                                    Pacific Pipe’s Home Market and U.S.
                                                    Sales Programs
                                                                                                       plans to collect imagery over Israel that
                                                                                                       current restrictions regarding data               Notice of Intent to Grant Exclusive
                                                 Comment 5: Pacific Pipe’s Fixed Overhead                                                                Patent License to Dilatant, LLC;
                                                    Costs                                              collection/dissemination of imagery
                                                 Comment 6: Assignment of Surrogate Costs              over Israel remain in place with the              Kansas City, MO
                                                    to Certain Pacific Pipe Home Market                resolution limit at 2 m GSD. This Notice          AGENCY: Department of the Army, DoD.
                                                    Sales                                              is consistent with the requirement that
                                                 Comment 7: Pacific Pipe’s Home Market                                                                   ACTION: Notice of intent.
                                                                                                       the Department of Commerce review
                                                    Discounts and Rebates
                                                                                                       non-U.S. commercial availability of               SUMMARY: The Department of the Army
                                                 Comment 8: Sales Date Parameters of Saha
                                                    Thai’s Home Market and U.S. Sales                  imagery over Israel and any input from            hereby gives notice of its intent to grant
                                                    Programs                                           licensees or from the general public and          to Dilatant, LLC; a company having its
                                                 Comment 9: Saha Thai’s Duty Drawback                  publish findings of this review in the            principle place of business at 1111 West
                                                    Adjustment                                         Federal Register.                                 46th Street #45, Kansas City, MO 64112,
                                                 Comment 10: Differential Pricing Analysis                                                               an exclusive license.
                                                                                                          To determine what imagery is
                                                    of Saha Thai’s U.S. Sales
                                                                                                       ‘‘available from commercial sources,’’            DATES: Written objections must be filed
                                                 Comment 11: Sales Date Parameters of Thai
                                                    Premium’s Home Market Sales Program                the Department looks to what ‘‘level of           not later than 15 days following
                                                 Comment 12: Assignment of Surrogate                   imagery resolution [is] readily and               publication of this announcement.
                                                    Costs to Certain Thai Premium Home                 consistently available in sufficient              ADDRESSES: Send written objections to
                                                    Market Sales                                       quantities from non-U.S. sources.’’               U.S. Army Research Laboratory
                                                 Comment 13: Revision of Variable Names                Licensing of Private Land Remote-                 Technology Transfer and Outreach
                                                    in Thai Premium’s Home Market                      Sensing Space Systems, 71 FR 24474,               Office, RDRL-DPT/Annmarie Martin,
                                                    Program
                                               VI. Recommendation                                      24479 (Apr. 25, 2006). After a recent             Building 321 Room 113, 6375 Johnson
                                               [FR Doc. 2018–22237 Filed 10–12–18; 8:45 am]            investigation and analysis, the                   Rd., Aberdeen Proving Ground, MD
                                               BILLING CODE 3510–DS–P
                                                                                                       Department determined that imagery                21005–5425.
                                                                                                       over Israel is not readily and                    FOR FURTHER INFORMATION CONTACT:
                                                                                                       consistently available in sufficient              Annmarie Martin, (410) 278–9106,
                                               DEPARTMENT OF COMMERCE                                  quantities from non-U.S. sources at               email: ORTA@arl.army.mil.
                                                                                                       under 2 m GSD to consider sub-2 m                 SUPPLEMENTARY INFORMATION: The
                                               National Oceanic and Atmospheric                        imagery ‘‘commercially available.’’               Department of the Army plans to grant
                                               Administration                                             There are non-U.S. commercial                  an exclusive license to Dilatant, LLC in
                                                                                                       sources that are capturing imagery at             the field of use related to head and body
                                               Notice of Findings Regarding Non-U.S.
                                                                                                       lower than the 2 m resolution limit, but          resistant systems incorporating rate-
                                               Commercial Availability of Satellite
                                               Imagery With Respect to Israel                          very little of this imagery is available for      actuated tethers for use in automotive
                                                                                                       sale. Further, the imagery is not easily          racing applications relative to the
                                               ACTION: Notice.                                         accessible enough to be readily                   following—
                                                                                                       available. A customer must apply to                  • ‘‘Rate-Responsive, Stretchable
                                               SUMMARY: Consistent with the                            acquire the imagery. Even if their                Devices’’, US Patent No. 9,303,717,
                                               requirement that commercial remote                      application is granted and the customer           Filing Date June 26, 2013, Issue Date
                                               sensing licensees operate their systems                 is able to buy imagery at under 2 m, the          April 5, 2016.
                                               in a manner that protects national                      license terms of the sale often restrict             • ‘‘Rate-Responsive, Stretchable
                                               security concerns, foreign policy and                   the customer from further disseminating           Devices (Further Improvements)’’, US
                                               international obligations, Section 1064,                the imagery. Therefore, the Department            Patent No. 9,958,023, Filing Date March
                                               Public Law 104–201, (the 1997 Defense                   has determined that commercial                    1, 2016, Issue Date May 1, 2018.
                                               Authorization Act), referred to as the                  imagery is not readily or consistently               • ‘‘Head Restraint System Having a
                                               Kyl-Bingaman Amendment, requires                        available from non-U.S. sources in                Rate Sensitive Device’’, US Patent
                                               that ‘‘[a] department or agency of the                  sufficient quantities to be considered            Application No. 15/366,578, Filed
                                               United States may issue a license for the               commercially available.                           December 1, 2016.
                                               collection or dissemination by a non-                                                                        The prospective exclusive license
                                               Federal entity of satellite imagery with                   The Department of Commerce may re-             may be granted unless within fifteen
                                               respect to Israel only if such imagery is               evaluate this finding in the future as            (15) days from the date of this published
                                               no more detailed or precise than                        additional information is made                    notice, the U.S. Army Research
                                               satellite imagery of Israel that is                     available.                                        Laboratory receives written objections
                                               available from commercial sources.’’                    FOR FURTHER INFORMATION CONTACT:                  including evidence and argument that
                                               Pursuant to this law, the Department of                 Tahara Dawkins, Commercial Remote                 establish that the grant of the license
                                               Commerce will make findings as to the                   Sensing Regulatory Affairs Office,                would not be consistent with the
                                               level of detail or precision of satellite               NOAA Satellite and Information                    requirements of 35 U.S.C. 209(e) and 37
                                               imagery of Israel available from                        Services, 1335 East-West Highway,                 CFR 404.7(a)(1)(i). Competing
                                               commercial sources. The Department                      Suite G–101, Silver Spring, Maryland              applications completed and received by
                                               has found that imagery over Israel is not
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                                                                                                       20910; telephone (301) 713–3385, email            the U.S. Army Research Laboratory
                                               readily and consistently available in                   tahara.dawkins@noaa.gov.                          within fifteen (15) days from the date of
                                               sufficient quantities from non-U.S.                                                                       this published notice will also be
                                               sources at under the 2 m Ground                         Tahara Dawkins,                                   treated as objections to the grant of the
                                               Sample Distance (GSD) resolution limit                  Director, Commercial Remote Sensing               contemplated exclusive license.
                                               currently set by the Department;                        Regulatory Affairs.                                  Objections submitted in response to
                                               therefore, the Department is not                        [FR Doc. 2018–22366 Filed 10–12–18; 8:45 am]      this notice will not be made available to
                                               changing this resolution limit.                         BILLING CODE 3510–HR–P                            the public for inspection and, to the


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Case: 22-1175   Document: 6   Page: 108   Filed: 09/12/2022




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              Case: 22-1175       Document: 6       Page: 109     Filed: 09/12/2022
                 Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17




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                                                                              Public Document
                                                                        E&C/Office VII: TP/KW

DATE:                          October 4, 2018

MEMORANDUM TO:                 Gary Taverman
                               Deputy Assistant Secretary
                                for Antidumping and Countervailing Duty Operations,
                                performing the non-exclusive functions and duties of the
                                Assistant Secretary for Enforcement and Compliance

FROM:                          James Maeder
                               Associate Deputy Assistant Secretary
                                 for Antidumping and Countervailing Duty Operations
                                 performing the duties of Deputy Assistant Secretary
                                 for Antidumping and Countervailing Duty Operations

SUBJECT:                       Circular Welded Carbon Steel Pipes and Tubes from Thailand:
                               Decision Memorandum for the Final Results of Antidumping Duty
                               Administrative Review; 2016-2017


I.       SUMMARY

The Department of Commerce (Commerce) analyzed the case and rebuttal briefs submitted by
interested parties in the administrative review of the antidumping duty order on circular welded
carbon steel pipes and tubes (pipes and tubes) from Thailand. As a result of this analysis, we
have recalculated the weighted-average dumping margins for Pacific Pipe Public Company
Limited (Pacific Pipe); Saha Thai Steel Pipe (Public) Company, Ltd. (Saha Thai); and Thai
Premium Pipe Co., Ltd. (Thai Premium). We recommend that you approve the positions
described in the “Discussion of Comments” section of this memorandum.

II.      LIST OF COMMENTS

      Comment 1: Whether to Accept Certain New Factual Information Regarding Particular
                 Market Situation (PMS) Allegation
      Comment 2: Whether Commerce Improperly Made PMS Adjustments to the Respondents’
                 Cost of Production
      Comment 3: PMS Adjustments to Pacific Pipe’s and Saha Thai’s Calculations
      Comment 4: Sales Date Parameters of Pacific Pipe’s Home Market and U.S. Sales Programs
      Comment 5: Pacific Pipe’s Fixed Overhead Costs
      Comment 6: Assignment of Surrogate Costs to Certain Pacific Pipe Home Market Sales
      Comment 7: Pacific Pipe’s Home Market Discounts and Rebates



           Filed By: Toni Page, Filed Date: 10/5/18 12:42 PM, Submission Status: Approved
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              Case: 22-1175           Document: 6          Page: 110         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


       Comment 8: Sales Date Parameters of Saha Thai’s Home Market and U.S. Sales Programs
       Comment 9: Saha Thai’s Duty Drawback Adjustment
       Comment 10: Differential Pricing Analysis of Saha Thai’s U.S. Sales
       Comment 11: Sales Date Parameters of Thai Premium’s Home Market Sales Program
       Comment 12: Assignment of Surrogate Costs to Certain Thai Premium Home Market Sales
       Comment 13: Revision of Variable Names in Thai Premium’s Home Market Program

III.      BACKGROUND

The review covers three producers and/or exporters of the subject merchandise: Pacific Pipe,
Saha Thai, and Thai Premium. The period of review (POR) is March 1, 2016, through February
28, 2017. On April 9, 2018, Commerce published the Preliminary Results of the 2016-2017
administrative review of the antidumping duty order on pipes and tubes from Thailand.1 In those
results, Commerce preliminarily determined that subject merchandise was being sold in the
United States at prices below normal value during the POR.2 On August 31, 2018, Commerce
issued its post-preliminary findings regarding whether a particular market situation exists in
Thailand.3 Between September 7, 2018, and September 18, 2018, the petitioner and respondents
timely submitted case briefs as well as rebuttal briefs.4 On September 27, 2018, Commerce held
a hearing at its main office building.5

IV.        SCOPE OF THE ORDER

The products covered by this order are certain circular welded carbon steel pipes and tubes from
Thailand. The subject merchandise has an outside diameter of 0.375 inches or more, but not
exceeding 16 inches. These products, which are commonly referred to in the industry as
“standard pipe” or “structural tubing” are hereinafter designated as “pipes and tubes.” The
merchandise is classifiable under the Harmonized Tariff Schedule of the United States (HTSUS)




1
  See Circular Welded Carbon Steel Pipes and Tubes from Thailand: Preliminary Results of Antidumping Duty
Administrative Review; 2016–2017, 83 FR 15127 (April 9, 2018) (Preliminary Results) and accompanying
Preliminary Decision Memorandum (PDM).
2
  Preliminary Results, 83 FR at 15128.
3
  See Memorandum, “Antidumping Duty Administrative Review of Circular Welded Steel Pipes and Tubes from
Thailand: Post-Preliminary Decision Memorandum on Particular Market Situation Allegation,” dated August 31,
2018 (Post-Preliminary Decision Memorandum).
4
  See Petitioner’s Case Brief, “Circular Welded Steel Pipes and Tubes from Thailand: Case Brief,” dated September
10, 2018 (Petitioner’s Case Brief); Petitioner’s Rebuttal Brief, Circular Welded Carbon Steel Pipes and Tubes from
Thailand: Rebuttal Brief,” dated September 18, 2018 (Petitioner’s Rebuttal Brief); Thai Premium’s Case Brief,
“Circular Welded Carbon Steel Pipes and Tubes from Thailand—Thai Premium Pipe Company's Case Brief,” dated
September 7, 2018 (Thai Premium’s Case Brief); Saha Thai’s Case Brief, “Resubmission of Saha Thai’s Case Brief
Circular Welded Carbon Steel Pipe and Tubes from Thailand (AR 16-17),” dated September 17, 2018 (Saha Thai’s
Case Brief); Saha Thai’s Rebuttal Brief, “Saha Thai’s Rebuttal Brief Circular Welded Carbon Steel Pipe and Tubes
from Thailand (AR 16-17),” dated September 18, 2018 (Saha Thai’s Rebuttal Brief); Pacific Pipe’s Case Brief,
“Circular Welded Carbon Steel Pipes and Tubes from Thailand: Administrative Case Brief,” dated September 13,
2018 (Pacific Pipe’s Case Brief); and Pacific Pipe’s Rebuttal Brief, “Circular Welded Carbon Steel Pipes and Tubes
from Thailand: Rebuttal Brief,” dated September 17, 2018 (Pacific Pipe’s Rebuttal Brief).
5
  See “Transcript of Hearing in the Antidumping Duty Administrative Review of Circular Welded Carbon Steel
Pipes and Tubes from Thailand,” dated September 27, 2018.

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              Case: 22-1175           Document: 6          Page: 111        Filed: 09/12/2022
                  Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


item numbers 7306.30.1000, 7306.30.5025, 7306.30.5032, 7306.30.5040, 7306.30.5055,
7306.30.5085 and 7306.30.5090. Although the HTSUS subheadings are provided for
convenience and purposes of U.S. Customs and Border Protection (CBP), the written description
of the merchandise subject to the order is dispositive.

V.      DISCUSSION OF COMMENTS

Comment 1: Whether to Accept Certain New Factual Information Regarding Particular
Market Situation (PMS) Allegation

Respondents’ Case Briefs
    The petitioner’s February 5, 2018, PMS allegation should be rejected because it
      contained new factual information and did not identify which subsection of 19 CFR
      351.102(b)(21) (i) – (v) under which it was being submitted, as required by 19 CFR
      351.301(b).6
    In accepting the PMS allegation, submitted only 28 days before the Preliminary Results,
      and issuing a PMS finding only 30 days before the Final Determination, Commerce
      denied interested parties their statutorily mandated time to brief and prepare for a
      hearing.7
    The petitioner ensured that Commerce would not have enough time to conduct a proper
      investigation into the PMS allegation by filing the PMS allegation well after certain
      respondents reported using imported HRC to produce subject merchandise.8
    Commerce set March 28, 2018, as the deadline for parties to place rebuttal factual
      information with respect the PMS allegation.9 Commerce’s Post-Preliminary Decision
      Memorandum relied heavily on information found in the petitioner’s May 17, 2018,
      submission, which contained untimely filed new factual information with respect to the
      PMS allegation. Commerce should reject the petitioner’s May 17, 2018, submission and
      not rely on information contained therein for the final results.10

Petitioner’s Rebuttal Brief
     Commerce should continue to find that the PMS allegation and supporting information
        was properly filed and investigated in this review.11
     Contrary to Saha Thai’s claim, the PMS allegation did identify the type of information it
        submitted by stating that the information therein was being submitted in support of a

6
  See Saha Thai’s Case Brief at 7 (citing, e.g., Ripe Olives from Spain: Final Affirmative Countervailing Duty
Determination, 83 FR 28186 (June 18, 2018) (Olives from Spain)).
7
  See, e.g., Certain Softwood Lumber Products from Canada: Final Affirmative Determination of Sales at Less Than
Fair Value and Affirmative Final Determination of Critical Circumstances, 82 FR 51806 (November 8, 2017)
(Softwood Lumber from Canada).
8
  See Saha Thai’s Case Brief at 9 (citing Saha Thai’s August 17, 2017 CDQR at 42-8 and Exhibit D-10).
9
  See Memorandum, “Antidumping Duty Administrative Review: Circular Welded Carbon Steel Pipes and Tubes
from Thailand – Deadline for Submission of Factual Information Relating to Particular Market Situation
Allegation,” dated March 21, 2018 (March 21, 2018 Memorandum).
10
   See Saha Thai’s Case Brief at 10-12 (citing Petitioner’s Letter, “Circular Welded Carbon Steel Pipes and Tubes
from Thailand: Comments on, and Clarifying Factual Information regarding, Pacific Pipe and Saha Thai
Supplemental Questionnaire Responses,” dated May 17, 2018 at 2 (Petitioner’s May 17, 2018 Letter); see also Saha
Thai’s Letter, “Request for Rejection of Petitioner’s May 17, 2018 Factual Submission Circular Welded Steel Pipes
and Tubes from Thailand,” dated May 21, 2018); see also Pacific Pipe’s Case Brief at 6-7.
11
   See Petitioner’s Rebuttal Brief at 8-9.

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               Case: 22-1175            Document: 6          Page: 112         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


         PMS allegation, which qualifies as factual information under 19 CFR
         351.102(b)(21)(ii).12
        The petitioner’s PMS allegation was clearly titled “Particular Market Situation
         Allegation,” cited the appropriate regulatory provision for accepting the submission of
         factual information in support of a PMS and cited previous cases in which Commerce had
         accepted PMS allegations and factual information supporting those allegations.13
        There is no deadline for a PMS allegation.14 The PMS allegation in the instant review
         was submitted nearly 60 days prior to the Preliminary Determination – earlier in the
         segment than other PMS allegations that have been accepted.15 Commerce provided all
         parties the opportunity to submit factual information and argument regarding the
         allegation.16 Saha Thai and Pacific Pipe submitted each submitted comments and rebuttal
         factual information on March 28, 2018.17

Commerce’s Position: We have not rejected the petitioner’s February 5, 2018, PMS allegation
nor its May 17, 2018, submission for these final results.

Pursuant to 19 CFR 351.301(b), “{e}very submission of factual information must be
accompanied by a written explanation identifying the subsection of 19 CFR 351.102(b)(21)
under which the information is being submitted.”18 As noted in Commerce’s March 21, 2018,
memorandum accepting the allegation and providing deadlines for submission of factual
information to rebut, clarify, or correct the factual information,19 the petitioner’s PMS allegation
properly references the criteria for determining the existence of a PMS.20 Specifically, the
allegation states, “{Commerce} should accept the factual information accompanying this
submission as timely filed under 19 CFR 351.301(c)(2)(v), which {Commerce} has previously
determined is the appropriate provision for the submission of factual information in support of a
particular market situation allegation.”21 Moreover, the petitioner rightly points to the various
references throughout its allegation that constitute a “written explanation” that identifies
Commerce’s regulation on factual information pertaining to other allegations. Thus, we continue

12
   See Petitioner’s Rebuttal Brief at 7-8 (citing 19 CFR 351.301(b); Petitioner’s Letter, “Circular Welded Steel Pipes
and Tubes from Thailand: Particular Market Situation Allegation,” dated February 5, 2018 (PMS Allegation) at 1-2).
13
   See Petitioner’s Rebuttal Brief at 7-8 (citing 19 CFR 351.102(b)(21)(ii)).
14
   See 19 CFR 351.301(c)(2)(v).
15
   See, e.g., Certain Cold-Drawn Mechanical Tubing of Carbon and Alloy Steel from the Republic of Korea:
Preliminary Affirmative Determination of Sales at Less Than Fair Value, Preliminary Affirmative Determination of
Critical Circumstances, in Part, Postponement of Final Determination, and Extension of Provisional Measures, 82
FR 55564 (November 22, 2017) and accompanying Preliminary Decision Memorandum at 5-6 (accepting a PMS
allegation filed 26 days before the preliminary determination); Large Diameter Welded Pipe from the Republic of
Korea: Preliminary Determination of Sales at Less Than Fair Value and Postponement of Final Determination, 83
FR 43651 (August 27, 2018) (Large Diameter Welded Pipe from Korea) and accompanying Issues and Decision
Memorandum at 13 – 14 (accepting a PMS allegation filed 46 days prior to the preliminary determination).
16
   See Petitioner’s Rebuttal Brief at 8-9 (citing March 21, 2018 Memorandum).
17
   See Saha Thai’s Letter, “Saha Thai’s Rebuttal Factual Information and Comments on Wheatland Tube’s PMS
Allegation: Circular Welded Steel Pipes and Tubes from Thailand,” dated March 28, 2018 (Saha Thai’s PMS
Comments); see also Pacific Pipe’s Letter, “Welded Circular Carbon Steel Pipe and Tube from Thailand: Amended
Comments on Particular Market Situation,” dated March 28, 2018 (Pacific Pipe’s PMS Comments).
18
   Emphasis added.
19
   See 19 CFR 351.301(c)(2)(v).
20
   See March 21, 2018 Memorandum.
21
   See PMS Allegation at 1-2 (citing Certain Oil Country Tubular Goods from the Republic of Korea: Final Results
of Antidumping Duty Administrative Review and Final Determination of No Shipments; 2015-2016, 83 FR 17146
(April 18, 2018) (OCTG from Korea 2015-16)).

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               Case: 22-1175            Document: 6           Page: 113         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


to find that the petitioner’s submission properly references the regulations for filing new factual
information as it pertains to a cost-based PMS allegation.

Saha Thai’s claim that interested parties were denied sufficient time to address the allegation and
findings because Commerce accepted the PMS allegation that was submitted 28 days before the
Preliminary Determination, and issued a PMS finding just 30 days before the Final
Determination is misplaced. First, the PMS allegation was submitted nearly 60 days prior to the
Preliminary Determination, not 28 days as Saha Thai claims.22 In addition, as noted by both
Saha Thai and the petitioner, the subsection of Commerce’s regulations that governs the
submission of new factual information concerning a cost-based PMS allegation does not
establish a time limit or deadline for these allegations.23

Section 504 of the TPEA24 modified certain provisions of the Act concerning the definition of a
“particular market situation,” including to section 773(e) of the Act “where a particular market
exists that distorts pricing or cost in a foreign producer’s home market.”25 Commerce’s
regulations provide a deadline for the submission of a sales-based PMS allegation;26 however, no
such provision exists for the TPEA’s cost-based PMS allegation. As such, a cost-based PMS
allegation falls under the “Other allegations” provision of 19 CFR 351.301(c)(2). Accordingly,
Commerce analyzed the submission and determined that there was sufficient time in the
proceeding to conduct a proper analysis of the allegation.27 Interested parties were permitted
time to submit rebuttal factual information with regard to the PMS allegation.28 Indeed, Saha
Thai and Pacific Pipe submitted new factual information and argument with respect to the PMS
allegation on March 28, 2018.29 Moreover, all parties had the opportunity to submit arguments
with respect to Commerce’s PMS decision in their case and rebuttal briefs.30 As such, we find
that the PMS allegation was properly filed, accepted and investigated in the course of this
review.

We reviewed the record with respect to the respondents’ contention that the petitioner’s May 17,
2018, submission contained certain untimely rebuttal factual information.31 The petitioner’s
submission contained new factual information to rebut, clarify, or correct supplemental
questionnaire responses filed by Saha Thai and Pacific Pipe.32 Saha Thai and Pacific Pipe argue
that section II: “Clarifying Factual Information Regarding Distortions to Imported HRC Prices”
and the associated exhibits – WTO and Government of Thailand (GOT) reports concerning HRC
duty rates from certain countries – did not pertain to the information contained in the respective

22
   The PMS Allegation was submitted on February 5, 2018; the Preliminary Determination was signed on April 3,
2018, 57 days apart.
23
   See Saha Thai Case Brief at 8 (citing Softwood Lumber from Canada); see also Petitioner’s Rebuttal Brief at 8
(citing 19 CFR 351.301(c)(2)(v)).
24
   See Trade Preferences Extension Act of 2015, 114 PL 27.
25
   See “Trade Facilitation and Trade Enforcement Act of 2015”, S. Rept. 114-45 (May 13, 2015).
26
   See 19 CFR 351.301(c)(2)(i), see also sections 773(a)(1)(B)(ii)(III) and 773(a)(1)(C)(iii) of the Tariff Act of 1930
(the Act).
27
   See March 21, 2018 Memorandum.
28
   See 19 CFR 351.301(c)(2)(vi) and March 21, 2018 Memorandum.
29
   See Saha Thai’s PMS Comments and Pacific Pipe’s PMS Comments.
30
   See Memorandum, “Circular Welded Carbon Steel Pipes and Tubes from Thailand: Extension of Deadline to File
Case and Rebuttal Briefs for all Issues,” dated September 6, 2018.
31
   See Petitioner’s May 17, 2018 Letter at Exhibits 2-4.
32
   See Petitioner’s May 17, 2018 Letter at Exhibits 2-4. (citing 19 CFR 351.102(b)(21)(i); Saha Thai’s Case Brief at
10-12; Pacific Pipe’s Case Brief at 6-7).

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               Case: 22-1175            Document: 6          Page: 114         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


supplemental questionnaire responses.33 However, we note that Saha Thai’s May 14, 2018,
supplemental response contains information regarding “input purchases and tax and duty on such
purchases,” and calculations including the applicable duty rates applicable to HRC imported
from certain countries during the POR.34 Accordingly, we find that section II of the petitioner’s
May 17, 2018, submission and the associated exhibits rebut, clarify or correct information
contained in Saha Thai’s May 14, 2018, supplemental questionnaire response.35

Comment 2: Whether Commerce Improperly Made PMS Adjustments to the
Respondents’ Cost of Production.

Respondents’ Case Briefs
    Section 504(b) of the TPEA only permits an adjustment to the producer’s actual costs of
      production (because of an alleged PMS) for purposes of calculating constructed value;
      there is no statutory authority for use of an alleged PMS to adjust a producer’s production
      costs for the purposes of analyzing sales below cost.36
    Because section 504(b) of the TPEA did not make any other changes, including the
      provisions regarding the calculation of the cost of production or the application of the
      sales-below-cost test, Commerce’s adjustment to Saha Thai’s cost of production is
      contrary to the statute.
    Based on the plain language of section 504(b) of the Act37 and Commerce’s prior
      interpretations of the statute,38 a PMS is reserved for limited and unusual circumstances.
    Any finding that a PMS exists must rely on strong, substantial evidence that the
      respondents’ actual cost of production is unusually and exhaustively distorted and thus
      not in the “ordinary course of trade.”39
    Commerce’s Preliminary Determination fails to demonstrate how and why respondents’
      use of imported steel, pursuant to Thai law, is out of the ordinary course of trade, or how
      and why the alleged distortion is so significant that it creates an inability to compare
      foreign and domestic prices.40
    Global steel overcapacity is a condition within the ordinary course of trade in Thailand, is
      impossible to quantify,41 and does not satisfy the threshold required by section 504 of the
      TPEA for a PMS.


33
   See Saha Thai’s Case Brief at 7; see also Pacific Pipe’s Case Brief at 6-7.
34
   See Saha Thai’s May 14, 2018 Supplemental Questionnaire Response (Saha Thai’s May 14, 2018 SQR).
35
   See 19 CFR 351.102(b)(21)(i).
36
   See Saha Thai’s Case Brief at 13-14 (citing section 504(b) of the TPEA); see also Pacific Pipe’s Case Brief at 6-7.
37
   See Saha Thai’s Case Brief at 15-16 (citing, e.g., Ratzlaf v. United States, 510 U.S. 135, 143 (1994) (“A term
appearing in several places in a statutory text is generally read the same way each time it appears.”).
38
   See Saha Thai’s Case Brief at 15-16 (citing Statement of Administrative Action Accompanying the Uruguay
Round Agreements Act, H.R. Doc. 103-316, vol 1 (1994) (SAA) at 822; see also Notice of Final Determinations of
Sales at Less Than Fair Value: Certain Drum Wheat and Hard Red Spring Wheat from Canada, 68 FR 52741
(September 5, 2003) (Wheat from Canada) and accompanying Issues and Decision Memorandum and Comment 1;
see also Certain Cold-Rolled and Corrosion-Resistant Carbon Steel Flat Products from Korea: Final Results of
Antidumping Duty Administrative Reviews, 62 FR 18404, 18414 (April 15, 1997) (Cold-Rolled from Korea)).
39
   See Saha Thai’s Case Brief at 17 (citing section 773(e) of the Act).
40
   See Saha Thai’s Case Brief at 19 (citing Olives from Spain, 83 FR at 28186, and accompanying Memorandum on
Particular Market Situation Allegation, dated March 26, 2018.
41
   See Pacific Pipe’s Case Brief at 6 (citing, e.g., Welded Line Pipe Preliminary Results of Antidumping Duty
Administrative Review; 2015-2016, 83 FR 1023 (January 9, 2018), and accompanying Decision Memorandum at 10-
14).

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           Filed By: Toni Page, Filed Date: 10/5/18
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              Case: 22-1175           Document: 6          Page: 115         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


Petitioner’s Rebuttal Brief
     Commerce’s post-preliminary PMS finding was supported by substantial record
        evidence, namely: (1) the acquisition costs of HRC constitute 80 to 90 percent of the cost
        of producing CWP; (2) the GOT subsidizes all Thai HRC producers;42 (3) because of the
        significant global overcapacity in steel production, the Thai steel market has been flooded
        with imports of cheap steel products, including HRC, from China; (4) the GOT imposed
        antidumping and safeguard measures on imported HRC, which were intended to impact
        the acquisition cost of HRC into the Thai market during the POR; (5) because
        respondents did not ultimately pay these antidumping or safeguard duties, the measures
        imposed by the GOT to address price distortions and injury caused by global steel
        overcapacity are not effectively remedying those distortions and injury.43
     Respondents’ claim that global overcapacity in steel production is now “ordinary” and
        not outside the ordinary course of trade neglects: (1) Commerce’s recognition that
        distortions that are widespread or long-standing may still cause prices and costs to be
        outside the ordinary course of trade; and (2) the confirmation from various sources,
        including the GOT, that global overcapacity in steel was distorting the Thai HRC
        market.44
     Commerce’s inability to quantify the impact of global overcapacity on steel prices in
        other cases is distinct from the record of this proceeding where specific measures,
        including subsidies and dumping, are present.45
     There are direct links among the types of excess-capacity-driven surges the GOT sought
        to remedy through safeguard duties, the countervailable subsidies the GOT provides to its
        own HRC producers, and the dumping by foreign HRC producers seeking to offload
        excess production into Thailand.
     The following antidumping and safeguard measures implemented to remedy the
        distortions in the Thai HRC market provide an appropriate means of quantifying these
        distortions, as Commerce reasonably found: (1) U.S. countervailing duty (CVD) order
        on Thai HRC, (2) Thai safeguard measure on HRC, and (3) 19 Thai antidumping orders
        on HRC.46
     The PMS provision of the statute plainly provided Commerce with broad authority to use
        “any other calculation methodology” if costs are distorted by a PMS,47 including for the
        purposes of COP under section 773(b)(3).48

42
   All imports of HRC from Thailand into the United States are subject to a CVD rate of 2.38 percent. See Post-
Preliminary Decision Memorandum.
43
   See Post-Preliminary Decision Memorandum at 4-6 (citing PMS Allegation).
44
   See PMS Allegation at 11-16 and Exhibits 1, 3, 6-15, and 17; see also Circular Welded Non-Alloy Steel Pipe from
the Republic of Korea: Preliminary Results of Antidumping Duty Administrative Review; 2015-2016, 82 FR 57583
(December 6, 2017) and accompanying Issues and Decision Memorandum at 14 (CWP from Korea 2015-16
Prelim); see also Biodiesel from Argentina: Final Determination of Sales at Less Than Fair Value and Final
Affirmative Determination of Critical Circumstances¸ in Part, 83 FR 8837 (March 1, 2018) and accompanying
Issues and Decision Memorandum at Comment 3 (Biodiesel from Argentina).
45
   See Petitioner’s Rebuttal Brief at 5.
46
   Id. at 6.
47
   Id. at 6-7 (citing the TPEA at 504).
48
   See, e.g., Certain Oil Country Tubular Goods from the Republic of Korea: Final Results of Antidumping Duty
Administrative Review; 2014-2015, 82 FR 18105 (April 17, 2017) (OCTG from Korea 2014-15), and accompanying
Issues and Decision Memorandum at Comment 3; OCTG from Korea 2015-16 and accompanying Issues and
Decision Memorandum at Comment 1; Circular Welded Non-Alloy Steel Pipe from the Republic of Korea: Final
Results of Antidumping Duty Administrative Review; 2015-2016, 83 FR 27541 (June 13, 2018) (CWP from Korea)
and accompanying Issues and Decision Memorandum at Comment 1.

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           Filed By: Toni Page, Filed Date: 10/5/18
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              Case: 22-1175           Document: 6          Page: 116         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17




Commerce’s Position: We have continued to make PMS adjustments to the respondents’ cost
of production for these final results.

Section 504 of the TPEA added the concept of “particular market situation” in the definition of
the term “ordinary course of trade,” for purposes of constructed value under section 773(e) of the
Act. Section 773(e) of the Act states that “if a {PMS} exists such that the cost of materials and
fabrication or other processing of any kind does not accurately reflect the cost of production in
the ordinary course of trade, the administering authority may use another calculation
methodology under this subtitle or any other calculation methodology.” Prior to the TPEA, in a
limited number of situations, Commerce found that a PMS existed and, as a result, declined to
use the sale prices of the foreign like product in an entire market for purposes of calculating
normal value, as provided for in section 351.404(c)(2) of Commerce’s regulations.49 More
recently, Commerce determined that a PMS existed which distorted the domestic costs of inputs
used in the production of merchandise under consideration.50 Although the Act does not define
“particular market situation,” the SAA explains that examples where such a situation may exist
include “where there is government control over pricing to such an extent that home market
prices cannot be considered competitively set.”51 Saha Thai contends that any finding that a
PMS exists must rely on strong, substantial evidence that the respondents’ cost of production is
“unusually and exhaustively” distorted and thus not in the “ordinary course of trade.”52 While
we agree with Saha Thai that a finding that a PMS exists is reserved for limited circumstances
and must be based on substantial evidence that the alleged distortion is so significant that it
creates an inability to compare foreign and domestic prices, we disagree that such evidence
doesn’t exist on the record of this segment of the proceeding.

There is substantial record evidence to support a finding that a PMS exists. Specifically, as
noted in the Post-Preliminary Decision Memorandum, the record shows that (1) the acquisition
costs of HRC constitute 80 to 90 percent of the cost of producing pipes and tubes;53 (2) the GOT
subsidizes all Thai HRC producers;54 (3) because of the significant global overcapacity in steel
production, the Thai steel market has been flooded with imports of cheap steel products,
including HRC;55 (4) the GOT imposed antidumping and safeguard measures on imported HRC,
which were intended to impact the price of HRC into the Thai market during the POR;56 and (5)
because respondents did not ultimately pay these antidumping or safeguard duties, the measures

49
   For examples of prior situations where we have found a particular market situation, see Notice of Final
Determination of Sales at Less Than Fair Value: Fresh Atlantic Salmon from Chile, 63 FR 31411 (June 9, 1998);
Mechanical Transfer Presses from Japan; Final Results of Antidumping Duty Administrative Review and
Revocation of Antidumping Duty Administrative Order in Part, 63 FR 37331 (July 10, 1998); and Notice of Final
Results of the Ninth Administrative Review of the Antidumping Duty Order on Certain Pasta from Italy, 72 FR 7011
(February 14, 2007).
50
   See, e.g., OCTG from Korea 2014-15, 82 FR at 18105 and accompanying Issues and Decision Memorandum at
40-41.
51
   See Saha Thai’s Case Brief at 15-16 (citing SAA at 822).
52
   See Saha Thai’s Case Brief at 17 (citing section 773(e) of the Act; see also Wheat from Canada, 68 FR at 52741,
and accompanying Issues and Decision Memorandum and Comment 1, Cold-Rolled from Korea, 62 FR at 18414,
and Olives from Spain, 83 FR at 28186.).
53
   See, e.g., Saha Thai Section A Response (Public Version) (July 31, 2017) at 27.
54
   See Final Affirmative Countervailing Duty Determination: Certain Hot-Rolled Carbon Steel Flat Products from
Thailand, 66 FR 50410 (October 3, 2001).
55
   See PMS Allegation at Exhibit 17.
56
   Id.

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              Case: 22-1175            Document: 6          Page: 117        Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


imposed by the GOT to address price distortions and injury caused by global steel overcapacity
are not effectively remedying those distortions and injury.57 Commerce finds that this evidence,
taken as a whole, demonstrates that the prices of domestically-sourced and imported HRC in
Thailand were distorted during the POR, such that the cost of producing subject merchandise in
Thailand was outside the ordinary course of trade.58

We disagree with respondents’ claim that global overcapacity in steel production is now
ordinary, and therefore, costs distorted by this overcapacity cannot be considered outside the
ordinary course of trade.59 As the petitioner notes, in Biodiesel from Argentina, we recognized
that distortions that are widespread or long-standing may still cause prices and costs to be outside
the ordinary course of trade.60 The record clearly indicates that prices in the Thai HRC market,
as a whole, have been and continue to be distorted. Specifically, the GOT cited the impact of
global overcapacity as an impetus for imposing safeguard duties.61 Further, industry analysts and
Thai steel companies confirmed that global overcapacity in steel was distorting the Thai market,
particularly given the high level of import penetration in the country.62 As discussed in the Post-
Preliminary Decision Memorandum, the surge of cheap imported steel has led to artificially low
prices in the Thai domestic market, reduced Thai production, and extremely low Thai capacity
utilization, resulting in slim margins, bankruptcies, and defaults in the Thai steel industry.63
Therefore, it is reasonable to find that Thai domestic prices for HRC, including the costs for
HRC to HRC consumers, are outside the ordinary course of trade.

There are direct links between the trade remedies imposed to mitigate the distortions in the Thai
HRC market. The U.S. CVD order on HRC from Thailand unquestionably was issued to address
Thai subsidization of the domestic production of HRC. Similarly, Thailand itself recognized that
the overcapacity of imported HRC resulted in price suppression, and as a result, the Thai
safeguard measures on imported HRC were put in place. Furthermore, the Thai antidumping
orders on HRC from various countries were also imposed to address imported HRC which was
being dumped into the Thai market and injuring domestic producers as a result. Accordingly, we
agree with the petitioner that these measures provide indicia of the market distortions created in
Thailand by domestic subsidies and created outside of Thailand by the dumped sales of imported
HRC, as well as further distortions caused by HRC overcapacity.64

With respect to the respondents’ arguments concerning the legal standard for finding a cost-
based PMS, all parties agree that section 504 of the TPEA enables Commerce to address a PMS
where the cost of materials, fabrication, or processing fail to accurately reflect the COP in the
ordinary course of trade.65 Saha Thai and Pacific Pipe contend that section 504(b) of the TPEA
modified provisions concerning only the calculation of constructed value, but that there is no

57
   See Saha Thai Section C Response (Public Version) (August 17, 2017) at 14-15 and 43; Pacific Pipe’s Initial
Section C Questionnaire Response (August 18, 2017) at 28; and Thai Premium’s Initial Section C Questionnaire
Response (August 17, 2017) at 35.
58
   See Post-Preliminary Decision Memorandum.
59
   See Pacific Pipe’s Case Brief at 6.
60
   See Petitioner’s Rebuttal Brief at 5 (citing Biodiesel from Argentina, 83 FR 8837 and accompanying Issues and
Decision Memorandum at Comment 3).
61
   See PMS Allegation at Exhibit 17.
62
   Id. at 11-15, Exhibits 1,3, and 6-15.
63
   Id.
64
   See Petitioner’s Rebuttal Brief at 6.
65
   See, e.g., OCTG Korea 14-15.

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           Filed By: Toni Page, Filed Date: 10/5/18
                                                 Appx20043
               Case: 22-1175            Document: 6          Page: 118         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


additional statutory authority for Commerce to use an alleged cost-based PMS to adjust a
producer’s production costs to determine whether or not there were sales below cost.66 They
claim that when Commerce does not calculate constructed value (or when it calculates
constructed value, but the cost of materials and fabrication does not accurately reflect cost of
production), the calculations are governed by other, existing statutory provisions, namely section
773(b) of the Act.67 Thus, on this basis, Saha Thai and Pacific Pipe claim that Commerce does
not have the statutory authority to adjust a producer’s production costs for the purposes of
analyzing sales below cost are misplaced.68

We disagree with the respondents’ interpretation of the Act. Specifically, the term “ordinary
course of trade,” defined in section 771(15) of the Act, includes “situations in which the
administering authority determines that the particular market situation prevents a proper
comparison {of normal value} with the export price or constructed export price.”69 Thus, where
a PMS affects the cost of production for the foreign like product, such as through distortions to
the cost of inputs, it is reasonable to conclude that such a situation may prevent a proper
comparison of normal value with the export price or constructed value. Respondents’ claim that
an examination of a PMS for purposes of the cost of production goes beyond the plain language
of the Act fails to consider that the provision at issue, section 773(e) of the Act, specifically
includes the term “ordinary course of trade.” Thus, the definition of that term, again, found in
section 771(15) of the Act, is integral to that PMS provision. Accordingly, we disagree with the
argument that Commerce cannot analyze a PMS claim in determining whether or not a
company’s sales were made at below cost, and therefore, are outside the “ordinary course of
trade.” Indeed, we find that the respondent’s interpretation would defeat the very purpose of an
“ordinary course of trade” analysis under the PMS provision, which is to ensure that the
distortions caused by a PMS do not prevent fair comparisons of normal value with U.S. price.70

Accordingly, we find that Saha Thai’s and Pacific Pipe’s arguments are inconsistent with the
intent of Congress in adding this provision to the Act, and we agree with the petitioner’s
argument that Commerce is granted the discretion to use “any other calculation methodology” if
costs are distorted by a PMS, including for the purposes of COP under section 773(b)(3) of the
Act.71

Comment 3: PMS Adjustments to Pacific Pipe’s and Saha Thai’s Calculations

Respondents’ Case Briefs
    Commerce mistakenly applied the 2.38 percent CVD rate to adjust upwardly the cost of
      all HRC (domestic and imported) consumed by Thai producers of pipes and tubes,
      regardless of origin of the HRC, which contradicts basic principles of international trade
      law and is inconsistent with Commerce's administrative practice.72
    Commerce also failed to offer an explanation for the 2.38 percent CVD adjustment to all

66
   See Saha Thai’s Case Brief at 13-14 (citing section 504(b) of the TPEA); see also Pacific Pipe’s Case Brief at 6-
7).
67
   Id.
68
   Id.
69
   See section 771(15)(C).
70
   See section 773(a) of the Act (“a fair comparison shall be made between the export price or constructed export
price and normal value.”).
71
   See Petitioner’s Rebuttal Brief at 6-7 (citing OCTG from Korea 2014-15, OCTG from Korea 2015-16, and CWP
from Korea.
72
   See Saha Thai’s Case Brief at 21-22.
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           Filed By: Toni Page, Filed Date: 10/5/18
                                                  Appx20044
              Case: 22-1175         Document: 6        Page: 119        Filed: 09/12/2022
                 Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


         HRC purchased by Pacific Pipe during the POR.
        For the final results, Commerce should not make an upward adjustment to non-Thai-
         produced HRC on the basis of the U.S. CVD Order on Thai-produced HRC.
        The 2.38 percent CVD rate was calculated based on GOT subsidy programs that existed
         in 1999, some of which have expired, and does not reasonably and accurately indicate the
         level of alleged price distortions.
        Commerce also incorrectly made an upward adjustment to the cost of Thai-produced
         HRC purchases by the Thai safeguard duty rate of 22.85 percent because safeguard
         measures are protective tariffs intended to protect a specific domestic industry (i.e., Thai
         producers of HRC) from injury resulting from an increase in imports of a product.73
        Commerce also erred by applying safeguard duties to imports of HRC from China,
         Egypt, and Vietnam because the GOT has not imposed safeguard duties on imports from
         those countries.
        Commerce failed to explain the source of the 22.85 percent safeguard duty rate used to
         adjust the acquisition costs of imported HRC from countries subject to the Thai safeguard
         action.74 Moreover, the GOT antidumping (AD) duty rates on hot-rolled steel from
         China, Taiwan, and Korea submitted by the petitioner were outdated and not in effect
         during the POR.
        Commerce failed to offset the imputed AD and safeguard duties with duties actually paid.

Petitioner’s Rebuttal Brief
     Commerce’s application of the prevailing CVD rate for Thai HRC to all purchases of
        HRC, regardless of source, was necessary to account for the distortions to HRC costs
        caused by GOT subsidies, global overcapacity, and injuriously low pricing that led to the
        imposition of CVD and safeguard duties that were not paid on HRC used to produce
        pipes and tubes for export.75
     Commerce has previously found it appropriate to use CVD rates for domestically sourced
        HRC as an adjustment to import prices that are distorted by global overcapacity.76
     The CVD rate used by Commerce is not outdated because it is the one currently in effect
        for all Thai producers of HRC.77
     The safeguard duty rate adjustment was necessary to account for the distortions to HRC
        costs caused by GOT subsidies, global overcapacity, and injuriously low pricing that led
        to the imposition of CVD and safeguard duties that were not paid on HRC used to
        produce pipes and tubes for export.78
     Commerce correctly applied an adjustment to account for AD duties that were not paid
        on imports of HRC from certain countries based on the best available information on the
        record.79
     Commerce correctly found that none of the respondents ultimately paid AD or safeguard
        duties on imported HRC used to produce exported subject merchandise.



73
   See Saha Thai’s Case Brief at 22-23.
74
   Id. at 23.
75
   See Petitioner’s Rebuttal Brief at 9-11.
76
   See, e.g., Large Diameter Welded Pipe from Korea and accompanying Decision Memorandum at 16-17.
77
   See Petitioner’s Rebuttal Brief at 10-11.
78
   Id.
79
   Id. at 12-13.

                                                 11 12:42 PM, Submission Status: Approved
           Filed By: Toni Page, Filed Date: 10/5/18
                                             Appx20045
              Case: 22-1175          Document: 6         Page: 120        Filed: 09/12/2022
                  Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


Commerce’s Position: We have continued to adjust the respondents’ acquisition costs for HRC
in Thailand by the applicable countervailing duty and GOT safeguard duty rate for these final
results. We have also continued to adjust the respondents’ acquisition costs from Taiwan, China
and Korea for unpaid AD duties.

Information on the record indicates that Thai HRC was subject to a CVD rate of 2.38 percent
during the POR.80 Moreover, the record also shows that, during the POR, the GOT imposed a
safeguard duty rate of 21.52 percent from June 7, 2015 – June 6, 2016, and 21.13 percent from
June 7, 2016, to June 6, 2017, on imports of HRC from certain countries.81 Finally, the record
shows that the GOT imposed AD duty rates of 3.45 – 25.15 percent, 30.91 percent, and 13.58 –
58.85 percent, on imports from Taiwan, China, and Korea, respectively.82

As discussed in Issue 1, we continue to find that the cost of HRC in Thailand was distorted
during the POR by a combination of global overcapacity and subsidies provided by the GOT. In
addition, the GOT found that imports from Taiwan, China and Korea were being sold at dumped
prices and injuring the domestic Thai industry, also during the POR. Therefore, these import
prices were also distorted.

As noted in the Post-Preliminary Memorandum, the United States concluded in a prior CVD
investigation that the GOT subsidizes Thai production of HRC.83 Accordingly, the prices paid
by the respondent for domestically-produced HRC were directly distorted by the GOT subsidies
on HRC. We have therefore continued to upwardly adjust the respondents’ acquisition costs to
for domestically produced HRC to account for the countervailing duties.84
Moreover, the record shows that the GOT imposed safeguard duties as a direct result of
distortions in the Thai market from global steel overcapacity. Thus, to the extent that the
companies did not pay the safeguard duties, the prices paid by the respondents for imported HRC
were distorted by the effects of global overcapacity. We have therefore continued to upwardly
adjust the respondents’ acquisition costs for HRC to account for the unpaid safeguard duties on
imported HRC.

Saha Thai and Pacific Pipe argue that, in the Post-Preliminary Memorandum, Commerce
incorrectly made an upward adjustment to the acquisition cost of imported HRC purchases by the
U.S. CVD rate, when those purchases never benefited from the GOT subsidies. While those
purchases never directly benefited from the GOT subsidies, we disagree with the respondents’
contention that the GOT’s subsidies on domestically-produced HRC had no effect on the price of
HRC imported into Thailand. In a market economy, where, and goods are competitively priced,

80
   See PMS Allegation at 11.
81
   Id. at Exhibit 17.
82
   Id. at Exhibit 2 and 16.
83
   See Notice of Countervailing Duty Order: Certain Hot-Rolled Carbon Steel Flat Products from Thailand, 66 FR
60197 (December 3, 2001).
84
   See Memorandum “Analysis Memorandum for the Final Results of the Antidumping Duty Administrative Review
of Circular Welded Steel Pipes and Tubes from Thailand: Pacific Pipe Public Company Ltd.,” dated October 4,
2018 (Pacific Pipe Final Calculation Memorandum); “Analysis Memorandum for the Final Results of the
Antidumping Duty Administrative Review of Circular Welded Steel Pipes and Tubes from Thailand: Saha Thai
Steel Pipe (Public) Company, Ltd.,” dated October 4, 2018 (Saha Thai Final Calculation Memorandum); and
Memorandum “Analysis Memorandum for the Final Results of the Antidumping Duty Administrative Review of
Circular Welded Steel Pipes and Tubes from Thailand: Thai Premium Pipe Company Ltd.,” dated October 4, 2018
(Thai Premium Final Calculation Memorandum).

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                                               Appx20046
              Case: 22-1175           Document: 6          Page: 121        Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


domestic and imported prices will converge at an equilibrium.85 This is particularly true with a
common and fungible commodity such as HRC. Thus, because domestic subsidies lower the
cost of production and the price of HRC in Thailand, it is logical to find that to remain
competitive, imported HRC will sell at prices competitive with the domestically produced and
subsidized HRC. In other words, domestic and imported prices of HRC converge to a lower
market equilibrium price than if the domestically produced Thai HRC did not benefit from GOT
subsidies. Thus, in accordance with our practice,86 we have continued to upwardly adjust the
respondents’ acquisition costs to account for the CVD rate of 2.38 percent on all HRC imported
into Thailand as reported by respondents.
Saha Thai and Pacific Pipe also argue that Commerce erred in making an upward adjustment to
the cost of Thai-produced, domestic HRC purchases by the GOT safeguard duty rate87 when
those purchases were never subject to those safeguard duties. While those purchases were never
subject to those safeguard duties, we disagree with the conclusion that the low prices of imported
HRC, which avoided the payment of a substantial safeguard duty of more than 21 percent, had
no effect themselves on the Thai price of domestically-produced HRC. As stated in the Post-
Preliminary Memorandum, none of the respondents reported paying the safeguard duties.88
Those respondents represent some of the largest exporters of subject merchandise to the United
States, and from the evidence on the administrative record of this segment of the proceeding,
there is no indication that any other producer of subject merchandise in Thailand paid safeguard
duties either. Accordingly, there is zero evidence that the GOT collected any safeguard duties
that were implemented to neutralize the downward pricing effects of overcapacity.
Consistent with our conclusion that domestic subsidies in a market economy can drive down the
Thai price of imported merchandise to the market equilibrium price, so too can the price of
distorted low-priced imported merchandise drive down the price of HRC produced in the Thai
market.89 Because the respondents did not pay the safeguard duty in effect during the POR, and
there is no evidence that any other Thai producer paid the safeguard duties either, we find that it
is a reasonable presumption that the respondents paid not only distorted prices for imported
HRC, but also distorted prices for Thai-produced HRC in Thailand to the extent that the
safeguard remedy was ineffective. Thus, whether domestically produced or imported, we find
that as a result of the ineffectiveness of the safeguard measure, it is reasonable to presume that
the import prices undervalued as a result of overcapacity lowered the equilibrium prices of HRC
throughout the entire Thai market even further. We have therefore upwardly adjusted the



85
   See generally Daewoo Electronics Co., Ltd. v. United States, 760 F. Supp. 200, 204 (CIT 1991) (stating that the
equilibrium price is “the price that consumers are willing to pay and manufacturers are willing to accept.”)
86
   See Large Diameter Welded Pipe from Korea and accompanying Decision Memorandum at 16-17; see also Large
Diameter Welded Pipe from the Republic of Turkey: Preliminary Determination of Sales at Less than Fair Value
and Postponement of Final Determination, 83 FR 43646 (August 27, 2018) and accompanying Decision
Memorandum at 15.
87
   The appropriate safeguard duty rate is 21.23 percent rather than 22.85 percent: the weighted-average of the two
safeguard duty rates in effect during the POR (21.52 percent from June 7, 2015 – June 6, 2016, and 21.13 percent
from June 7, 2016 to June 6, 2017). See Pacific Pipe Calculation Memorandum; Saha Thai Calculation
Memorandum; and Thai Premium Calculation Memorandum.
88
   See Post-Preliminary Memorandum at 5-6.
89
   See PMS Allegation at 9. See generally Borusan Mannesmann Boru Sanayi ve Ticaret A.S. v. United States, 61 F.
Supp. 3d 1306, 1355 n.28 (CIT 2015) (“General equilibrium analysis stud{y} markets as a single interrelated
system. . . and what happens in any one market will affect many other markets—and in principle could affect all
other markets.”).

                                                 13 12:42 PM, Submission Status: Approved
           Filed By: Toni Page, Filed Date: 10/5/18
                                                Appx20047
              Case: 22-1175            Document: 6          Page: 122         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


respondents’ costs to also account for the uncollected safeguard duties of 21.23 percent for Thai-
produced HRC purchases.
In addition, as stated in the Post-Preliminary Memorandum, none of the respondents reported
paying the AD duties;90 therefore, we have continued to adjust the acquisition costs for HRC
imported from countries subject to GOT AD orders91 by the unpaid AD duties to remedy the
distortion to the Thai HRC market from injuriously low-priced (dumped) imports.92
Finally, we have not offset the Saha Thai PMS adjustment for duties “paid” because, contrary to
Saha Thai’s arguments, the record evidence does not indicate that it paid AD or safeguard duties.
Saha Thai reported that participates in a bonded warehouse program under which it is exempt
from paying duties on imported inputs if the inputs are used to produce exports.93 The bonded
warehouse inspection report which Saha Thai relies on to demonstrate that it paid safeguard
duties and AD duties94 denotes a “value” of certain imported materials and a “duty” value
associated with those materials. However, the report at issue does not demonstrate that Saha
Thai paid safeguard or AD duties on HRC. Moreover, we note that the quarterly values of
imported HRC reported in exhibit C-6 of Saha Thai’s August 17, 2018, CQR do not tie to the
value of imported “materials” in exhibit C-5 of the same response. Accordingly, we will
continue not to apply an offset to Saha Thai’s PMS adjustment.

Comment 4: Sales Date Parameters of Pacific Pipe’s Home Market and U.S. Sales
Programs

Petitioner’s Case Brief
     Commerce should change the sales date range in Pacific Pipe’s home market and U.S.
        market programs.95

Pacific Pipe’s Rebuttal Brief
    Commerce should revise the sales date parameters in the U.S. margin program and set the
        home market program date range to begin three months prior to the POR and end on the
        last day of the second month after the end of the POR to allow for contemporaneous price
        comparisons.

Commerce’s Position: Pursuant to 19 CFR 351.414(f), we have revised Pacific Pipe’s
calculations so that we compare its U.S. sales to home market sales of the product under review



90
   Id.
91
   We relied on the average country-specific AD duty rates in effect during the POR where company-specific rates
were not available on the record.
92
   See Pacific Pipe Final Calculation Memorandum; Saha Thai Final Calculation Memorandum; and Thai Premium
Final Calculation Memorandum.
93
   See Saha Thai’s August 17, 2017 Section D Questionnaire Response at 15 (“During the POR, Saha Thai sold
some imported coil in Thailand. Since this coil was not used in the production of a good for export, Saha Thai was
required to pay the applicable import duty. This duty is included in Saha Thai’s reported hot-rolled coil cost.
Otherwise, Saha Thai incurs no net tax costs on input purchases.”).
94
   See Saha Thai’s August 17, 2018 Section C Questionnaire Response (Saha Thai’s August 17, 2018 CQR) at
Exhibit C-15.
95
   For a complete business proprietary discussion of the proposed changes, see Pacific Pipe Final Calculation
Memorandum.

                                                 14 12:42 PM, Submission Status: Approved
           Filed By: Toni Page, Filed Date: 10/5/18
                                                 Appx20048
               Case: 22-1175            Document: 6           Page: 123         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


within the contemporaneous window period, i.e., from three months prior to the month of the
first U.S. sale through two months after the month of the last U.S. sale. 96

Comment 5: Pacific Pipe’s Fixed Overhead Costs

Pacific Pipe’s Case Brief
    Commerce failed to define what constitutes the fixed overhead costs (FOH) costs in
        Pacific Pipe’s home market program.
    It is necessary to define the FOH because it is used in calculating the variable cost of
        production (VCOMCOP).

Petitioner’s Case Brief
     Commerce should revise its FOH cost calculation for the final results.

Commerce’s Position: Commerce has revised how it calculates Pacific Pipe’s fixed overhead
costs for these final results.97

Comment 6: Assignment of Surrogate Costs to Certain Pacific Pipe Home Market Sales

Pacific Pipe’s Case Brief
       Commerce should activate the macro in the home market program that assigns costs to
        those home market products that were not produced during the POR for the final results.

Petitioner’s Case Brief
     Commerce should assign surrogate costs for certain merchandise sold, but not produced
        during the POR

Commerce’s Position: Commerce has revised Pacific Pipe’s home market program so that it
assigns costs to Pacific Pipe’s home market sales that were not produced during the POR.98

Comment 7: Pacific Pipe’s Home Market Discounts and Rebates

Petitioner’s Case Brief
     Commerce should revise how it calculated Pacific Pipe’s home market discounts and
        rebates.99

Pacific Pipe did not rebut this comment.




96
   For a complete business proprietary discussion of the proposed changes, see Pacific Pipe Final Calculation
Memorandum.
97
   For a business proprietary discussion of the specific adjustment to FOH, see the Pacific Pipe Final Calculation
Memorandum.
98
   For a business proprietary discussion of the revision to our surrogate cost methodology, see the Pacific Pipe Final
Calculation Memorandum.
99
   For a complete business proprietary discussion of the revisions to the home market discount and rebate
calculations, see Pacific Pipe Final Calculation Memorandum.

                                                 15 12:42 PM, Submission Status: Approved
           Filed By: Toni Page, Filed Date: 10/5/18
                                                  Appx20049
               Case: 22-1175            Document: 6           Page: 124         Filed: 09/12/2022
                    Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


Commerce’s Position: Commerce has revised its calculation of Pacific Pipe’s home market
discounts and rebates for these final results.100

Comment 8: Sales Date Parameters of Saha Thai’s Home Market and U.S. Sales Programs

Saha Thai’s Case Brief
    Contract date is the appropriate date of sale in the United States.101
    If Commerce continues to use invoice date as the U.S. date of sale, it should change the
      date range in the SAS margin programming to cover the period February 1, 2016, through
      February 28, 2017.

Petitioner’s Rebuttal Brief
     If Commerce uses invoice date as the date of sale in the U.S. market and updates the date
        range for U.S. sales as requested by Saha Thai, there will be numerous U.S. sales at the
        end of the POR that will have no contemporaneous home market sales in the same month
        and no next-best home market sales in the closest months which will result in inaccurate
        comparisons and distorted margin calculations.
     In order to account for the missing contemporaneous home market sales, Commerce
        should use facts available with an adverse inference in accordance with Cookware from
        Mexico.

Commerce’s Position: We have reexamined the record, including the documentation for
sample U.S. sales submitted by Saha Thai, and have determined that there was no change to the
prices or quantities between contract date and shipment date. Further, there is no other
information on the record identifying changes in the terms of sale between contract date and
invoice date. Therefore, we will use contract date as the date of sale for Saha Thai’s U.S. sales
in these final results.

Given that Saha Thai reported the appropriate home market sales, we have compared its U.S.
sales to its home market sales within the contemporaneous window period, i.e., from three
months prior to the month of the U.S. date of sale through two months after the month of the
U.S. date of sale, in accordance with 19 CFR 351.414(f). Further, the range of home market
dates of sale will provide such comparisons for the earliest and the last U.S. date of sale. Thus,
the question of whether to use facts available to account for the last two months of Saha Thai’s
home market sales is moot.

Comment 9: Saha Thai’s Duty Drawback Adjustment

Petitioner’s Case Brief
     Commerce erred when it added the import duty adjustment to the total cost of production
        and should, instead, add it to the total cost of manufacturing for the final results.

Saha Thai’s Rebuttal Brief
    Consistent with its practice in prior review of Saha Thai, Commerce should continue to
      add the import duty adjustment to the total cost of production rather than add it to the

100
    For a business proprietary discussion of the specific adjustment, see the Pacific Pipe Final Calculation
Memorandum.
101
    See Saha Thai’s May 14, 2018 First Supplemental Questionnaire Response at 5-7.
                                                  16 12:42 PM, Submission Status: Approved
            Filed By: Toni Page, Filed Date: 10/5/18
                                                   Appx20050
               Case: 22-1175           Document: 6          Page: 125        Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


          total cost of manufacturing.
         It is a deliberate practice of Commerce to add an import duty adjustment to the cost of
          production because if the import duty adjustment was added at the cost of manufacturing
          stage of the home market calculation program, any subsequent changes to general and
          administrative and interest expense ratios would then be applied to the wrong total cost of
          manufacturing, as the ratio calculation does not include the imputed import duties that
          constitute the import duty adjustment.
         That is why Commerce has added the import duty adjustment to the cost of production in
          this and all prior annual reviews in which an import duty adjustment to cost was made.
         It is also important to note that if the general and administrative and financial expenses in
          the respondent’s cost of production file is not recalculated in Commerce’s program, then
          the only impact that moving the addition of the import duty adjustment amount from the
          total cost of manufacturing to the total cost of production is in the 20 percent limit to the
          adjustment for difference in merchandise for similar merchandise. Under the petitioner’s
          proposed change, the import duty adjustment would be treated as a variable cost of
          manufacturing, as well as a total cost of manufacturing.
         Given that Commerce is required under law to compare the normal value of the most
          similar product with U.S. price, there is no justification for a change in the dumping
          analysis which, in essence, would lead to the comparison of the normal value for more
          dissimilar products with U.S. price.

Commerce’s Position: We have added Saha Thai’s import duty adjustment to its cost of
manufacturing for these final results. Commerce’s normal practice has been to add an import
duty adjustment to the cost of manufacturing.102 In addition, the U.S. Court of Appeals for the
Federal Circuit has previously ruled in prior segments of this proceeding that Commerce was
correct to include the exempted import duties in Saha Thai’s cost of manufacture when
calculating cost of production and constructed value.103

We disagree with Saha Thai’s position that any subsequent changes to general and administrative
and financial expense ratios would then be applied to the wrong cost value, as the ratio
calculations do not include the duties that constitute the import duty adjustment by adding the
import duty adjustment to total cost of manufacturing. In the instant administrative review, we
have relied on Saha Thai’s reported general and administrative and financial expense ratios
without making further adjustments; therefore, the concern about distortions in the calculation of
the per-unit general and administrative expenses and the per-unit financial expenses is moot.104

Comment 10: Differential Pricing Analysis of Saha Thai’s U.S. Sales

Petitioner’s Case Brief
     Commerce should change a differential pricing variable it used in its differential pricing

102
    See, e.g., Light-Walled Rectangular Pipe and Tube from Turkey: Notice of Final Determination of Sales at Less
Than Fair Value, 69 FR 53675 (September 2, 2004) and accompanying Issues and Decision Memorandum at
Comment 2; Certain Corrosion-Resistant Steel Products from India: Final Determination of Sales at Less Than
Fair Value and Final Negative Determination of Critical Circumstances, 81 FR 35329 (June 2, 2016) and
accompanying Issues and Decision Memorandum at Comment 1.
103
    See Saha Thai Steel Pipe (Pub.) Co., Ltd., v. United States, 635 F.3d 1335, 1344 (Fed. Cir. 2011).
104
    For a business proprietary discussion of Saha Thai’s duty drawback adjustment, see Saha Thai Final Calculation
Memorandum.

                                                  17 12:42 PM, Submission Status: Approved
            Filed By: Toni Page, Filed Date: 10/5/18
                                                 Appx20051
               Case: 22-1175            Document: 6          Page: 126          Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17


         analysis of Saha Thai’s U.S. sales.105

Saha Thai did not rebut this argument.

Commerce’s Position: Commerce has changed the variable at issue, used in the differential
pricing analysis of Saha Thai’s sales, for the final results.106

Comment 11: Sales Date Parameters of Thai Premium’s Home Market Sales Program

Petitioner’s Case Brief
     Commerce needs to correct Thai Premium’s home market sales date range.

Thai Premium did not rebut this comment.

Commerce’s Position: Pursuant to 19 CFR 351.414(f), we have revised Thai Premium’s
calculations so that we compared its U.S. sales to its home market sales of subject merchandise
within the contemporaneous window period, i.e., from three months prior to the month of the
first U.S. sale through two months after the month of the last U.S. sale.107

Comment 12: Assignment of Surrogate Costs to Certain Thai Premium Home Market
Sales

Petitioner’s Case Brief
     Commerce should assign costs to those home market products that were sold and not
        produced during the POR for the final results.

Thai Premium’s Case Brief
    Commerce should use the appropriate surrogate costs for products that were not produced
       during the POR in the home market program.

Commerce’s Position: Commerce has revised Thai Premium’s reported cost data to include
costs for products reported in Pacific Pipe’s HM sales that were not produced during the POR.108

Comment 13: Revision of Variable Names in Thai Premium’s Home Market Program

Petitioner’s Case Brief
     Commerce should revise the variable name for one of the product characteristics in Thai
        Premium’s home market SAS program.

Thai Premium did not rebut this comment.

105
    For a complete business proprietary discussion of the petitioner’s proposed change, see Saha Thai Final
Calculation Memorandum.
106
    For a business proprietary discussion of the specific adjustment to Commerce’s differential pricing analysis, see
the Saha Thai Final Calculation Memorandum.
107
    For a complete business proprietary discussion of the revision to Thai Premium’s home market sales date, see
Thai Premium’s Final Calculation Memorandum.
108
    For a business proprietary discussion of the surrogate cost revision, see the Thai Premium Final Calculation
Memorandum.

                                                 18 12:42 PM, Submission Status: Approved
           Filed By: Toni Page, Filed Date: 10/5/18
                                                  Appx20052
               Case: 22-1175           Document: 6           Page: 127         Filed: 09/12/2022
                   Barcode:3760062-01 A-549-502 REV - Admin Review 3/1/16 - 2/28/17




Commerce’s Position: We have reviewed the record and there is no basis for revising the name
of the variable in question. Therefore, we have not made the change suggested by the petitioner
for these final results.109

RECOMMENDATION

Based on our analysis of the comments received, we recommend adopting the above positions.
If these recommendations are accepted, we will publish the final results of this review and the
final weighted-average dumping margins in the Federal Register.

☒                                  ☐
____________                       _____________
Agree                              Disagree


                                     10/4/2018



  X

  Signed by: GARY TAVERMAN
____________________________________________
Gary Taverman
Deputy Assistant Secretary
 for Antidumping and Countervailing Duty Operations,
 performing the non-exclusive functions and duties of the
 Assistant Secretary for Enforcement and Compliance




109
  For a business proprietary discussion of the physical characteristic at issue, see the Thai Premium Final
Calculation Memorandum.
                                                 19 12:42 PM, Submission Status: Approved
           Filed By: Toni Page, Filed Date: 10/5/18
                                                  Appx20053
